Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 1 of 112 Page ID
                                 #:112128




  1               UNITED STATES DISTRICT COURT

  2           CENTRAL DISTRICT OF CALIFORNIA

  3                 EASTERN DIVISION

  4                     ---

  5        HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING

  6                     ---

  7   MATTEL, INC.,                )

                           )

  8                PLAINTIFF, )

                           )

  9         VS.                ) NO. ED CV 04-09049

                           )

 10   MGA ENTERTAINMENT, INC., ET. AL., )

                           )

 11                DEFENDANTS. ) TRIAL DAY 2,

      ___________________________________) MORNING SESSION

 12   AND CONSOLIDATED ACTIONS,              )

                           )

 13

 14

 15       REPORTER'S TRANSCRIPT OF JURY TRIAL PROCEEDINGS

 16                RIVERSIDE, CALIFORNIA

 17                TUESDAY, MAY 27TH, 2008

 18                    8:30 A.M.

 19

 20

 21

 22

 23               THERESA A. LANZA, RPR, CSR

              FEDERAL OFFICIAL COURT REPORTER

 24               3470 12TH STREET, RM. 134

                  RIVERSIDE, CALIFORNIA 92501

 25                   951-274-0844

                   WWW.THERESALANZA.COM



                                                      Unsigned            Page 1
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 2 of 112 Page ID
                                 #:112129




  1

  2   APPEARANCES:

  3

  4   ON BEHALF OF MATTEL, INC.:

  5             QUINN EMANUEL

                BY: JOHN QUINN

  6             BY: JON COREY

                BY: MICHAEL T. ZELLER

  7             BY: WILLIAM PRICE

                865 S. FIGUEROA STREET,

  8             10TH FLOOR

                LOS ANGELES, CALIFORNIA 90017

  9             213-624-7707

 10

      ON BEHALF OF MGA ENTERTAINMENT:

 11

                SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

 12             BY: THOMAS J. NOLAN

                BY: CARL ALAN ROTH

 13             BY: RAOUL KENNEDY

                BY: LAUREN AGUIAR

 14             300 SOUTH GRAND AVENUE

                LOS ANGELES, CALIFORNIA 90071-3144

 15             213-687-5000

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25



                                                 Unsigned                 Page 2
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 3 of 112 Page ID
                                 #:112130




  1

                            INDEX

  2                                             PAGE

  3   HEARING.......................................   4

  4   JURY INSTRUCTIONS.............................       53

  5   OPENING STATEMENT - PLAINTIFF.................            61

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25



                                                                     Unsigned   Page 3
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 4 of 112 Page ID
                                 #:112131




  1     RIVERSIDE, CALIFORNIA; TUESDAY, MAY 27, 2008; 8:30 A.M.


  2                  -OOO-


  3        THE CLERK: CALLING ITEM ONE, CASE NUMBER


  4   CV04-09049-SGL, MATTEL, INC., V. MGA, INC., ET AL.


  5        APPEARANCES, PLEASE.


  6        MR. QUINN: JOHN QUINN, MIKE ZELLER, JON COREY,


  7   TIM ALGER, DYLAN PROCTOR, AND SCOTT WATSON, APPEARING FOR


  8   MATTEL.


  9        MR. NOLAN: ON BEHALF OF MGA, TOM NOLAN,


 10   JASON RUSSELL, LAUREN AGUIAR, JEREMY ROSS, CARL ROTH, ROB


 11   HERRINGTON, AND RAOUL KENNEDY.


 12        THE COURT: GOOD MORNING, COUNSEL.


 13        WE'RE ON CALENDAR THIS MORNING FOR THE TRIAL TO


 14   BEGIN. BUT BEFORE THAT, I WANTED TO RESOLVE AS MANY OF THESE


 15   MOTIONS AS WE COULD IN ADVANCE OF THAT.


 16        I APPRECIATE THE EFFORTS THAT COUNSEL MADE OVER THE


 17   WEEKEND TO PROVIDE THE COURT WITH ALL OUTSTANDING MOTIONS. ONE


 18   OF THE FIRST ISSUES -- AND WE DISCUSSED THIS AT SIDE-BAR


 19   BRIEFLY AS WE WERE WAITING TO BEGIN -- ARE THE MOTIONS PENDING


 20   BEFORE DISCOVERY MASTER INFANTE. THE COURT WAS UNAWARE THERE


 21   WERE THESE MOTIONS PENDING IN THIS CASE.


 22        I ASKED MR. ZELLER ON BEHALF OF MATTEL AND COUNSEL ON


 23   BEHALF OF MGA TO IDENTIFY WHICH, IF ANY, OF THESE MIGHT APPLY


 24   TO PHASE TWO, SUCH THAT WE DON'T HAVE TO GET THOSE RESOLVED AT


 25   THIS TIME.



                                                       Unsigned           Page 4
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 5 of 112 Page ID
                                 #:112132




  1       MR. ZELLER, I'LL START WITH YOU, SINCE I THINK ALL


  2   BUT ONE ARE FROM MATTEL.


  3       MR. ZELLER: YOUR HONOR, I THINK IN THE MAIN, THEY


  4   ARE 1-A MOTIONS. I THINK THAT THERE ARE A COUPLE OF EXCEPTIONS


  5   THAT I CAN POINT TO WITH SOME CONFIDENCE THAT I THINK CAN BE


  6   PERHAPS BACK-BURNERED TO SOME DEGREE BECAUSE EITHER IT'S 1-B OR


  7   EVEN IF IT HAS AN EFFECT ON 1-A, AS LONG AS CIRCUMSTANCES DON'T


  8   CHANGE, IT MAY NOT REQUIRE A RULING AT THIS POINT.


  9       THE COURT: WHICH ARE THOSE?


 10       MR. ZELLER: WHAT I WOULD SAY IS NUMBER TWO, WHICH IS


 11   MATTEL'S MOTION FOR RECONSIDERATION OF PORTIONS OF THE


 12   DISCOVERY MASTER'S DECEMBER 31, 2007 ORDER.


 13       THE COURT: IN FIVE WORDS OR LESS, WHAT IS THE


 14   SUBJECT MATTER OF WHAT MOTION?


 15       MR. ZELLER: THAT MOTION RELATES TO THE SCOPE OF AN


 16   ORDER THAT JUDGE INFANTE ISSUED COMPELLING MGA TO PRODUCE


 17   CERTAIN DOCUMENTS THAT RELATE TO OUR TRADE SECRET CLAIMS.


 18       IN ESSENCE, THE JUDGE HAD RULED THAT --


 19       THE COURT: THAT'S ALL I NEED; SO IT RELATES TO TRADE


 20   SECRETS, AND THAT'S WHY IT'S BASICALLY A PHASE 2, UNLESS


 21   CERTAIN THINGS HAPPEN WITH APPORTIONMENT IN PHASE ONE.


 22       MR. ZELLER: CORRECT.


 23       THE COURT: ALL RIGHT. WHAT ELSE?


 24       MR. ZELLER: MOTION NUMBER TEN THAT WE'VE LISTED,


 25   WHICH IS THE MOTION TO COMPEL MGA AND BRYANT WITH RESPECT TO



                                                   Unsigned               Page 5
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 6 of 112 Page ID
                                 #:112133




  1   CERTAIN RFA'S.


  2       OBVIOUSLY, WITH RESPECT TO CARTER BRYANT IT IS MOOT.


  3       AS TO MGA, THERE ARE SOME -- A LIMITED NUMBER, AT


  4   LEAST -- OF RFA'S THAT WOULD POTENTIALLY GO TO PHASE 1-A; SOME


  5   OF THEM MAY NOT. THE ONES THAT I KNOW THAT ARE LIKELY TO HAVE


  6   SOME BEARING ON PHASE 1-A WOULD BE RFA'S THAT ARE DIRECTED TO


  7   MGA INQUIRING ABOUT FOCUS GROUPS THAT WERE CONDUCTED IN THE


  8   YEAR 2000, INCLUDING DURING TIME PERIODS WHEN CARTER BRYANT WAS


  9   EMPLOYED BY MATTEL.


 10       SO IT COULD BE THAT IF THE COURT WOULD LIKE, WE COULD


 11   TRY AND NARROW THAT DOWN AND FIND PARTICULAR ISSUES FOR THE


 12   COURT TO CONSIDER ON THAT MOTION, AS OPPOSED TO ITS ENTIRETY.


 13       THE COURT: VERY WELL.


 14       ANYTHING ELSE?


 15       MR. ZELLER: YES, YOUR HONOR.


 16       NUMBER 11, WHICH IS MATTEL'S MOTION TO COMPEL MGA AND


 17   CARTER BRYANT TO RETURN PRIVILEGED DOCUMENTS, OR A PRIVILEGED


 18   DOCUMENT.


 19       THIS MOTION IS A LITTLE -- IT HAS SOME PROCEDURAL


 20   COMPLEXITY IN ITS HISTORY. IT'S A FAIRLY STRAIGHTFORWARD


 21   ISSUE. THERE'S MORE THAN ONE VERSION OF A SECURITY FILE PAGE


 22   THAT'S BEEN REDACTED FOR PURPOSES OF PRIVILEGE. UNDER THE


 23   CLAWBACK PROVISION, WE HAD CLAWED BACK A VERSION OF IT AND THEN


 24   REDACTED IT IN ORDER TO CONFORM, WE THOUGHT, BETTER TO WHAT THE


 25   PRIVILEGE ASSERTION SHOULD BE.



                                                 Unsigned                 Page 6
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 7 of 112 Page ID
                                 #:112134




  1       ALSO BEAR IN MIND, THIS IS A DOCUMENT THAT JUDGE


  2   INFANTE HAS BEEN OVER, IN TERMS OF PRIVILEGE, MORE THAN ONCE;


  3   SO THERE WAS ANOTHER VERSION OF THIS DOCUMENT WITH A DIFFERENT


  4   FORM OF REDACTION ON IT THAT THE DEFENDANTS DID NOT RETURN. WE


  5   ASKED FOR IT TO BE CLAWED BACK UNDER THE PROTECTIVE ORDER, AND


  6   IT WAS NOT RETURNED; SO ITS HISTORY IS SOMEWHAT COMPLEX. IT'S


  7   A 1-PAGE DOCUMENT THAT WE'RE TALKING ABOUT.


  8       THE COURT: VERY WELL.


  9       THERE'S ONLY ONE MOTION FROM MGA ON THIS LIST; THAT'S


 10   RELATED TO THE WACHOVIA DEPOSITION.


 11       MR. NOLAN: CORRECT.


 12       THE COURT: IS THAT RELATED TO THE MOTION ALSO


 13   PENDING BEFORE THIS COURT IN TERMS OF THE PRODUCTION THAT'S


 14   BEEN MADE BY WACHOVIA RELATED TO THE LOANS IN 1999 AND 2000


 15   FROM WACHOVIA TO ISAAC LARIAN OR MGA?


 16       MR. NOLAN: IT'S RELATED IN THE SENSE, YOUR HONOR,


 17   THAT OBVIOUSLY ANYTHING THAT'S DIRECTED TO OR INVOLVES WACHOVIA


 18   HAS TO DO WITH FINANCIAL DOCUMENTS THAT HAVE BEEN PRODUCED.


 19       IT IS TECHNICALLY OUR MOTION BECAUSE WE ARE


 20   PRESENTING WACHOVIA'S DEFENSE SINCE TECHNICALLY WACHOVIA --


 21   THERE'S NO JURISDICTION HERE TO DEAL WITH THAT ISSUE; SO WE'VE


 22   ASSERTED THOSE OBJECTIONS. WE DID SO IN FRONT OF JUDGE


 23   INFANTE. THAT'S A SINGLE ISSUE. IF I COULD BE HEARD VERY


 24   BRIEFLY ON THAT.


 25       THE COURT: I AM GOING TO ORDER, BASED ON THE MOTION



                                                  Unsigned                Page 7
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 8 of 112 Page ID
                                 #:112135




  1   THAT I HAVE REVIEWED, THAT WACHOVIA PRODUCE THOSE DOCUMENTS FOR


  2   1999 AND 2000, THE LOAN DOCUMENTS, THE LOAN AGREEMENTS, HOWEVER


  3   YOU WANT TO CLARIFY THEM, TO THE EXTENT WACHOVIA GAVE MONEY TO


  4   MGA OR ISAAC LARIAN IN 1999 AND 2000 AND THEY HAVE DOCUMENTS


  5   RELATED TO THAT, THAT'S GOING TO BE PRODUCED.


  6         DOES THAT RENDER THIS MOTION MOOT, OR IS THERE STILL


  7   REQUESTS OR DEPOSITION ISSUES OUTSIDE OF THOSE 1999, 2000 LOAN


  8   DOCUMENTS, AGREEMENTS, ET CETERA?


  9         MR. NOLAN: I BELIEVE IT MAY MAKE IT MOOT, BUT I'D


 10   JUST LIKE TO FOOTNOTE THE OPPORTUNITY TO COME BACK AND REVIEW


 11   IT.


 12         THE COURT: VERY GOOD.


 13         MR. NOLAN: IF I COULD RAISE ONE THING MR. ZELLER


 14   RAISED HAVING TO DO WITH THIS CLAWBACK DOCUMENT, THE PRIVILEGED


 15   DOCUMENT, OUT OF THE MATTEL INVESTIGATIVE REPORT. WE HAVE NO


 16   OBJECTION. WE RETURNED, I THINK, MOST COPIES OF THAT. IF THEY


 17   BELIEVE THAT THERE WAS A COPY -- AND I THINK THERE MAY HAVE


 18   BEEN A COPY INADVERTENTLY PUT TO THE SUMMARY JUDGMENT PAPERS --


 19   BUT WE'VE NEVER ARGUED WHAT WAS SUPPOSED TO BE REDACTED. IT'S


 20   JUST A SIMPLE ONE LINE. IT'S ONE OF THE EXAMPLES OF DOCUMENTS


 21   THAT HAVE BEEN USED MANY TIMES AT DEPOSITIONS IN THE UNREDACTED


 22   FORM. WHEN THEY CLAWED IT BACK, IT WAS OUR INTENT TO CLEANSE


 23   EVERYTHING.


 24         I HAVE NO ISSUE WITH THAT AT ALL ON THAT, SO I DON'T


 25   THINK THE COURT HAS TO SPEND ANY SIGNIFICANT TIME ON THAT AT



                                                     Unsigned             Page 8
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 9 of 112 Page ID
                                 #:112136




  1   ALL. I'LL WORK WITH MR. ZELLER TO MAKE CERTAIN THAT IF HE'S


  2   IDENTIFIED ANY PLACE WHERE IN THE PUBLIC RECORD THAT ONE LINE


  3   APPEARS, WE'RE HAPPY TO COMPLY WITH IT.


  4       THE COURT: VERY WELL. HOPEFULLY THAT WILL BE


  5   RENDERED MOOT BY FURTHER MEETING AND CONFERRING.


  6       I'M GOING TO HAVE MY JUDICIAL ASSISTANT CALL UP TO


  7   THE DISCOVERY MASTER'S ASSISTANT AND FIND OUT WHAT THE STATUS


  8   IS OF THESE MOTIONS. IF THE DISCOVERY MASTER IS ON THE VERGE


  9   OF ISSUING A RULING ON THEM, I'M NOT GOING TO DISTURB THAT.


 10       MY GUESS IS THAT, BASED ON WHAT HE TOLD ME A FEW


 11   WEEKS AGO, THESE MAY NOT BE ON HIS RADAR AT ALL, FOR WHATEVER


 12   REASON. THAT'S ONLY SPECULATION ON MY PART. IF THAT IS THE


 13   CASE, I'M GOING TO RECALL ALL OF THESE MOTIONS.


 14       I'M GOING TO DIRECT COUNSEL ACTUALLY TO DO WHAT I HAD


 15   YOU DID THIS WEEKEND, AND THAT IS CREATE A BINDER WITH THESE 12


 16   MOTIONS, AND SINCE THERE'S ONLY A FEW THAT MIGHT COME OUT, WE


 17   MIGHT AS WELL DO THEM ALL -- HAVE THE MOVING PAPERS, THE


 18   OPPOSING PAPERS AND REPLY, IF ANY, PLACED INTO THEM. IF I NEED


 19   TO ACCESS THE DECLARATIONS OR EXHIBITS, I WILL DO SO. I CAN DO


 20   THAT THROUGH THE ELECTRONIC FILING.


 21       BUT AS FAR AS THE MOTIONS THEMSELVES, I'D LIKE TO GET


 22   THROUGH THESE IN THE NEXT SEVERAL DAYS BECAUSE I DON'T WANT TO


 23   GET WELL INTO THIS TRIAL WITHOUT HAVING THESE RULED AND HAVING


 24   SOME KIND OF ISSUES OUT THERE THAT, IF WE WOULD HAVE HAD THIS


 25   EVIDENCE OR IF WE WOULD HAVE HAD THIS MOTION RULED UPON, WE



                                                  Unsigned                Page 9
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 10 of 112 Page ID
                                  #:112137




  1    WOULD HAVE HAD EVIDENCE THAT WOULD HAVE CHANGED THE OUTCOME OF


  2    THE TRIAL.


  3         WE HAVE ENOUGH TIME IN THIS TRIAL THAT I CAN'T


  4    IMAGINE ANYTHING NOT BEING RESOLVED TODAY IS GOING TO AFFECT --


  5    WE HAVE TIME, AS LONG AS WE GET THESE RESOLVED THIS WEEK.


  6         WOULD YOU AGREE WITH THAT, MR. ZELLER?


  7         MR. ZELLER: I DO.


  8         THE COURT: MR. NOLAN, I TRUST YOU AGREE AS WELL?


  9         MR. NOLAN: I DO, YOUR HONOR.


  10        THE COURT: VERY WELL.


  11        SO WE'LL TAKE CARE OF THESE MOTIONS SOME TIME THIS


  12   WEEK. I DO WANT TO GIVE A CALL TO JUDGE INFANTE FIRST.


  13        MR. NOLAN: YOUR HONOR, IF I MAY JUST -- ON FRIDAY WE


  14   WERE TALKING ABOUT -- THERE HAVE BEEN A LOT OF MOTIONS FILED IN


  15   THIS CASE, A LOT OF DISCOVERY TAKEN ON THIS CASE, AND SINCE THE


  16   COURT WAS GOING TO TAKE A LOOK AT THE MOTIONS AND THEN DECIDE


  17   WHICH ONES TRULY NEEDED TO BE BRIEFED, BECAUSE OUR CONCERN HAS


  18   ALWAYS BEEN A STRATEGY TO KEEP EVERYONE BUSY ON ANYTHING OTHER


  19   THAN GETTING THIS TRIAL PRESENTED.


  20        I'LL JUST GIVE YOU, AS AN EXAMPLE, YOUR HONOR, WHICH


  21   I THINK IS WHAT I CAN ONLY DESCRIBE AS A FLAGRANT ABUSE OF THIS


  22   DISCOVERY PROCESS. LET THERE BE NO DOUBT, I THINK THE RECORD


  23   IS QUITE CLEAR, THAT YOU HAVE ARTICULATED AT MANY HEARINGS,


  24   BOTH ON THE TELEPHONE AND IN PERSON: THAT'S IT, EVERYTHING IS


  25   OVER IN FRONT OF JUDGE INFANTE; GET EVERYTHING FILED.



                                                   Unsigned              Page 10
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 11 of 112 Page ID
                                  #:112138




  1    JUDGE INFANTE SAID THE SAME THING TO US NUMEROUS TIMES. AND


  2    YOU HAVE INDICATED BEFORE, YOU'RE DEALING WITH SOPHISTICATED


  3    COUNSEL ON BOTH SIDES HERE.


  4        THE MOTION ON ONE OF THEM, JUST NUMBER 10, TO SHOW


  5    YOU AN EXAMPLE, THE IDEA THAT IN THIS CASE WITH MORE THAN SIX


  6    THOUSAND REQUESTS FOR ADMISSIONS IN THE COURSE OF THE REGULAR


  7    DISCOVERY PERIOD, THAT THEY ARE NOW SUBMITTING REQUESTS FOR


  8    ADMISSIONS HAVING TO DO WITH FOCUS GROUPS -- THAT MAY OR MAY


  9    NOT HAVE BEEN CONDUCTED AT MGA WHILE CARTER BRYANT WAS EITHER


  10   EMPLOYED AT MATTEL OR AT MGA, I'M NOT ABSOLUTELY CERTAIN OF


  11   IT -- WHICH WOULD HAVE OCCURRED SOME EIGHT YEARS AGO HAS BEEN


  12   THE SUBJECT OF FOUR YEARS OR FIVE YEARS OF LITIGATION -- THAT


  13   WE WOULD HAVE TO RESPOND RESPECTFULLY, YOUR HONOR, TO THAT KIND


  14   OF DISCOVERY REQUEST AS WE HAVE A JURY AND WE'RE GOING TO BE


  15   DOING OPENING STATEMENTS TODAY. SOME OF THESE ARE A LITTLE BIT


  16   LATE. BUT FOR US NOW TO BE FILING OBJECTIONS --


  17       THE COURT: LET ME STOP YOU THERE.


  18       AS FAR AS THESE MOTIONS, AS I UNDERSTAND IT, THESE


  19   WERE FILED QUITE AWHILE AGO; DECEMBER 2007 JANUARY 2008, THE


  20   LATEST ONE IS FEBRUARY OF 2008. I TAKE THAT BACK, THERE'S ONE


  21   ON APRIL 3, 2008, ASKING FOR FURTHER DEPOSITIONS OF


  22   ANA CABRERA, BEATRICE MORALES AND MARIE SALAZAR.


  23       I DOUBT WE'RE GOING TO BE DOING DEPOSITIONS IN THE


  24   MIDDLE OF TRIAL ON THESE. WE'RE PROBABLY PAST THE TIME FOR


  25   THAT.



                                                  Unsigned               Page 11
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 12 of 112 Page ID
                                  #:112139




  1         MR. NOLAN: I JUST WANTED TO ALERT YOU TO THAT,


  2    BECAUSE, AS YOU KNOW, OF COURSE, ON FRIDAY --


  3         THE COURT: BUT I TRUST YOU HAVE OPPOSITIONS FILED TO


  4    ALL OF THESE MOTIONS, GIVEN THE AGE OF THEM?


  5         MR. NOLAN: I SUSPECT WE DO. ALTHOUGH, THERE SOME ON


  6    FRIDAY --


  7         THE COURT: I'M GOING TO GO THROUGH THOSE RIGHT NOW.


  8         MR. ZELLER: IF I MAY JUST CLARIFY SOME POINTS HERE,


  9    YOUR HONOR. NUMBER ONE, THE MOTION PERTAINING TO CABRERA,


  10   MORALES, AND SALAZAR, ONE OF THE MAIN ISSUES ON THAT MOTION IS


  11   THAT WE FOUND OUT THAT CABRERA HAD IN HER POSSESSION A NUMBER


  12   OF TORN UP DRAWINGS, CARTER BRYANT DRAWINGS, RELATING TO BRATZ


  13   DURING THE COURSE OF THIS DISCOVERY. AND THE COURT WILL


  14   RECALL, OF COURSE, THE RATHER BELATED REVELATION BY THE


  15   DEFENDANTS THAT THERE WERE THESE ADDITIONAL MATTEL EMPLOYEES


  16   WHO HAD WORKED ON BRATZ WHILE EMPLOYED BY MATTEL.


  17        WE DID NOT KNOW THAT UNTIL DECEMBER 28TH.


  18        THEN THERE WAS CONSIDERABLE MOTION PRACTICE EVEN TO


  19   GET CABRERA, MORALES, AND SALAZAR IN THE CHAIR.


  20        THE COURT: MR. ZELLER, I'M NOT HEARING ARGUMENT ON


  21   THESE MOTIONS RIGHT NOW. WE'VE GOT A LOT TO DO IN THE NEXT


  22   15 MINUTES. I'LL TAKE A LOOK AT THESE MOTIONS, BUT I'M NOT


  23   MAKING ANY RULING NOW. LET'S JUST HOLD OFF FOR THE TIME BEING.


  24   WE'VE GOT A NUMBER OF RULINGS THE COURT WANTS TO MAKE ON


  25   MOTIONS THAT I HAVE LOOKED AT, ONES THAT NEED TO BE BRIEFED,



                                                    Unsigned             Page 12
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 13 of 112 Page ID
                                  #:112140




  1    AND THEN I'LL TAKE UP THE DISCOVERY ONES AS I RECEIVE THEM AND


  2    REVIEW THEM.


  3        I DID RESERVE TWO CHAIRS IN THE BACK WITH YELLOW


  4    PIECES OF PAPER PLACED ON THEM; THOSE TWO CHAIRS SHOULD BE


  5    RESERVED.


  6        IN GOING THROUGH THE MOTIONS THAT WERE SUBMITTED TO


  7    THE COURT AT THE END OF LAST WEEK, AND WHAT THE COURT IS


  8    PREPARED TO RULE ON, THE FIRST ONE IS MATTEL'S EX-PARTE


  9    APPLICATION FOR AN ORDER FINDING NO BASIS FOR A PROTECTIVE


  10   ORDER, UNDER THE PROTECTIVE ORDER, FOR MATTEL TO RETURN THE


  11   FIVE DOCUMENTS PRODUCED BY MGA.


  12       IS THERE ANY FURTHER ARGUMENT ON THIS THAT'S NOT BEEN


  13   SUBMITTED IN THE PAPERS?


  14       MR. COREY: NO, YOUR HONOR.


  15       MR. NOLAN: NO, YOUR HONOR.


  16       THE COURT: VERY WELL.


  17       THE COURT IS GOING TO GRANT IN PART AND DENY IN PART


  18   THIS MOTION. THE COURT CONSIDERS THE UNAMBIGUOUS LANGUAGE OF


  19   THE PROTECTIVE ORDER, BUT ALSO THE REASONABLENESS AND


  20   TIMELINESS OF MGA'S REQUEST TO RETURN SAID DOCUMENTS, THE


  21   RELATIVE PREJUDICE TO THE PARTIES, AND THE TOTALITY OF THE


  22   CIRCUMSTANCES.


  23       REGARDING THE PAYMENT LIST, WHICH IS MGA 3819497


  24   THROUGH 506, THE EMPLOYEES' LIST ONE, WHICH IS MGA 0868630


  25   THROUGH 631, AND THE EMPLOYEE LIST TWO, WHICH IS MGA 1134723



                                                  Unsigned               Page 13
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 14 of 112 Page ID
                                  #:112141




  1    THROUGH 730, THE COURT FINDS MGA KNEW OR SHOULD HAVE KNOWN THAT


  2    THEY HAD PRODUCED SAID DOCUMENTS LONG BEFORE THEIR MAY 7TH AND


  3    MAY 11TH CLAWBACK REQUEST AS EACH OF THESE DOCUMENTS, ALTHOUGH


  4    CREATED AT THE DIRECTION OF MGA COUNSEL FOR MANAGING DISCOVERY


  5    IN THIS CASE, WERE PRODUCED AND THEN USED IN DEPOSITION AND/OR


  6    SUMMARY JUDGMENT LITIGATION WITHOUT ANY OBJECTION BY MGA.


  7        IN FACT, DESPITE MATTEL'S REFUSAL TO RETURN SAID


  8    DOCUMENTS, MGA HAS YET TO FILE A MOTION FOR THEIR RETURN. THIS


  9    ONLY CAME TO LIGHT BY VIRTUE OF THE EX-PARTE APPLICATION


  10   SUBMITTED BY MATTEL.


  11       TO ORDER THESE DOCUMENTS RETURNED AT THIS LATE DATE


  12   WOULD PREJUDICE MATTEL WHO IS NOW UNABLE TO OBTAIN THE


  13   INFORMATION THROUGH ALTERNATIVE MEANS OF DISCOVERY.


  14   ACCORDINGLY, THE COURT GRANTS MATTEL'S REQUEST FOR A FINDING


  15   THAT THERE ARE NO GROUNDS TO RETURN TO MGA THE PAYMENTS LIST


  16   AND THE EMPLOYEES LISTS ONE AND TWO.


  17       REGARDING THE BRATZ SALES SHEET, THIS IS MGA 0815789,


  18   MGA ACTED REASONABLY IN SEEKING CLAWBACK OF THIS DOCUMENT ON


  19   APRIL 1, 2008, WHICH DOCUMENT WAS CREATED BY MGA COUNSEL FOR


  20   USE IN AN UNRELATED TRADEMARK APPLICATION IN INDIA AND WHICH


  21   MATTEL PROMPTLY RETURNED.


  22       ALTHOUGH MATTEL RESERVED ITS RIGHT TO CHALLENGE THE


  23   PRIVILEGE DESIGNATION, IT DID NOT DO SO UNTIL THE INSTANT


  24   APPLICATION, WELL OVER A MONTH AFTER THE CLAWBACK.


  25       UNDER THE TOTALITY OF THE CIRCUMSTANCES, THE COURT



                                                   Unsigned              Page 14
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 15 of 112 Page ID
                                  #:112142




  1    DENIES MATTEL'S REQUEST FOR THE RETURN OF THE BRATZ SALES SHEET


  2    FROM MGA.


  3        THE DISPUTE OVER THE FIFTH DOCUMENT IN QUESTION, THE


  4    DECEMBER 7, 2000 FAX, MGA 0829296, WAS RESOLVED THROUGH THE


  5    MEET AND CONFER PROCESS, AS THE COURT UNDERSTANDS IT.


  6        SO THAT IS THE COURT'S RULING ON THOSE FIVE


  7    DOCUMENTS.


  8        THE NEXT MOTION IS MATTEL'S MOTION TO ENFORCE TRIAL


  9    SUBPOENAS ISSUED TO CABRERA AND MORALES. IS THERE ANY FURTHER


  10   ARGUMENT ON THIS MOTION FROM MATTEL?


  11       MR. QUINN: NO, YOUR HONOR.


  12       MR. NOLAN: NO, YOUR HONOR. WE WOULD SUBMIT.


  13       THE COURT: VERY WELL.


  14       THE MOTION FOR AN ORDER ENFORCING THE COURT'S


  15   DECEMBER 27, 2007 ORDER COMPELLING PRODUCTIONS OF CERTAIN


  16   DOCUMENTS IS DENIED AS SUCH; ALTHOUGH THE COURT WILL BE MINDFUL


  17   OF THE HISTORY OF THE PRODUCTION OF THE LARIAN NET WORTH


  18   DOCUMENTS AND THE RULING THEREON AND ANY OBJECTIONS TO SAID


  19   DOCUMENTS -- WHILE RULING ON ANY OBJECTIONS TO SAID DOCUMENTS.


  20       IN NOT ORDERING FURTHER PRODUCTION, THE COURT IS


  21   PROMPTED IN PART BY THE TIMING OF THE MOTION, ALMOST TWO MONTHS


  22   AFTER THE LARIAN DEPOSITION. THE EX-PARTE APPLICATION FOR AN


  23   ORDER EXPEDITING THE HEARING ON THIS MOTION IS DENIED AS MOOT.


  24       I'M ALSO GOING TO TAKE THIS UP ON THE TRIAL SUBPOENA


  25   ON NUMBER EIGHT. I'M GOING TO BE GRANTING IN PART AND DENYING



                                                 Unsigned                Page 15
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 16 of 112 Page ID
                                  #:112143




  1    IN PART THAT MOTION.


  2        BASICALLY WHAT I'M SAYING HERE IS THAT MR. LARIAN IS


  3    GOING TO HAVE TO COMPETENTLY TESTIFY TO HOW MUCH MONEY HE MADE


  4    OFF OF BRATZ WHILE OWNING MGA. AND I AM NOT GOING TO BOOK AN


  5    "I DON'T KNOW; I DON'T KNOW ABOUT THIS DOCUMENT; I DON'T KNOW


  6    WHERE THIS CAME FROM."


  7        IF WHAT WENT ON AT THE DEPOSITION HAPPENS ON THE


  8    TRIAL STAND HERE, MATTEL IS GOING TO BE GIVEN A LOT OF LEEWAY


  9    AND A LOT OF LEAVE TO SEEK AND BRING IN A LOT MORE DOCUMENTS;


  10   SO THIS IS REALLY SOMETHING THAT IS GOING TO BE CONTROLLED BY


  11   MR. LARIAN HIMSELF.


  12       MR. NOLAN: UNDERSTOOD.


  13       I DO WANT TO SAY THAT I THINK THE RECORD EVIDENCE IN


  14   THIS CASE IS THAT MGA AND ISAAC LARIAN HAS PRODUCED ALL


  15   RELEVANT INFORMATION WITH RESPECT TO WHAT DISTRIBUTIONS WERE


  16   MADE. IF ISSUES CAME UP AT THE DEPOSITION BECAUSE DOCUMENTS


  17   WERE NOT IN FRONT OF HIM AT THE TIME, THAT HAS OCCURRED.


  18   MATTEL HAS NOT BEEN DENIED ACCESS TO THOSE DOCUMENTS, AND


  19   MR. LARIAN WILL BE PREPARED TO TESTIFY.


  20       THE COURT: AS LONG AS MR. LARIAN IS FULLY PREPARED


  21   TO TESTIFY AS TO HIS NET AND GROSS RECEIPTS FROM THE BRATZ


  22   DOLLS, WE'RE NOT GOING TO HAVE A PROBLEM.


  23       MR. NOLAN: THAT'S CORRECT.


  24       THE COURT: IF WE HAVE A REPEAT OF WHAT HAPPENED AT


  25   THE DEPOSITION -- AND I'M NOT ASSIGNING FAULT FOR THAT -- THEN



                                                   Unsigned              Page 16
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 17 of 112 Page ID
                                  #:112144




  1    THERE'S GOING TO BE A PROBLEM.


  2        MR. NOLAN: WE UNDERSTAND THAT.


  3        THE COURT: VERY WELL.


  4        MR. ZELLER: AND TO BE CLEAR, YOUR HONOR, THOSE


  5    DOCUMENTS WERE IN FRONT OF MR. LARIAN. THEY PROVIDED SUMMARY


  6    SHEETS TO US THAT PURPORTED TO STATE ISAAC LARIAN'S ASSETS. I


  7    PUT THOSE DOCUMENTS IN FRONT OF MR. LARIAN AND ASKED HIM ABOUT


  8    THEM. HE WALKED AWAY FROM THEM. THAT IS WHAT LED TO THESE


  9    MOTIONS, INCLUDING OVER THE TRIAL SUBPOENA AND THE LIKE.


  10   BECAUSE, AS THE COURT IS AWARE, FOR CERTAIN PURPOSES, WE DO


  11   BEAR SOME BURDENS IN ESTABLISHING CERTAIN MONETARY AMOUNTS,


  12   WHETHER FOR DAMAGES OR PUNITIVE DAMAGES.


  13       THE COURT: LET ME GO TO THAT TRIAL SUBPOENA, THEN,


  14   BECAUSE THIS IS RELATED TO THIS ISSUE; THAT IS THE MOTION OF


  15   PLAINTIFF FOR AN ORDER COMPELLING ISAAC LARIAN TO RESPOND TO


  16   THE TRIAL SUBPOENA.


  17       MY THOUGHT ON THAT IS TO GRANT IN PART AND DENY IN


  18   PART. THE DOCUMENTS THAT I'M GOING TO ORDER MR. LARIAN TO HAVE


  19   AVAILABLE FOR HIS TESTIMONY AT TRIAL AS PART OF THE TRIAL


  20   SUBPOENA, IS ITEM NUMBER FOUR; AND THAT IS DOCUMENTS SUFFICIENT


  21   TO SHOW THE REVENUE, GROSS AND NET PROFITS BY HIM FROM THE SALE


  22   OF BRATZ PRODUCTS, INCLUDING WITHOUT LIMITATION DOCUMENTS


  23   SUFFICIENT TO SHOW SALES REVENUE, COSTS OF GOODS SOLD, VARIABLE


  24   COSTS, GROSS MARGINS, ROYALTIES PAID AND RECEIVED, GROSS


  25   PROFITS AND NET PROFITS.



                                                  Unsigned               Page 17
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 18 of 112 Page ID
                                  #:112145




  1        I JUST DON'T WANT TO GET TO A POINT, GIVEN THE


  2    HISTORY OF THE LARIAN DEPOSITION AND THE HISTORY OF THIS


  3    PARTICULAR REQUEST FOR INFORMATION, TO RUN INTO A PROBLEM AT


  4    TRIAL; SO I WANT THOSE DOCUMENTS AVAILABLE.


  5        I'M NOT SAYING THAT THEY HAVE TO BE PRODUCED AND THEY


  6    HAVE TO BE INTRODUCED, BUT I WANT THEM AVAILABLE SO WE CAN PIN


  7    THIS DOWN DURING THE TRIAL. I THINK MATTEL IS ENTITLED TO


  8    THAT. AND THAT'S BEEN CONSISTENT WITH MY RULINGS ON THE MOTION


  9    IN LIMINE IN TERMS OF WEALTH AND WHAT HE HAS TO DISCLOSE ON


  10   THAT; IT'S CONSISTENT WITH THE RULINGS BY THE DISCOVERY MASTER


  11   IN TERMS OF WHAT NEEDS TO BE TURNED OVER AND WHAT QUESTIONS


  12   NEED TO BE ANSWERED AT DEPOSITION.


  13       MR. NOLAN: WE UNDERSTAND YOUR RULING.


  14       THERE HAVE BEEN OVER 37,000 FINANCIAL RECORDS


  15   PRODUCED FROM MGA REFLECTING THAT INFORMATION; 30(B)(6)


  16   DEPOSITIONS HAVE BEEN TAKEN FROM THE PROPER EDUCATED PERSON AT


  17   MGA. THOSE DOCUMENTS, TO THE EXTENT THAT THEY ARE NOT --


  18       THE COURT: LET ME STOP YOU THERE. BECAUSE THIS MAY


  19   BE ONE OF THOSE INSTANCES WHERE THAT'S ALMOST TOO MUCH AND TOO


  20   LITTLE AT THE SAME TIME.


  21       THE QUESTION IS THAT MR. LARIAN NEEDS TO BE PREPARED


  22   TO ANSWER THE PRECISE QUESTIONS THAT RELATE TO DAMAGES: HOW


  23   MUCH MONEY HE MADE FROM BRATZ. WHETHER IT TAKES 38,000


  24   DOCUMENTS OR TWO -- MY PREFERENCE WOULD BE FOR THE TWO, OR THE


  25   TEN THAT WERE SUBMITTED IN RESPONSE TO JUDGE INFANTE'S ORDER.



                                                  Unsigned               Page 18
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 19 of 112 Page ID
                                  #:112146




  1    THE BOTTOM LINE IS THAT INFORMATION HAS TO COME OUT.


  2        I'M JUST MAKING SURE THAT EVERYBODY IS ON CLEAR


  3    NOTICE THAT THE COURT EXPECTS THAT INFORMATION TO COME OUT


  4    READILY.


  5        I DON'T WANT TO ORDER MR. LARIAN, AS MATTEL REQUESTS,


  6    TO TURN OVER INCOME TAX RECORDS. I DON'T WANT TO HAVE HIM TURN


  7    OVER ANY OF THIS. BUT I WILL IF WE RUN INTO PROBLEMS ON THIS


  8    POINT IN THE TESTIMONY.


  9        MR. NOLAN: RIGHT, YOUR HONOR.


  10       AS I SAID, WE'RE COMMITTED. THE INFORMATION IS


  11   ALREADY THERE. BUT I WANT TO MAKE CERTAIN THIS IS A 1-B ISSUE.


  12   WE'RE NOT GOING TO BE TALKING ABOUT ISSUES IN PHASE 1-A OF


  13   REVENUES FROM BRATZ FOR MR. LARIAN. IF IT IS, THEN I THINK


  14   WE'RE GOING TO HAVE TO REVISIT SOME MOTIONS IN LIMINE THAT WE


  15   DISCUSSED BEFORE. I SEE THIS AS A MOTION DIRECTED TO 1-B IN


  16   THE EVENT WE EVER GET TO A POSTURE IN THIS CASE WHERE DAMAGES


  17   COULD BE AWARDED.


  18       THE COURT: NO. I RULED AT MOTION IN LIMINE NUMBER


  19   TWO THAT IT COULD COME IN ON 1-A, MR. NOLAN. EVIDENCE OF HIS


  20   INTEREST IN THE COMPANY. NO. THAT WAS THE COURT'S RULING.


  21   I'M LOOKING DIRECTLY AT MY NOTES HERE.


  22       MR. COREY?


  23       MR. COREY: I BELIEVE THE DISTINCTION THAT THE COURT


  24   DREW WAS THE FACT THAT MR. LARIAN'S OWNERSHIP AND THE INTEREST


  25   IN THE COMPANY AS A GENERAL MATTER COMES IN. BUT WHEN IT COMES



                                                   Unsigned              Page 19
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 20 of 112 Page ID
                                  #:112147




  1    TO QUANTIFICATION --


  2        THE COURT: IT'S NOT A CATEGORICAL EXCLUSION FROM


  3    1-A. I DON'T WANT THAT TO BE MISUNDERSTOOD.


  4        MR. NOLAN: I UNDERSTAND THAT, YOUR HONOR. I THOUGHT


  5    THE TESTIMONY THAT WAS GOING TO RELATE TO 1-A WOULD HAVE TO GO


  6    TO WHAT MR. LARIAN'S EXPECTATION, IF ANY, AT THE LAUNCH OF


  7    BRATZ.


  8        THE COURT: BUT PART OF HIS EXPECTATION IS GOING TO


  9    BE BASED ON HIS OWNERSHIP OF MGA AND HIS INTERESTS IN MGA.


  10   RIGHT. WE'RE NOT GOING TO GET INTO THE DETAILS OF HOW MUCH HE


  11   MADE, BECAUSE THAT WOULD BE FUTURE -- WHAT HE MADE OVER THE


  12   YEARS OF, SAY, 2001 THROUGH 2006; THAT WILL GO TO DAMAGES.


  13       WHAT HE EXPECTED TO MAKE AND WHAT HIS POSITION IN THE


  14   COMPANY WAS IS RELEVANT IN 2000 IN TERMS OF HIS INTENT OR PART


  15   OF MATTEL'S EVIDENCE OF HIS INTENT TO AID AND ABET IN WHATEVER


  16   IT IS THEY ARE CLAIMING, THE VARIOUS BREACHES THEY ARE CLAIMING


  17   THAT HE AIDED AND ABETTED IN DOING.


  18       MR. NOLAN: CORRECT.


  19       BUT JUST SO WE'RE CLEAR ON THIS, YOUR HONOR, I DON'T


  20   WANT TO, IF, FOR INSTANCE, THE EVIDENCE IS THAT AT THE TIME OF


  21   THE LAUNCH OF BRATZ IN 2000, IT WAS IN ITS INFANCY, NEW DOLLS


  22   CRASH ALL OF THE TIME; THEY ARE NOT COMMERCIALLY SUCCESSFUL.


  23   IF THEY ATTEMPT TO IMPEACH HIM ON THAT WITH LATER EVIDENCE


  24   SHOWING THAT BRATZ BECAME A WORLDWIDE SUCCESS, WE BELIEVE WE


  25   SHOULD THEN BE ABLE TO INTRODUCE EVIDENCE AS TO WHAT WE CONTEND



                                                   Unsigned              Page 20
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 21 of 112 Page ID
                                  #:112148




  1    IN 1-B TO BE THE MOTIVE EVIDENCE OF MATTEL IN BRINGING THIS


  2    LAWSUIT.


  3         THE COURT: WE'RE GETTING BEYOND THIS MOTION RIGHT


  4    NOW, COUNSEL.


  5         MR. NOLAN: OKAY.


  6         THE COURT: MR. COREY, ANYTHING FURTHER?


  7         MR. COREY: FOR CLARIFICATION, THE SCOPE OF THE ORDER


  8    I BELIEVE SHOULD INCLUDE UP THROUGH AND INCLUDING THE END OF


  9    FISCAL YEAR 2007.


  10        THE COURT: 2007.


  11        DID I STOP AT 2006?


  12        MR. COREY: YOU DIDN'T SAY ANYTHING, YOUR HONOR.


  13        THE COURT: ALL RIGHT. VERY WELL.


  14        GETTING BACK TO THE ORIGINAL ORDER HERE.


  15        THAT'S THE COURT'S RULING. SO THE MOTION IS DENIED


  16   AS SUCH. BUT I THINK WHAT THE COURT IS GOING TO REQUIRE OF


  17   MR. LARIAN IS HOPEFULLY CLEAR.


  18        THE NEXT MOTION IS THE MOTION TO ENFORCE TRIAL


  19   SUBPOENAS ISSUED TO ANA CABRERA AND BEATRICE MORALES. I DO NOT


  20   HAVE AN OPPOSITION TO THIS FILED SO FAR. HOWEVER, I BELIEVE


  21   THAT IT SEEMS PREMATURE. A MOTION TO ENFORCE A TRIAL SUBPOENA


  22   BROUGHT BEFORE THE TRIAL HAS EVEN BEGUN, WHEN THERE'S NO


  23   INDICATION THERE'S NOT GOING TO BE AN HONORING OF THE TRIAL


  24   SUBPOENA STRIKES THE COURT AS NOT RIPE FOR CONSIDERATION.


  25        I'VE READ THE MOTION. I'M MINDFUL OF THE ISSUES.



                                                   Unsigned              Page 21
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 22 of 112 Page ID
                                  #:112149




  1        IS THERE ANY REASON THIS HAS TO BE ADDRESSED AT THIS


  2    POINT, OR DO WE HAVE ANY REASON WHY WE SHOULD NOT TO TAKE THIS


  3    UP IN THE COURSE OF THE ACTUAL TESTIMONY ITSELF?


  4        MR. PROCTOR: THAT'S FINE. THEY DID SERVE FORMAL


  5    WRITTEN OBJECTIONS. IT'S CLEAR THEY ARE NOT INTENDING TO


  6    PRODUCE THE DOCUMENTS. SOME GUIDANCE FROM THE COURT AS TO


  7    THEIR OBLIGATIONS TO PRODUCE MIGHT BE HELPFUL. BUT I DO THINK


  8    IT COULD BE DEFERRED, IF THAT'S THE COURT'S PREFERENCE.


  9        MR. NOLAN: I WOULD ONLY NOTE THAT THESE TWO


  10   INDIVIDUALS ARE REPRESENTED BY SEPARATE COUNSEL. THEY ARE NOT


  11   REPRESENTED BY MGA. AND THAT COUNSEL IS NOT PRESENT TODAY.


  12       THE COURT: VERY WELL.


  13       THE MOTION FOR AN ORDER COMPELLING PRODUCTION OF


  14   COMMUNICATIONS MADE IN FURTHERANCE OF CRIMES AND FRAUD. I'M


  15   GOING TO FIRST TAKE UP THE EX-PARTE APPLICATION TO SHORTEN TIME


  16   ON HEARING THIS BECAUSE OF THE NEED TO GET CRITICAL EVIDENCE.


  17       I GUESS MY CONCERN ON THIS IS THAT I GUESS I'M NOT


  18   SEEING THE COMPELLING NEED TO SHORTEN TIME. I SUPPOSE THIS


  19   GOES, TO A CERTAIN EXTENT, TO THE MERITS OF THE MOTION ITSELF.


  20   I UNDERSTAND THERE'S NO OPPOSITION THAT'S BEEN FILED TO THIS AS


  21   OF YET. I'M RELUCTANT TO GET TO THE MERITS.


  22       ALTHOUGH, I SUPPOSE IF I DENY IT, MR. NOLAN IS NOT


  23   GOING TO OBJECT TO ME NOT ALLOWING HIM TO SPEAK TO THE


  24   OPPOSITION.


  25       MR. NOLAN: NO, YOUR HONOR. WE'LL JOIN IN THAT



                                                     Unsigned            Page 22
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 23 of 112 Page ID
                                  #:112150




  1    RULING.


  2        THE COURT: I GUESS THE ISSUE IS THIS WHOLE ALIBI


  3    SCHEME IS NOT NEW. THE ONLY THING THAT'S NEW HERE IS


  4    MS. GLASER'S DEPOSITION. THE PRIVILEGE LOGS WHICH CONTAIN THE


  5    INFORMATION AT QUESTION WERE MADE AVAILABLE BACK IN JANUARY.


  6    WHY ARE WE GETTING THIS MOTION NOW, ON THE EVE OF TRIAL?


  7        I UNDERSTAND MS. GLASER MAY HAVE ADDED TO THE CRIME


  8    FRAUD THEORY THAT'S BEING ADVANCED BY MATTEL, BUT I DON'T SEE


  9    THAT AS BEING SOMETHING COULD NOT HAVE BEEN AIRED WELL IN


  10   ADVANCE OF THIS.


  11       YOUR LAST SECTION IN YOUR EX-PARTE APPLICATION WAS


  12   THAT THE URGENCY WAS NOT OF MATTEL'S CREATION. THE COURT, AT


  13   LEAST IN MY FIRST READING OF THIS, TENDS TO THINK IT MAY VERY


  14   WELL HAVE BEEN.


  15       I'LL HEAR ON THAT, COUNSEL.


  16       MR. QUINN: YOUR HONOR, WHAT WE LEARNED THE WEEK


  17   BEFORE LAST AT MS. GLASER'S DEPOSITION WAS THAT SHE HAD


  18   RECEIVED THIS COPY OF THE CONTRACT WITH THE DATE WHITED OUT.


  19   THAT WAS NEW INFORMATION. WE GOT THE FAX COVER SHEET THAT


  20   INDICATED WHEN SHE HAD RECEIVED THAT IN RELATION TO THE CLAWED


  21   BACK DOCUMENT. AND THE CLAWED BACK DOCUMENT WAS RELATIVELY


  22   RECENTLY PRODUCED AND CLAWED BACK PRETTY SOON THEREAFTER.


  23       BUT THE NEW PIECE OF INFORMATION WAS HER TESTIMONY


  24   THAT SHE GOT THE CONTRACT IN THE VERY SHORT PERIOD OF TIME THAT


  25   HAD BEEN REDACTED AFTER THAT COMMUNICATION FROM MR. LARIAN



                                                   Unsigned              Page 23
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 24 of 112 Page ID
                                  #:112151




  1    WHERE HE REFERS TO THIS WORK WAS DONE ON NIGHTS AND WEEKENDS.


  2    THAT IS THE NEW FACT, THE TIMING BETWEEN THAT AND THE NIGHTS


  3    AND WEEKENDS E-MAIL, AS WELL AS THE FACT THAT NOW MR. LARIAN


  4    WAS WITHHOLDING INFORMATION FROM HIS ATTORNEY. THE KEY FACT AS


  5    TO WHEN MR. BRYANT ENTERED INTO THIS CONTRACT WITH MGA, SHE


  6    WHITED THAT OUT. AND THE PRIVILEGE LOG DID NOT SHOW THE DATE.


  7    THEY HAD GIVEN US A PRIVILEGE LOG.


  8           THE COURT: SHE WHITED THAT OUT. YOU'RE NOT --


  9           MR. QUINN: NO. NOT THAT SHE WHITED IT OUT.


  10          WE KNEW IT HAD BEEN WHITED OUT. WE KNEW THAT THE


  11   HEADER HAD BEEN WHITED OUT.


  12          THE COURT: EXACTLY.


  13          MR. QUINN: WE DIDN'T KNOW THE DATE HAD BEEN WHITED


  14   OUT.


  15          THE COURT: WELL, I UNDERSTAND THIS ADDS ANOTHER


  16   DIMENSION TO IT AND THIS IS ANOTHER EVIDENTIARY PIECE. BUT YOU


  17   HAVE YOUR THEORY; YOU HAVE YOUR CRIME FRAUD EXCEPTION THEORY;


  18   YOU HAVE EVIDENCE SUPPORTING IT. WHY WASN'T THIS MOTION


  19   BROUGHT MONTHS AGO AFTER THE PRIVILEGE LOGS WERE LOGGED?


  20          MR. QUINN: THE DATE OF THE DOCUMENT WAS NOT IN THE


  21   PRIVILEGE LOGS. IT WASN'T UNTIL WE TOOK MS. GLASER'S


  22   DEPOSITION AND WE GOT DOCUMENTS FROM HER THAT WE LEARNED THAT


  23   SHE HAD RECEIVED AN ALTERED DOCUMENT WITHIN DAYS OF THIS


  24   COMMUNICATION WITH MR. LARIAN WHERE MR. LARIAN SAID, COMPLETELY


  25   CONTRARY TO THEIR THEORY OF THE CASE, THAT THIS WAS NOT CREATED



                                                    Unsigned             Page 24
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 25 of 112 Page ID
                                  #:112152




  1    BACK IN 1998 BUT MR. BRYANT HAD DONE THIS WORKING NIGHTS AND


  2    WEEKENDS; SO IT TIED THOSE TWO TOGETHER IN A WAY THAT WE COULD


  3    NOT HAVE KNOWN BEFORE UNTIL WE HAD MS. GLASER'S TESTIMONY.


  4        THE COURT: YOU CAN STILL BRING IN THAT TESTIMONY;


  5    CORRECT?


  6        MR. QUINN: WE CAN. BUT WE NEED THE DOCUMENT THAT


  7    THEY CLAWED BACK, THE NIGHTS AND WEEKENDS DOCUMENT; THAT SHOWS


  8    HE'S CONCEALING INFORMATION FROM HIS OWN LAWYER. IT'S PART OF


  9    THE FRAUD SCHEME. HE'S NOW LYING TO HIS LAWYER. AND THAT'S


  10   OUR CASE FOR GETTING BACK THAT CLAWED BACK DOCUMENT, YOUR


  11   HONOR.


  12       THE COURT: MR. NOLAN?


  13       MR. QUINN: I'M TOLD THAT THE FAX AND THE DOCUMENT


  14   WAS JUST PRODUCED BY THE CHRISTENSEN FIRM LAST WEEK. IT WAS


  15   NEVER PRODUCED BY MGA WITH THE DATE WHITED OUT.


  16       THE COURT: SO YOU HAVE THE FAX AND THE DOCUMENT?


  17       MR. QUINN: YES. AND THAT GIVES US THE KNOWLEDGE OF


  18   THE FRAUDULENT SCHEME WHICH GIVES US A BASIS TO PIERCE THE


  19   CLAIM OF PRIVILEGE AS TO THE CLAWED-BACK DOCUMENT; IT'S PART OF


  20   A FRAUDULENT CRIMINAL SCHEME.


  21       THE COURT: WHAT'S THE DIFFERENCE BETWEEN THE CLAWED


  22   BACK DOCUMENT AND THE DOCUMENT THAT YOU RECEIVED THIS LAST


  23   WEEK?


  24       MR. QUINN: THE CLAWED-BACK DOCUMENT IS THE DOCUMENT


  25   THAT MR. LARIAN WRITES TO MS. GLASER SAYING MR. BRYANT CREATED



                                                 Unsigned                Page 25
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 26 of 112 Page ID
                                  #:112153




  1    THESE DRAWINGS.


  2        THE COURT: YOU DON'T HAVE THAT? MS. GLASER DIDN'T


  3    PRODUCE THAT?


  4        MR. QUINN: WE HAD IT. THEY CLAWED IT BACK. WE DO


  5    NOT HAVE IT NOW. WE GAVE IT BACK WHEN THEY CLAWED IT BACK.


  6        THE COURT: WHAT DID MS. GLASER PRODUCE?


  7        MR. QUINN: MS. GLASER PRODUCED THE FAX COVER SHEET


  8    SHOWING WHEN SHE GOT THE CONTRACT AND SHE ALSO PRODUCED THE


  9    CONTRACT ITSELF SHOWING THE DATE WHITED OUT.


  10       THE COURT: IS SHE GOING TO TESTIFY TO THE FACTS


  11   YOU'RE SUGGESTING HERE?


  12       MR. QUINN: YES.


  13       MR. NOLAN: YOUR HONOR, I WANT TO POINT OUT THAT WHAT


  14   MR. QUINN DOES IS HE GENEROUSLY QUOTES FROM A CLAWED-BACK


  15   DOCUMENT THAT IS PRIVILEGED.


  16       THE COURT: I UNDERSTAND.


  17       MR. NOLAN: BUT TO GO BACK TO THE BASIC ISSUE, YOUR


  18   HONOR, THIS IDEA, THIS NOTION, THAT SOME ALLEGATION OF AN ALIBI


  19   AND CRIME FRAUD EXCEPTION IS COMPLETELY BOGUS.


  20       HAVING SAID THAT --


  21       THE COURT: WELL, THERE'S EVIDENCE OF IT, COUNSEL.


  22       I'M NOT WILLING TO SAY THAT IT'S BOGUS OR NOT BOGUS.


  23       MR. NOLAN: THE CHARACTERIZATION THAT SOMEHOW THIS IS


  24   A CRIME FRAUD COVER UP IN THIS CASE, WE'RE GOING TO SHOW THAT'S


  25   NOT THE CASE AT ALL.



                                                   Unsigned              Page 26
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 27 of 112 Page ID
                                  #:112154




  1         BUT MORE TO THE MERITS OF THIS, YOUR HONOR, THIS


  2    ISSUE AS TO WHEN THE COMMUNICATIONS WERE MADE TO PATTY GLASER'S


  3    OFFICE, COMMUNICATIONS BETWEEN MGA AND THEIR LAWYERS, CAME OUT


  4    IN VICTORIA O'CONNOR'S DEPOSITION MANY YEARS AGO. AND I THINK,


  5    YOUR HONOR, IN THE MOTION FOR SUMMARY JUDGMENT, WE CERTAINLY


  6    HEARD EVIDENCE AND ARGUMENT ON THE POINT THAT VICTORIA O'CONNOR


  7    TESTIFIED THAT SHE WAS INSTRUCTED OR ASKED TO WHITE OUT CERTAIN


  8    PORTIONS OF THE DOCUMENT AS IT WAS BEING FAXED TO MS. GLASER'S


  9    OFFICE. THEY HAVE BEEN AWARE OF THAT SITUATION. THEY ARE ABLE


  10   TO ARGUE THAT. THEY HAVE ARGUED IT IN THE MOTION FOR SUMMARY


  11   JUDGMENT.


  12        WHAT THEY ARE NOW TRYING TO TAKE ADVANTAGE OF IS TO


  13   TAKE IT ONE STEP FURTHER AND PIERCE THE ATTORNEY-CLIENT


  14   PRIVILEGE BETWEEN PATTY GLASER AND MR. LARIAN. PATTY GLASER,


  15   WHO IS AND WAS A FORMER COUNSEL AND TRIAL COUNSEL IN THIS CASE,


  16   UNDER THE SHELDON TEST AND EVERYTHING ELSE, I THINK WE'RE GOING


  17   INTO VERY DANGEROUS GROUNDS HERE. IT'S NOT NECESSARY. THEY


  18   HAVE THE ARGUMENTS. THEY HAVE IT. THE CLAWED-BACK DOCUMENT IS


  19   CLEARLY A PRIVILEGED COMMUNICATION BETWEEN MR. LARIAN AND


  20   MS. GLASER. WE ACTED REASONABLY IN REQUESTING THE IMMEDIATE


  21   CLAWBACK OF THAT. THAT'S NOT SOMETHING THAT'S BEEN OUT THERE.


  22        THE COURT: I'M GOING TO DENY THE MOTION AT THIS TIME


  23   WITHOUT PREJUDICE. DEPENDING ON HOW THIS PLAYS OUT IN TRIAL


  24   AND WHAT KIND OF FOUNDATION IS LAID, THE COURT MIGHT RECONSIDER


  25   IT IN THE COURSE OF THE TRIAL ITSELF. I THINK THIS MAY BE



                                                    Unsigned             Page 27
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 28 of 112 Page ID
                                  #:112155




  1    CUMULATIVE. I THINK MATTEL PROBABLY HAS ENOUGH EVIDENCE ON THE


  2    POINT. THE COURT IS CONCERNED ABOUT THE DELAY.


  3         AT THE SAME TIME, DEPENDING ON HOW THIS PLAYS OUT AND


  4    HOW MS. GLASER'S TESTIMONY PLAYS OUT, AND IF IT'S TRULY --


  5    DEPENDING ON HOW THE OBJECTIONS COME IN, THE COURT MAY CONSIDER


  6    ADMITTING THIS EVIDENCE OR ORDERING THAT THIS EVIDENCE BE


  7    PRODUCED IN THE COURSE OF THE TRIAL.


  8         NO REFERENCE TO IT IN OPENING STATEMENT; NO REFERENCE


  9    TO THE PRIVILEGED DOCUMENTS IN OPENING STATEMENT. YOU CAN


  10   CERTAINLY REFERENCE YOUR THEORY IN OPENING STATEMENT AND ANY


  11   EVIDENCE THAT'S NOT PRIVILEGED. BUT NO REFERENCE TO THIS IN


  12   OPENING STATEMENT, THIS EVIDENCE ITSELF; SO IT'S DENIED WITHOUT


  13   PREJUDICE AND THE COURT WILL RECONSIDER IT IN THE CONTEXT OF


  14   THE TRIAL.


  15        THE NEXT MOTION IS THE MOTION TO ENFORCE THE


  16   DISCOVERY MASTER'S MAY 7, 2008 ORDER. AS I INDICATED EARLIER,


  17   I'M GOING TO GRANT THIS MOTION. THIS REALLY IS DIRECTED OR AT


  18   LEAST THE EX-PARTE APPLICATION IS DIRECTED TOWARDS WACHOVIA.


  19   THEY DON'T OPPOSE IT. THE REPRESENTATION BY MATTEL IS THAT


  20   THEY ARE SEEKING CLARIFICATION.


  21        IS THERE ANY OPPOSITION TO THIS FROM THE DEFENSE?


  22        MR. NOLAN: YOUR HONOR, WE FILED, I THINK, AN OMNIBUS


  23   OBJECTION TO THE EX-PARTE NOTICE. WITH RESPECT TO THE


  24   SUBSTANTIVE PORTION OF IT, THERE WERE ARGUMENTS THAT WERE MADE


  25   TO JUDGE INFANTE WITH RESPECT TO THE SUBSTANCE; SO WE HAVE A



                                                   Unsigned              Page 28
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 29 of 112 Page ID
                                  #:112156




  1    SUBSTANTIVE OBJECTION TO THE REQUEST ITSELF. WE THINK THAT


  2    WHAT JUDGE INFANTE'S RULING ON THIS SUBJECT WAS WITH RESPECT TO


  3    THE BREADTH AND SCOPE AND ALL OF THAT STILL APPLIES. WE'D LIKE


  4    TO BE HEARD ON THAT AT SOME TIME.


  5        I DON'T THINK IT'S NECESSARY TO RAISE IT THIS MORNING


  6    OR RULE ON IT THIS MORNING. I JUST WOULD LIKE A BREAK TO


  7    RESERVE IT AND ADDRESS IT SPECIFICALLY.


  8        THE COURT: WHAT IS YOUR OPPOSITION TO IT?


  9        MR. NOLAN: A, YOUR HONOR, I THINK THE REQUEST WAS


  10   LATE. NUMBER TWO IS, JUDGE INFANTE, I BELIEVE, SAID THAT THE


  11   INFORMATION WAS CUMULATIVE TO THE -- I DON'T WANT TO


  12   SAY THOUSANDS OF --


  13       THE COURT: DID NOT JUDGE INFANTE RULE THAT THE LOAN


  14   AGREEMENTS WERE TO BE PRODUCED FOR THIS PERIOD, 1999, 2000?


  15       MR. NOLAN: THE LOAN AGREEMENTS, YOUR HONOR, I


  16   UNDERSTAND THE COURT'S PRIOR RULING ON THIS ISSUE. I THOUGHT


  17   WE WERE GOING INTO A DIFFERENT ISSUE.


  18       THE COURT: NO. THIS IS JUST THE LOAN AGREEMENT AND


  19   WHETHER OR NOT THAT INCLUDES LOAN DOCUMENTS. FOR SOME REASON,


  20   AND IT'S COMPLETELY UNCLEAR TO ME, THE GOOD LAWYERS AT WACHOVIA


  21   INTERPRETED LOAN AGREEMENTS NOT TO INCLUDE LOAN DOCUMENTS WHEN


  22   THEY WERE ESSENTIALLY EXTENSIONS OF CREDIT THAT HAD BEEN


  23   INITIALLY OFFERED IN 1996, BUT EXPANSIONS OF THOSE CREDIT


  24   FACILITIES WERE SOUGHT IN 1999 AND 2000, AND WACHOVIA WAS


  25   TAKING A VERY CONSERVATIVE RESTRICTIVE INTERPRETATION OF JUDGE



                                                   Unsigned              Page 29
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 30 of 112 Page ID
                                  #:112157




  1    INFANTE'S ORDERS, WHICH THIS COURT DOES NOT FIND TO BE


  2    REASONABLE ON ITS FACE.


  3        MR. NOLAN: THAT'S THE RULING I ACCEPT FROM THE


  4    COURT.


  5        THE COURT: VERY WELL.


  6        MR. NOLAN: SINCE WE DON'T REPRESENT WACHOVIA IN


  7    THIS, I NEED TO JUST TRANSLATE WHAT WACHOVIA SAID AND WHAT THEY


  8    HAVE DONE. WHATEVER THEY DID WAS NOT AT OUR DIRECTION. I JUST


  9    NEED TO LOOK AT THAT.


  10       THE COURT: I APPRECIATE THAT.


  11       I'LL ISSUE AN ORDER TODAY ORDERING WACHOVIA TO


  12   PRODUCE ALL LOAN AGREEMENTS AND LOAN DOCUMENTS RELATED TO ANY


  13   LOANS THAT MGA ENTERED INTO, SOUGHT, OR REQUESTED FROM WACHOVIA


  14   IN 1999 AND 2000, INCLUDING THOSE RELATED TO EARLIER LOAN


  15   AGREEMENTS OR FINANCING AGREEMENTS.


  16       JUST TO MAKE IT CLEAR, IF WACHOVIA LOANED MONEY IN


  17   1999 OR 2000 TO MGA, THE LOAN DOCUMENTS AND AGREEMENTS RELATED


  18   TO THAT NEED TO BE PRODUCED.


  19       MR. NOLAN: RIGHT.


  20       THE COURT: I THINK THAT IS WHAT JUDGE INFANTE WAS


  21   TRYING TO GET AT.


  22       MR. NOLAN: RIGHT.


  23       TO THE EXTENT THEY ARE IN THE CUSTODY OF WACHOVIA, IF


  24   YOU LOOK AT EXHIBIT 6, YOUR HONOR, TO OUR OMNIBUS OPPOSITION TO


  25   MATTEL'S EX-PARTE APPLICATIONS, THERE'S A LETTER FROM THE LAW



                                                  Unsigned               Page 30
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 31 of 112 Page ID
                                  #:112158




  1    FIRM OF DAVIS, POLK & WARDWELL, DATED MAY 25, 2008.


  2            THE COURT: COUNSEL, WOULD YOU REFER ME TO WHERE IN


  3    THE BINDER THIS IS THAT YOU SENT ME OVER THE WEEKEND?


  4            MR. NOLAN: YOUR HONOR, BECAUSE WE DID NOT FILE ANY


  5    NEW DOCUMENTS OVER THE WEEKEND, AT THE COURT'S REQUEST, WHAT


  6    WE --


  7            THE COURT: I DON'T HAVE IT, THEN.


  8            MR. NOLAN: WE FILED IT THIS MORNING. I APOLOGIZE.


  9            THE COURT: I DO NOT HAVE SOMETHING OVER THE WEEKEND


  10   THAT YOU FILED THIS MORNING, AND I GUARANTEE THAT I DID NOT


  11   READ IT.


  12           MR. NOLAN: AT LEAST I GET CREDIT FOR NOT FILING


  13   ANYTHING OVER THE WEEKEND.


  14           ALL I WOULD SAY IS, YOUR HONOR --


  15           THE COURT: AND I GET CREDIT FOR NOT HAVING TO READ


  16   SOMETHING THAT'S NOT BEEN FILED.


  17           MR. NOLAN: ABSOLUTELY.


  18           ALL I'M SAYING IS THAT ON THIS, I DON'T THINK THERE'S


  19   GOING TO BE AN ISSUE, BUT I JUST WANT TO POINT OUT THAT


  20   WACHOVIA'S POSITION ON THIS WAS SET FORTH AS AN EXHIBIT TO THIS


  21   OMNIBUS MOTION THAT WE FILED THIS MORNING OBJECTING TO THE


  22   EX-PARTE APPLICATION THAT HAD BEEN FILED ON FRIDAY. THAT'S ALL


  23   I'M SAYING.


  24           WHEN YOU SEE THIS DOCUMENT, IT MAY NOT BE AN ISSUE,


  25   BUT IF IT IS, I JUST WANT TO POINT IT OUT THAT --



                                                        Unsigned         Page 31
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 32 of 112 Page ID
                                  #:112159




  1        THE COURT: I APPRECIATE THAT. THE OBJECTION IS


  2    OVERRULED. THE ORDER IS ISSUED AS STATED ON THE RECORD.


  3        THE NEXT MOTION IS THE MOTION TO QUASH THE DONALD K.


  4    MOON TRIAL SUBPOENA. THERE'S NO OPPOSITION TO THIS, BUT MY


  5    TENTATIVE IS TO DENY THE MOTION TO QUASH.


  6        I UNDERSTAND THIS MAY NOT BE RELEVANT AT THE END OF


  7    THE DAY, BUT I CAN'T SAY THAT NOW BASED ON WHAT'S BEFORE ME.


  8    MR. MOON IS GOING TO HAVE TO COME IN AND TESTIFY PURSUANT TO


  9    THE TRIAL SUBPOENA. I'LL CERTAINLY ALLOW MATTEL TO RESERVE ANY


  10   OBJECTIONS ON RELEVANCY AND I'M NOT RULING ON THAT AT THIS


  11   POINT, BUT I'M NOT GOING TO QUASH THE SUBPOENA.


  12       THE MOTION TO COMPEL MR. LARIAN TO RESPOND TO THE


  13   TRIAL SUBPOENA HAS ALREADY BEEN ADDRESSED.


  14       THE LAST WRITTEN MOTION IS THE OMNIBUS MOTION FILED


  15   BY MATTEL. MY FIRST QUESTION TO MATTEL ON THIS IS, WHY


  16   SHOULDN'T I TREAT THIS AS THE 17TH MOTION IN LIMINE AND DENY IT


  17   ON THAT BASIS?


  18       MR. ZELLER: WELL, I THINK THERE'S A VERY PRAGMATIC


  19   MATTER, YOUR HONOR. MUCH OF THIS, OF COURSE, AROSE --


  20       THE COURT: THE PRAGMATIC MATTER BEING THAT YOU RAN


  21   OUT OF 15?


  22       MR. ZELLER: CORRECT. AND ON THAT BASIS I WOULD ASK


  23   FOR LEAVE.


  24       IT SEEMS TO ME, NUMBER ONE, THAT THIS IS NOT A MOTION


  25   IN LIMINE PER SE. WE ARE ASKING FOR RULINGS THAT ARE



                                                   Unsigned              Page 32
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 33 of 112 Page ID
                                  #:112160




  1    ULTIMATELY BASED ON WHAT KIND OF JURY INSTRUCTIONS SHOULD BE


  2    GIVEN AS A RESULT OF THIS. I UNDERSTAND THAT OF COURSE THERE


  3    ARE OTHER ISSUES THAT ARE PRESENTED BY THIS MOTION. CERTAINLY,


  4    I UNDERSTAND THE COURT'S PERSPECTIVE, AT LEAST AS TO THOSE,


  5    THAT PERHAPS ONE WOULD CONSIDER THEM IN THE CONTEXT OF BEING A


  6    MOTION IN LIMINE.


  7         THE COURT: I'LL TELL YOU MY THOUGHT. IT'S MORE THAN


  8    JUST THE ADVERSE INSTRUCTION THAT YOU SEEK IN HERE. YOU'RE


  9    ACTUALLY ASKING THE COURT TO ORDER AND REQUIRE ANSWERS OR


  10   PROVIDE CERTAIN RELIEF TO MATTEL IN THE COURSE OF THE


  11   WITNESSES' TESTIMONY. I DO THINK THOSE ARE BEST DETERMINED IN


  12   THE CONTEXT OF THE WITNESSES TESTIFYING. WHETHER THEY ARE


  13   GOING TO TESTIFY CONSISTENT WITH THEIR DEPOSITION OR WHETHER


  14   THEY ARE GOING TO TESTIFY CONSISTENT WITH THE INFORMAL


  15   INTERVIEW THAT MATTEL HAD WITH THE WITNESSES IN JANUARY.


  16        I THINK I NEED TO GIVE LEAVE TO MGA, THOUGH, TO


  17   EDUCATE THE COURT FROM THEIR PERSPECTIVE ON THE LAW ON THIS


  18   ISSUE. I'VE READ YOUR MOTION. I'M MINDFUL OF THE LAW. I


  19   THINK I NEED TO GIVE MGA A CHANCE TO RESPOND. NOT SO MUCH AS


  20   AN OPPOSITION BUT JUST MORE OF A TRIAL BRIEF ON THE ISSUES


  21   RAISED IN THIS SO THE COURT CAN THEN MAKE A DECISION IN THE


  22   CONTEXT OF ACTUALLY HEARING THE WITNESSES AND THEN ULTIMATELY


  23   IN DRAFTING THE JURY INSTRUCTIONS.


  24        MR. ZELLER: CERTAINLY WE WOULD AGREE WITH THAT


  25   APPROACH.



                                                   Unsigned              Page 33
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 34 of 112 Page ID
                                  #:112161




  1         THE COURT: VERY WELL. THAT'S THE APPROACH I'LL


  2    TAKE, THEN.


  3         MR. NOLAN, DO YOU DISAGREE?


  4         MR. NOLAN: NO, YOUR HONOR.


  5         THE COURT: THAT MEANS YOU AGREE, THEN.


  6         MR. NOLAN: I AGREE WITH YOU. BUT FROM A TIMING


  7    POINT OF VIEW, UNTIL THOSE WITNESSES ARE GOING TO BE CALLED, WE


  8    HAVE SOME TIME TO FILE A TRIAL BRIEF. THAT'S ALL I'M ASKING.


  9         THE COURT: I THINK THESE ARE THE TYPE OF WITNESSES


  10   THAT WE SHOULD DEFINITELY HAVE AN OUT-OF-THE-JURY DISCUSSION


  11   BEFORE, IN TERMS OF HOW WE'RE GOING TO DEAL WITH THE FIFTH


  12   AMENDMENT ISSUES. CERTAINLY, THIS IS A CIVIL CASE. THIS IS


  13   NOT A CRIMINAL CASE. AND I KNOW COUNSEL IS AWARE OF THE


  14   CONSEQUENCES OF THAT. THEY CERTAINLY HAVE A RIGHT TO INVOKE


  15   THEIR FIFTH AMENDMENT. BUT AT THE SAME TIME, THAT'S NOT A


  16   PERFECT SHIELD FOR MGA OR FOR THEM. IT'S ALL GOING TO COME OUT


  17   IN THE WASH, AND WE'LL SEE HOW IT COMES OUT.


  18        MR. NOLAN: MY ONLY POINT IS THESE WITNESSES ARE


  19   REPRESENTED BY SEPARATE COUNSEL. THEY WERE NOT EMPLOYEES OF


  20   MGA. THEY ARE EMPLOYEES OF VERONICA MARLOW.


  21        THE COURT: IS MR. MCDONALD BEING PAID BY MGA?


  22        MR. NOLAN: NO, YOUR HONOR. NOT TO MY KNOWLEDGE.


  23        I'LL DOUBLE CHECK ON THAT POINT.


  24        THE COURT: DO DOUBLE-CHECK ON THAT.


  25        MR. NOLAN: BUT, YOUR HONOR, MY POINT IS FROM A



                                                     Unsigned            Page 34
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 35 of 112 Page ID
                                  #:112162




  1    TIMING POINT OF VIEW IN FILING THE ACTUAL TRIAL BRIEF, DOES THE


  2    COURT HAVE A PREFERENCE? CAN WE HAVE A FEW DAYS TO DO THAT, OR


  3    BY THE END OF THE WEEK?


  4        THE COURT: IN ADVANCE OF THESE WITNESSES BEING


  5    CALLED; SO COORDINATE THAT WITH MR. QUINN.


  6        MR. NOLAN: ALL RIGHT.


  7        THE COURT: SO I WILL DENY THAT MOTION WITHOUT


  8    PREJUDICE AT THIS TIME. THE COURT WILL TREAT IT AS A TRIAL


  9    BRIEF FROM MATTEL. I'LL TAKE THE SAME TRIAL BRIEF FROM MGA.


  10       MR. NOLAN: YOU ASKED ABOUT MR. MCDONALD.


  11       IF IT'S MR. MCFARLAND YOU MEANT --


  12       THE COURT: YES, THANK YOU. MR. MCFARLAND.


  13       MR. NOLAN: WE AFFIRMATIVELY ARE NOT PAYING


  14   MR. MCDONALD'S FEES. I DON'T KNOW WHO HE IS.


  15       WITH RESPECT TO MR. MCFARLAND, I'LL SORT THAT OUT AS


  16   TO WHO EXACTLY IS PAYING HIS REPRESENTATION FOR THOSE


  17   PARTICULAR WITNESSES.


  18       THE COURT: PLEASE DO. THERE'S BEEN A LOT OF


  19   DISCUSSION ON THIS POINT, AND I WOULD LIKE TO GET THAT


  20   RESOLVED.


  21       MR. NOLAN: MY BELIEF IS WITH RESPECT TO THOSE


  22   REPRESENTATIONS, YOUR HONOR, WE ARE NOT PAYING MR. MCFARLAND IN


  23   THAT REPRESENTATION. I WANT TO BE CLEAR ON THAT. BUT WE'LL


  24   CONFIRM THAT. BUT CERTAINLY NOT MR. MCDONALD'S.


  25       THE COURT: ALL RIGHT.



                                                    Unsigned             Page 35
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 36 of 112 Page ID
                                  #:112163




  1         ANOTHER MOTION THAT IS IN WRITTEN FORM, I'VE RECEIVED


  2    A NUMBER OF BRIEFS, THIS IS THE MOTION TO STRIKE WHAT MGA HAS


  3    CHARACTERIZED AS AN AMENDMENT TO THE PRETRIAL CONFERENCE ORDER.


  4         THERE ARE TWO ISSUES HERE. MAYBE THEY ARE JOINED AND


  5    I'M JUST NOT -- THERE'S THE ISSUE OF THE BRATZ NAME ITSELF AND


  6    THEN THERE'S THE ISSUE OF THIS DRAWING THAT I GUESS CONTAINS


  7    THE BRATZ NAME.


  8         ARE THESE ONE AND THE SAME?


  9         MR. NOLAN: NO. THEY ARE DIFFERENT, YOUR HONOR. OUR


  10   BELIEF IS THAT THEY ARE DIFFERENT.


  11        THE COURT: THEY ARE DIFFERENT. OKAY.


  12        I'LL GIVE YOU MY TENTATIVE ON BOTH OF THEM BECAUSE


  13   IT'S ACTUALLY SPLIT.


  14        WITH RESPECT TO THE BRATZ NAME, THE COURT IS INCLINED


  15   TO OVERRULE THE OBJECTION AS THE COURT FINDS NO SURPRISE OR


  16   PREJUDICE TO MGA. THE NAMING OF THE BRATZ IS PROPERLY WITHIN


  17   THE SCOPE OF MATTEL'S BREACH OF CONTRACT CLAIMS AND WAS FULLY


  18   EXPLORED IN DISCOVERY.


  19        WITH RESPECT TO THE REGISTRATION OF THAT DRAWING --


  20   AND I THINK YOU ALL UNDERSTAND THE DRAWING I'M REFERRING TO;


  21   IT'S IN THE TRIAL CONFERENCE ORDER; IT WAS THE ONE THAT WAS


  22   REGISTERED JUST RECENTLY -- I'M INCLINED TO GRANT THE MOTION TO


  23   STRIKE THAT.


  24        THE ONLY REASON THAT I'M GETTING, MR. ZELLER -- AND I


  25   THINK YOU'RE THE ONE BRIEFING THIS ISSUE -- IS THE AEO NATURE



                                                    Unsigned             Page 36
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 37 of 112 Page ID
                                  #:112164




  1    OF THE DOCUMENT. THIS WOULD HAVE BEEN CLEAR GROUNDS TO SEEK


  2    RELIEF FROM THIS COURT OR FROM JUDGE INFANTE FROM THE


  3    PROTECTIVE ORDER TO REGISTER THE DRAWING, GIVEN THE


  4    CIRCUMSTANCES OF THIS CASE. I THINK TO COME IN AT THE LAST


  5    MINUTE AND TO INSERT THAT INTO THE TRIAL IS UNFAIR. UNFAIR IN


  6    AN EQUITABLE SENSE, NOT AN ETHICAL SENSE.


  7        BUT IN ANY EVENT, I'LL HEAR FROM YOU BEFORE I MAKE


  8    THE RULINGS FINAL.


  9        MR. ZELLER: YES, YOUR HONOR.


  10       I KNOW THAT WE DID SUBMIT A DECLARATION THAT LAID OUT


  11   FOR YOU THE HISTORY OF WHAT WE HAD DONE HERE. AND I AM MINDFUL


  12   OF THE COURT'S POINT THAT WE COULD HAVE BROUGHT A MOTION, AS


  13   WE, OF COURSE, AMPLY DEMONSTRATE THROUGHOUT THE COURSE OF THE


  14   CASE.


  15       THE COURT: THAT'S ONE ARGUMENT YOU CANNOT MAKE, IS


  16   THAT YOU DON'T KNOW HOW TO BRING A MOTION FOR AN APPLICATION.


  17   GOD KNOWS YOU KNOW HOW TO DO THAT.


  18       MR. ZELLER: THAT'S CORRECT; WE'RE NOT DISPUTING


  19   THAT.


  20       I WILL SAY THAT IT IS SOMEWHAT DISCONCERTING FOR MGA


  21   TO BE CRITICIZING US ON ONE HAND FOR BRINGING TOO MANY MOTIONS


  22   AND THEN NOT YET ANOTHER ONE.


  23       WE DID MAKE EFFORTS TO REGISTER THE DRAWING. WE DID


  24   MAKE THOSE APPROACHES TO THE COPYRIGHT OFFICE TO SEE IF IT


  25   COULD BE DONE. AND WE DID TRY TO WORK THROUGH IT IN THE MEET



                                                   Unsigned              Page 37
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 38 of 112 Page ID
                                  #:112165




  1    AND CONFER PROCESS.


  2        BUT I DO THINK FUNDAMENTALLY THE POINT IS THAT THIS


  3    DOES NOT EXPAND THE CASE ONE BIT. THE REGISTRATION DOES NOT


  4    CHANGE THE SCOPE OF THE CASE. THAT DRAWING HAS BEEN AT ISSUE


  5    FROM THE VERY BEGINNING OF THE CASE. THE ARGUMENT THAT MGA HAS


  6    MADE ESSENTIALLY GOES TO THIS POINT, WHICH IS, WELL, YOU NEEDED


  7    TO HAVE A REGISTRATION FOR SUBJECT MATTER JURISDICTION IN ORDER


  8    TO GRANT RELIEF.


  9        THAT'S JUST NOT CORRECT.


  10       THE PERFECT TEN CASE, FOR EXAMPLE, BY THE NINTH


  11   CIRCUIT SAYS VERY CLEARLY THAT YOU DON'T HAVE TO HAVE A


  12   REGISTRATION FOR EVERY SINGLE WORK THAT IS THE SUBJECT OF A


  13   COPYRIGHT CLAIM. RATHER, THE SUBJECT MATTER JURISDICTION IS


  14   SUFFICIENT IF THEY ARE COPYRIGHTED WORKS AND YOU HAVE A


  15   REGISTRATION FOR SOMETHING. YOU DON'T HAVE TO HAVE ONE FOR


  16   EVERY SINGLE ONE.


  17       THE COURT: THEN WHAT'S YOUR PROBLEM?


  18       MR. ZELLER: THEY ARE GOING TO ARGUE LATER ON THAT


  19   MEANS THAT WE CAN'T GET DAMAGES AS A RESULT OF THAT DRAWING.


  20   THAT IS REALLY WHERE THE TURNING POINT ON THIS IS.


  21       IT DOESN'T CHANGE THE SCOPE OF THE CASE AT ALL. WHAT


  22   THEY ARE GOING TO ARGUE, HOWEVER, GOING FORWARD IS, WELL, YOU


  23   DON'T HAVE A REGISTRATION; THEREFORE, YOU CANNOT GET PAST


  24   COPYRIGHT DAMAGES. AND THEN THEY ARE GOING TO ARGUE THAT ANY


  25   OTHER KIND OF RELIEF THAT WE COULD SEEK MONETARILY IS



                                                  Unsigned               Page 38
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 39 of 112 Page ID
                                  #:112166




  1    PREEMPTED; THAT IS THE ARGUMENT THAT'S COMING.


  2        THE COURT: AND I UNDERSTAND WHY YOU TOOK THAT


  3    PROPHYLACTIC STAGE. BUT THIS IS ALL THE MORE REASON WHY YOU


  4    SHOULD HAVE BROUGHT THIS TO THE COURT'S ATTENTION A LOT


  5    EARLIER, COUNSEL. IF THIS REALLY IS THAT IMPORTANT, THEN


  6    THAT IS PRECISELY -- IT'S NOT LIKE YOU WEREN'T AWARE OF THIS


  7    ISSUE MONTHS, IF NOT YEARS AGO.


  8        MR. QUINN: I'M NOT SAYING HOW IMPORTANT IT IS; I'M


  9    TELLING YOU WHAT THEIR ARGUMENT WILL BE.


  10       THE COURT: WE'LL DEAL WITH THEIR ARGUMENTS WHEN THEY


  11   COME.


  12       GETTING BACK TO THIS ISSUE, THOUGH, I DON'T FIND ANY


  13   GOOD CAUSE FOR THIS LAST-MINUTE AMENDMENT ON THAT POINT.


  14       THE BRATZ NAME ITSELF, I THINK THAT REALLY WAS IN


  15   PLAY IN THE DISCOVERY THROUGHOUT. THIS REGISTRATION IS OF A


  16   SUBSTANTIVELY DIFFERENT NATURE, IN THE COURT'S PERSPECTIVE.


  17       MR. ZELLER: THANK YOU.


  18       THE COURT: THANK YOU, COUNSEL.


  19       ANYTHING FURTHER?


  20       MR. NOLAN: NO, YOUR HONOR. WE'LL SUBMIT.


  21       EXCEPT WITH RESPECT TO THE WAY THAT IT SAYS THE BRATZ


  22   NAME. I THINK THAT AT THE LAST HEARING AND A FEW HEARINGS


  23   BACK, WHAT THEY WERE SAYING IS THEY ARE NOT DEALING WITH THE


  24   TRADEMARK OF BRATZ; THEY ARE DEALING WITH THE IDEA OF BRATZ,


  25   THE NAME ITSELF, JUST TO BE CLEAR, AGAIN, FOR THE RECORD.



                                                   Unsigned              Page 39
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 40 of 112 Page ID
                                  #:112167




  1        THE COURT: YES. AND I UNDERSTAND THE DISTINCTION.


  2    IT'S NOT A TRADEMARK CLAIM BECAUSE IT WAS NEVER PUT INTO USE BY


  3    MATTEL DURING THE TIME PERIOD.


  4        MR. NOLAN: THANK YOU VERY MUCH.


  5        THE COURT: ALL RIGHT.


  6        I'VE RECEIVED AND REVIEWED THE PROPOSED ORDER


  7    REGARDING VARIOUS DISCOVERY MOTIONS, APPLICATIONS, AND OTHER


  8    MATTERS UPON WHICH THE COURT RULED ON MAY 21ST THROUGH 23RD,


  9    2008. I APPRECIATE COUNSELS' EFFORTS IN THIS REGARD. I AM


  10   SIGNING THIS ORDER. THE ONE DISPUTE WAS ON THE FIRST ORDER


  11   LISTED, OR THE FIRST MOTION LISTED, MATTEL'S OBJECTION TO THE


  12   DISCOVERY MASTER'S MAY 8TH, 2008 ORDER REGARDING MATTEL'S


  13   MOTION FOR RECONSIDERATION OF THE FEBRUARY 26, 2008 ORDER


  14   DENYING THE MOTION TO COMPEL THE DEPOSITION OF


  15   CHRISTOPHER PALMERI.


  16       I AM ADOPTING MATTEL'S PROPOSED ORDER ON THIS. I


  17   BELIEVE THAT ALL OBJECTIONS, OTHER THAN THE OBJECTION THAT THE


  18   ARTICLE IS CUMULATIVE, HAVE BEEN WAIVED. THE FOUNDATION


  19   AUTHENTICITY ISSUES ARE RESOLVED BY STIPULATION, AND THE


  20   HEARSAY IS SOMETHING I'VE ALREADY RULED UPON; SO THAT ARTICLE


  21   IS COMING IN SUBJECT TO AN OBJECTION ON IT BEING CUMULATIVE.


  22       OTHERWISE, THE ORDER IS CONSISTENT WITH THE COURT'S


  23   RECOLLECTION AND NOTES, AND THE ORDER IS SIGNED THIS DATE,


  24   MAY 27, 2008 AND WILL BE PROCESSED BY THE COURT CLERK.


  25       I AM GOING TO BE ASKING COUNSEL TO PREPARE A SIMILAR



                                                  Unsigned               Page 40
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 41 of 112 Page ID
                                  #:112168




  1    ORDER BASED ON THE COURT'S RULINGS THIS MORNING.


  2        THERE ARE TWO OTHER ISSUES THAT I WANT TO GO THROUGH


  3    BRIEFLY AND THEN WE CAN START THE TRIAL.


  4        THE AMENDED FINAL PRETRIAL CONFERENCE ORDER FOR THE


  5    PHASE-ONE TRIAL HAS BEEN FULLY REVIEWED BY THE COURT. I HAVE


  6    MARKED IT UP. I HAVE NOT MADE ANY SUBSTANTIVE CHANGES EXCEPT


  7    THE FOLLOWING:


  8        I AM DELETING THE KEY EVIDENCE PORTIONS ON BOTH THE


  9    CLAIMS AND THE COUNTERCLAIMS. AS I INDICATED TO YOU SEVERAL


  10   WEEKS AGO, THE COURT IS QUITE FAMILIAR WITH THE FACTUAL


  11   POSITIONS OF THE RESPECTIVE PARTIES AND WHAT THEY BELIEVE THE


  12   EVIDENCE IS GOING TO SHOW; SO I DISPENSED WITH THE REQUIREMENT


  13   FOR TRIAL BRIEFS OF CONTENTIONS OF FACT AND LAW. THAT'S


  14   BASICALLY NOT NEEDED IN THE PRETRIAL CONFERENCE ORDER.


  15       WHAT I'M GOING TO DO IS I'M IDENTIFYING ALL OF THE


  16   CLAIMS IN THE AFFIRMATIVE DEFENSES AS SUBMITTED BY THE PARTIES.


  17   I AM DELETING THOSE SECTIONS WHERE THEY SPAR OVER THE ELEMENTS


  18   FOR THOSE VARIOUS CLAIMS AND AFFIRMATIVE DEFENSES. WE WILL


  19   TAKE THAT UP AT THE JURY INSTRUCTION CHARGING SESSIONS WHERE WE


  20   WILL SORT THROUGH AND DETERMINE WHAT ELEMENTS ARE GOING TO BE


  21   INSTRUCTED UPON TO THE JURY. I WILL BE GIVING OUT LATER TODAY


  22   A FINAL VERSION OF THE ORDER.


  23       BUT IN ITS ESSENCE, IT CONTAINS ALL OF THE CLAIMS AND


  24   ALL OF THE AFFIRMATIVE DEFENSES STIPULATED TO BY COUNSEL IN


  25   ADVANCE OF THIS.



                                                   Unsigned              Page 41
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 42 of 112 Page ID
                                  #:112169




  1        THE ONE AFFIRMATIVE DEFENSE THAT I WANT TO TAKE UP,


  2    AND IT'S THE LAST ISSUE BEFORE CALLING THE JURY IN, IS THE


  3    STATUTE OF LIMITATIONS. THE COURT HAS SPENT A LOT OF TIME ON


  4    THIS PARTICULAR ISSUE, AND FRANKLY, IT'S A VERY CLOSE ISSUE.


  5    BUT I'LL TELL YOU WHERE IT'S CLOSE. IT'S CLOSE BETWEEN ME


  6    GRANTING IT OUTRIGHT IN FAVOR OF MATTEL VERSUS SUBMITTING IT TO


  7    THE JURY.


  8        THE EVIDENCE THAT IS CAUSING THE COURT THE GREATEST


  9    CONCERN ABOUT DECIDING IT AS A MATTER OF LAW IS THE EVIDENCE


  10   THAT WAS SUBMITTED LAST WEEK BY MR. NOLAN CONCERNING THE


  11   ALLEGATION THAT IN SEPTEMBER OF 2003 THERE WAS A DOCUMENT IN


  12   THE TRIAL DOCUMENTS AND THE HONG KONG LITIGATION, WHICH SERVED


  13   TO ESSENTIALLY ALERT MATTEL AS TO THE CLAIM THAT THEY WERE


  14   ADVANCING IN THIS CASE.


  15       THE COURT'S ANALYSIS ON THE DISCOVERY RULE SET OUT IN


  16   A VERY LONG AND DETAILED ORDER, AND AS TO HOW I GET TO THE


  17   POINT OF FINDING THAT THE DISCOVERY RULE RELATES TO THE CLAIM


  18   SET FORTH BY MATTEL AS OPPOSED TO SOME OTHER CLAIM THAT COULD


  19   HAVE BEEN BROUGHT AT AN EARLIER DATE INVOLVING THE ALLEGED


  20   COPYRIGHT OF TOON TEENS OR DIVA STARZ OR ANYTHING ELSE. BUT I


  21   DO HAVE A REAL CONCERN THAT THE DOCUMENTS AND THE TIMING OF THE


  22   SUBMISSION OF THE DOCUMENTS.


  23       I'VE READ MR. MOORE'S DECLARATION INDICATING HE DID


  24   NOT RECEIVE IT UNTIL NOVEMBER, BUT THAT REALLY STRIKES THE


  25   COURT AS A TRIABLE ISSUE OF FACT IN TERMS OF WHAT MATTEL



                                                    Unsigned             Page 42
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 43 of 112 Page ID
                                  #:112170




  1    RECEIVED AND WHEN.


  2         TO A LESSER EXTENT, I AM STILL CONCERNED ABOUT THE


  3    ANONYMOUS LETTER AND HOW MUCH WEIGHT TO GIVE TO THAT IN TERMS


  4    OF DETERMINING WHETHER OR NOT THERE IS KNOWLEDGE OR SUSPICION


  5    OF THE GENERIC ELEMENTS OF THE CLAIM THAT IS ACTUALLY BROUGHT


  6    BY MATTEL. BUT THAT MIGHT BE A FURTHER REASON TO SUBMIT THIS


  7    ISSUE, AS NARROWED BY THE COURT, TO THE JURY FOR THE FACTUAL


  8    FINDINGS.


  9         MR. ZELLER, I'D LIKE TO HEAR FURTHER FROM YOU AND, OF


  10   COURSE, MR. NOLAN IN RESPONSE.


  11        MR. ZELLER: I THINK FUNDAMENTALLY ON THOSE TWO


  12   ISSUES, WE JUST GO BACK TO THE SUMMARY JUDGMENT STANDARD.


  13        THERE IS NO EVIDENCE, AND MR. MOORE HAS PUT IN


  14   CONTRARY EVIDENCE, THAT IN SEPTEMBER OF 2003, MATTEL RECEIVED


  15   THE DRAWINGS OR INFORMATION, SUCH AS THE CONTRACT, THAT SHOWED


  16   THE BASIS FOR MATTEL'S CLAIM.


  17        WE HAVE SUBMITTED, IN FACT, PRECISELY WHAT IT WAS


  18   THAT --


  19        THE COURT: THE CONTRACT, YOU'RE TALKING ABOUT THE


  20   MATTEL CONTRACT?


  21        MR. ZELLER: NO. I'M TALKING ABOUT THE MGA BRYANT


  22   CONTRACT. BECAUSE THE TWO PIECES OF INFORMATION, TO GO BACK TO


  23   IT, YOUR HONOR, THAT MATTEL RECEIVED AT --


  24        THE COURT: I DON'T MEAN TO CUT YOU OFF, BUT WE'RE


  25   SHORT FOR TIME HERE. WHY IS IT NOT SUFFICIENT FOR MGA TO TAKE



                                                    Unsigned             Page 43
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 44 of 112 Page ID
                                  #:112171




  1    THE POSITION THAT -- THIS LITIGATION INDICATES THAT BETWEEN


  2    1998 AND 2000, ACCORDING TO THE TIMELINE THAT IS ALLEGEDLY PART


  3    OF THIS LITIGATION, THAT BETWEEN 1998 AND 2000, CARTER BRYANT


  4    DEVELOPED BRATZ; DURING MUCH OF THAT TIME, OF COURSE, HE WAS


  5    EMPLOYED BY MATTEL. IT WAS COMMON KNOWLEDGE THAT BRYANT HAD


  6    DEVELOPED BRATZ. CERTAINLY MATTEL WAS ON NOTICE OF ITS OWN


  7    EMPLOYMENT OR INVENTIONS AGREEMENT WHICH PROVIDED THAT ANYTHING


  8    THAT CARTER BRYANT MADE WHILE AN EMPLOYEE AT BRATS WOULD BE


  9    THEIR PROPERTY.


  10       ONCE YOU GET THAT INFORMATION THAT, IN FACT, THAT IT


  11   WASN'T ISAAC LARIAN, IT WASN'T SOMEBODY ELSE, BUT IT WAS


  12   CARTER BRYANT BETWEEN 1998 AND 2000 WHO DEVELOPED THE BRATZ


  13   DOLL, AND THAT'S THE OFFICIAL POSITION THAT MGA IS NOW TAKING


  14   IN COURT, WHY ISN'T THAT SUFFICIENT TO PUT YOU ON NOTICE IN


  15   SEPTEMBER OF 2003, ASSUMING THAT YOU RECEIVED THAT IN SEPTEMBER


  16   OF 2003, ESSENTIALLY OF THE CLAIM THAT YOU'VE BROUGHT IN THIS


  17   CASE?


  18       MR. ZELLER: IF ALL OF THE INFORMATION THAT THE COURT


  19   JUST DESCRIBED WERE, IN FACT, IN THE SEPTEMBER OF 2003


  20   DOCUMENTS, I DON'T THINK THAT I WOULD DISAGREE WITH YOU.


  21       THE COURT: OKAY.


  22       AND I UNDERSTAND YOU DISPUTE THAT INFORMATION WAS IN


  23   THOSE DOCUMENTS. MGA CONTENDS OTHERWISE.


  24       ISN'T THAT A TRIABLE ISSUE OF FACT?


  25       MR. ZELLER: I DON'T THINK SO, YOUR HONOR.



                                                  Unsigned               Page 44
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 45 of 112 Page ID
                                  #:112172




  1        THE COURT: EXPLAIN.


  2        MR. ZELLER: BECAUSE WHAT WE'VE PUT IN IS WE PUT IN


  3    THE ACTUAL INFORMATION THAT MATTEL RECEIVED. YOU RECALL THAT


  4    THE WAY THIS ALL STARTED WAS THAT THEY SAID, OH, WELL, ACTUALLY


  5    MATTEL OBTAINED BACK IN SEPTEMBER SOME INFORMATION FROM THE


  6    HONG KONG COURT FILE. AND THEY SPECULATED FROM THERE, AND I


  7    USE THE TERM SPECULATION QUITE PRECISELY, THAT FROM THERE WHILE


  8    MATTEL MUST HAVE HAD ALL THIS OTHER INFORMATION, THAT WOULD


  9    HAVE PUT IT ON NOTICE OF ITS CLAIM.


  10       THAT LINK IS MISSING.


  11       WE HAVE PROVIDED TO THE COURT THE EXACT INFORMATION


  12   THAT MATTEL RECEIVED AND WE SUPPORTED IT WITH THE MOORE


  13   DECLARATION; SO THE COURT CAN SEE RIGHT IN THERE EXACTLY WHAT


  14   IT IS THAT MATTEL RECEIVED. AND THE KIND OF INFORMATION THAT


  15   THE COURT HAS JUST DESCRIBED IS NOT IN THERE.


  16       THE COURT: YOUR POSITION IS THAT'S NOT DISPUTED.


  17       MR. ZELLER: CORRECT. IT'S UNDISPUTED FACTS.


  18       ALSO, JUST AS A MORE GENERAL MATTER, UNLIKE COURTS


  19   HERE IN THE UNITED STATES, WHERE FILES ARE GENERALLY FREELY


  20   AVAILABLE WITH EXCEPTIONS OF WHERE THINGS ARE UNDER SEAL, HONG


  21   KONG IS THE OPPOSITE. YOU CAN'T JUST GO INTO THE COURT FILES


  22   AND GET ANY KIND OF COURT FILING.


  23       WHAT MATTEL SPECIFICALLY RECEIVED WAS THAT FAX ON


  24   SEPTEMBER 23, 2003. WE HAVE PROVIDED IT. IT IS BASICALLY A


  25   WRIT OF SUMMONS. IT DESCRIBES INFORMATION ABOUT THE CASE. BUT



                                                   Unsigned              Page 45
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 46 of 112 Page ID
                                  #:112173




  1    IT DOESN'T HAVE THE KIND OF INFORMATION IN IT THAT THE


  2    DEFENDANTS ARE SAYING WOULD HAVE PUT MATTEL ON NOTICE.


  3        I THINK I WOULD AGREE WITH THE COURT, IF ALL THAT


  4    INFORMATION WAS IN THERE, IT WOULD GIVE NOTICE.


  5        SO THAT IS AN UNDISPUTED FACT.


  6        I WOULD ALSO SAY THIS, IS THAT, IT'S UNDISPUTED THAT


  7    WHATEVER IT IS THAT MATTEL RECEIVED, THEY WERE NOT THE


  8    DRAWINGS. THERE IS NO EVIDENCE WHATSOEVER THAT MATTEL RECEIVED


  9    THE DRAWINGS BEFORE NOVEMBER OF 2003. AND CERTAINLY IT HAS


  10   BEEN MATTEL'S POSITION THAT IT WOULD HAVE BEEN IMPOSSIBLE TO


  11   BRING A COPYRIGHT INFRINGEMENT CLAIM BASED ON THOSE DRAWINGS


  12   WITHOUT HAVING THE DRAWINGS.


  13       THE COURT: LET ME ASK YOU TWO UNRELATED QUESTIONS


  14   BUT RELATED TO THE STATUTE OF LIMITATIONS.


  15       IS IT YOUR POSITION THAT THE DISCOVERY RULE APPLIES


  16   TO BOTH CONVERSION AND THE STATUTORY UNFAIR COMPETITION CLAIM?


  17       MR. ZELLER: YES, IT IS YOUR HONOR. AND WE HAVE


  18   CITED AUTHORITY ON THAT. THAT GETS INTO A LEGAL ISSUE,


  19   CERTAINLY, AS TO WHAT CLAIMS THE DISCOVERY RULE APPLIES TO. I


  20   CERTAINLY WOULD RECOGNIZE THAT -- AND THIS IS IN THE BRIEFS --


  21   THAT ON AT LEAST A COUPLE OF CLAIMS, THE CASE LAW DOESN'T


  22   APPEAR TO BE UNIFORM.


  23       THE COURT: IT DOESN'T.


  24       MR. ZELLER: BUT CERTAINLY, OUR VIEWPOINT IS THAT YOU


  25   CAN'T HAVE A SITUATION WHERE -- WE THINK THE DISCOVERY RULE



                                                    Unsigned             Page 46
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 47 of 112 Page ID
                                  #:112174




  1    OUGHT TO BE APPLIED TO ALL OF THOSE.


  2          THE COURT: VERY WELL.


  3          MR. RUSSEL?


  4          MR. RUSSELL: LET ME START FIRST WITH -- MR. ZELLER


  5    TELLS YOU THE EVIDENCE IS UNDISPUTED. THAT'S NOT TRUE AT ALL.


  6    WE SHOWED YOUR HONOR THAT MATTEL HAD IN ITS POSSESSION PRODUCED


  7    TO US DOCUMENTS SHOWING THAT IT HAD IN SEPTEMBER THE CITY WORLD


  8    CLAIM. THE CLAIM LISTS AND ATTACHES THE CONTRACT BETWEEN MGA


  9    AND BRYANT.


  10         THE COURT: THEY HAD THE CLAIM. FINE.


  11         DID THEY HAVE THE DOCUMENTS ATTACHED TO THE CLAIM?


  12   THAT'S WHAT IS --


  13         MR. RUSSELL: THAT IS UNCLEAR, YOUR HONOR. THAT IS


  14   UNCLEAR. BUT EVEN IF THEY DIDN'T HAVE IT, THEY CERTAINLY KNEW


  15   FROM THE CITY WORLD CLAIM --


  16         THE COURT: WHAT'S THE EVIDENCE THEY DIDN'T HAVE IT?


  17   I HAVE YOU DECLARATION FROM MR. MOORE SAYING THEY DIDN'T HAVE


  18   IT.


  19         HOW ARE YOU GOING TO RESPOND OR PROVE THE NEGATIVE?


  20         MR. RUSSELL: MR. MOORE ONLY SAYS THAT HE DIDN'T HAVE


  21   THE CONTRACT. HE DOESN'T DISPUTE THAT HE HAD THE COMPLAINT,


  22   THE CITY WORLD CLAIM. THERE IS NO DISPUTE THERE.


  23         THE COURT: WHERE IS THE TIMELINE? THE TIMELINE IS


  24   IN THAT. THE QUESTION IS WHETHER OR NOT HE HAD THAT TIMELINE.


  25         MR. RUSSELL: HE HAD THE TIMELINE. THE CITY WORLD



                                                    Unsigned             Page 47
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 48 of 112 Page ID
                                  #:112175




  1    CLAIM RIGHT IN THE CONTENTS OF THE CLAIM LISTS THE DATE OF THE


  2    CONTRACT, IDENTIFIES THE DRAWINGS, SAYS WHEN THE DRAWINGS WERE


  3    MADE, AND IT SAYS DURING 1998 TO 2000; SO AS OF SEPTEMBER,


  4    ACCORDING TO THEIR OWN DOCUMENTS, NOT DENIED BY MR. MOORE, THEY


  5    HAD POSSESSION OF ALL OF THE INFORMATION THEY NEEDED TO BE ON


  6    INQUIRY NOTICE. NO DISPUTE THERE. THEY HAD THE DOCUMENTS.


  7    THAT'S ALL WE NEED.


  8        NOW, YOU ASKED, YOUR HONOR, ABOUT A COUPLE OF OTHER


  9    POINTS. THE DISCOVERY RULE, WE CITED YOUR HONOR TO EXTENSIVE


  10   CASE LAW AS A MATTER OF LAW DOES NOT APPLY TO THE UNFAIR


  11   COMPETITION CLAIM. I WON'T BORE YOU WITH THE CITES, BUT THEY


  12   ARE IN OUR PAPERS.


  13       THE COURT: I KNOW THEM.


  14       MR. RUSSELL: THE SAME IS TRUE FOR THE CONVERSION


  15   CLAIM; SO FOR THOSE TWO CLAIMS, THERE IS NO DISCOVERY RULE,


  16   THERE IS NO FRAUDULENT CONCEALMENT. CALIFORNIA LAW IS HARSH,


  17   BUT THAT'S THE LAW. THOSE TWO CLAIMS ARE CERTAINLY TIME


  18   BARRED.


  19       THE COURT: ALL RIGHT.


  20       MR. ZELLER? BRIEFLY.


  21       MR. ZELLER: WHAT I WOULD DO IS POINT THE COURT'S


  22   ATTENTION TO -- ITS NOT ONLY MR. MOORE'S DECLARATION; IT'S NOT


  23   ONLY WE PROVIDED THE COURT WITH THE SEPTEMBER FAX THAT SHOWS


  24   THAT IN FACT THOSE MATERIALS WERE NOT IN MATTEL'S POSSESSION.


  25   BUT I WOULD ALSO POINT THE COURT TO THE OCTOBER LETTER THAT IS



                                                   Unsigned              Page 48
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 49 of 112 Page ID
                                  #:112176




  1    PART OF THE RECORD THAT WE SUBMITTED; THAT IS FROM CITY WORLD'S


  2    COUNSEL AFFIRMATIVELY POINTING OUT THAT WE DON'T HAVE THESE


  3    MATERIALS. MATTEL DOES NOT HAVE THOSE MATERIALS, AND THEY ARE


  4    NOT GOING TO GIVE THEM TO US UNTIL THERE IS SOME SORT OF


  5    AGREEMENT THAT'S REACHED. SO THERE'S NOT ONLY THE DECLARATION,


  6    THE FAX, BUT THERE'S CORROBORATION EVEN FROM THE


  7    CORRESPONDENCE; AND THAT IS AN OCTOBER OF 2003 LETTER.


  8        IT WOULD MAKE NO SENSE FOR CITY WORLD TO HAVE


  9    PROVIDED THIS INFORMATION OR FOR MATTEL TO HAVE OBTAINED IT


  10   FROM THE COURT FILE, IF IT COULD HAVE DONE THAT, AND THEN,


  11   NEVERTHELESS, HAVE SOME SORT OF AGREEMENT WITH CITY WORLD TO


  12   GET THE SAME DOCUMENT. LITERALLY, IT'S NOT ONLY SPECULATION


  13   THAT IS BEING POSITED BY MGA, BUT IT'S ONE THAT DOESN'T MAKE


  14   ANY SENSE AND ONE THAT IS COMPLETELY CONTRADICTED BY THE


  15   RECORD.


  16       THE COURT: THANK YOU, COUNSEL.


  17       MR. RUSSELL: YOUR HONOR, AS THE CHRONOLOGY SHOWS, IT


  18   WASN'T JUST THAT THEY GOT THE DOCUMENTS. THEIR CHRONOLOGY


  19   SHOWS, AND IT'S UNDISPUTED FROM THE DEPOSITION OF MS.


  20   SIMPSON-TAYLOR TAKEN BY MR. NOLAN -- THEY ACTUALLY SPOKE TO THE


  21   CITY WORLD ATTORNEY. WE HAVE ADDITIONAL BASIS. FORGET THAT


  22   THEY DIDN'T GET THE DOCUMENTS, WHICH I WANT TO TALK ABOUT


  23   BRIEFLY, BUT ORALLY THEY HAD THE OPPORTUNITIES TO HAVE THE


  24   DISCUSSION.


  25       THE LETTER THAT MR. ZELLER IS REFERRING TO DOES NOT



                                                  Unsigned               Page 49
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 50 of 112 Page ID
                                  #:112177




  1    INDICATE THAT MATTEL WAS NOT IN THE POSSESSION OF THOSE


  2    DOCUMENTS. WHAT IT SAYS IS WE NEED TO HAVE AN ARRANGEMENT


  3    MEMORIALIZING THE TERMS BY WHICH WE'RE GOING TO TURN OVER


  4    ADDITIONAL MATERIALS. IT'S NOT CLEAR AT ALL, AND IT'S


  5    CERTAINLY A TRIABLE ISSUE, AS TO WHETHER OR NOT THEY TOOK


  6    POSSESSION.


  7         BUT I WANT TO MAKE ONE MORE POINT --


  8         THE COURT: YOU SAID THERE WAS ONLY ONE POINT,


  9    COUNSEL.


  10        MR. RUSSELL: ONE MORE POINT. IT'S SHORT, I PROMISE.


  11        AS WE POINT OUT IN OUR ADDITIONAL SUBMISSION, THERE


  12   IS SUBSTANTIAL REASON TO QUESTION THAT MATTEL DID NOT GET THE


  13   CONTRACT. WE POINTED OUT IN OUR PAPERS, THERE WAS A GAP IN THE


  14   INITIAL FAX --


  15        THE COURT: I'VE READ THAT. THANK YOU, COUNSEL.


  16        MR. RUSSELL: THANK YOU, YOUR HONOR.


  17        THE COURT: ALL RIGHT.


  18        THE COURT IS PLANNING TO GIVE A LOT OF GUIDANCE ON


  19   THE STATUTE OF LIMITATIONS ISSUE, AND THE COURT WILL BE ISSUING


  20   ITS OWN ORDER ON THAT. I AM GOING TO ASK COUNSEL TO SUBMIT A


  21   JOINT ORDER ON ALL OF THE OTHER MATTERS THAT WE ADDRESSED THIS


  22   MORNING FOR THE COURT'S REVIEW.


  23        MR. QUINN, IS THERE ANY OTHER MOTION THAT IS


  24   OUTSTANDING THAT WOULD PREJUDICE MATTEL IF THE COURT DOES NOT


  25   RULE ON IT BEFORE OPENING STATEMENTS?



                                                    Unsigned             Page 50
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 51 of 112 Page ID
                                  #:112178




  1        MR. QUINN: NO, YOUR HONOR.


  2        THE COURT: MR. NOLAN, IS THERE ANY OUTSTANDING


  3    MOTION THAT WOULD PREJUDICE MGA IF THE COURT DID NOT RULE ON IT


  4    BEFORE OPENING STATEMENTS?


  5        MR. NOLAN: NO, YOUR HONOR.


  6        THE COURT: VERY WELL.


  7        LET'S BRING THE JURY IN.


  8        MR. QUINN: WELL, YOUR HONOR, THIS COURT HAS MADE


  9    SOME IMPORTANT DETERMINATIONS IN THE SUMMARY ADJUDICATION


  10   STAGE; AND I KNOW THAT THE COURT IS GOING TO PREINSTRUCT THE


  11   JURY, THE COURT HAS INDICATED.


  12       WE WOULD SUBMIT THAT THERE'S NO REASON TO HIDE FROM


  13   THE JURY THAT THIS COURT HAS ALREADY DETERMINED THAT MATTEL


  14   OWNS ANYTHING THAT MR. BRYANT CREATED IN MATTEL'S LINE OF


  15   BUSINESS.


  16       THE COURT: YES, THERE IS, COUNSEL.


  17       IT'S NOT THAT I WANT TO HIDE IT FROM THE JURY.


  18       THIS JURY IS GOING TO BE DETERMINING FACTS, AND THE


  19   COURT IS GOING TO INSTRUCT THEM ON THE LAW THAT THEY NEED TO


  20   KNOW.


  21       YOUR OPENING STATEMENT IS TO BE DEVOTED TO EXPLAINING


  22   TO THE JURY WHAT THE FACTS WILL SHOW. THE COURT WILL INSTRUCT


  23   THEM AT THE END CONCERNING THE LAW.


  24       THERE'S NO REASON TO INSTRUCT THIS JURY THROUGH YOUR


  25   OPENING STATEMENTS ON THE LAW OR WHAT YOU THINK THE LAW IS OR



                                                   Unsigned              Page 51
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 52 of 112 Page ID
                                  #:112179




  1    WHAT THE COURT HAS RULED ON THE LAW; THAT RAISES FAR MORE


  2    PROBLEMS THAN IT SOLVES.


  3         MR. QUINN: UNDERSTOOD, YOUR HONOR.


  4         ONE OTHER QUESTION IN TERMS OF THE COURT'S PREFERENCE


  5    IN OPENING STATEMENTS. THERE ARE ABOUT THREE, NOW, VERY SHORT


  6    PASSAGES OF DEPOSITION TESTIMONY I WOULD PROPOSE TO READ TO THE


  7    JURY, IF THAT'S SATISFACTORY TO THE COURT.


  8         THE COURT: HAVE YOU REVIEWED IT WITH MR. NOLAN?


  9         MR. QUINN: I HAVE PROVIDED THEM TO MR. NOLAN.


  10        THE COURT: VERY WELL.


  11        MR. QUINN: MR. NOLAN IS OF THE VIEW THAT IT WOULD


  12   NOT BE APPROPRIATE TO READ DEPOSITION TESTIMONY. HE BELIEVES


  13   IT'S BETTER TO SUMMARIZE IT.


  14        THESE ARE VERY SHORT. I WOULD PREFER TO READ IT.


  15        THE COURT: IF THERE'S NO EVIDENTIARY OBJECTION AND


  16   IF THE EVIDENCE IS COMING IN -- AND THIS APPLIES ACROSS THE


  17   BOARD, AND I THINK I INDICATED THIS TO BOTH SIDES -- IF IT'S AN


  18   EXHIBIT OR DEPOSITION THAT EITHER SIDE HAS STIPULATED IS COMING


  19   IN, IT MAY BE USED IN OPENING STATEMENTS. IF THERE'S AN


  20   EVIDENTIARY OBJECTION TO IT, IT MAY NOT BE.


  21        MR. QUINN: ALL RIGHT.


  22        THE COURT: DISCUSS THAT AMONG YOURSELVES. I DON'T


  23   NEED TO HEAR IT.


  24        ANYTHING FURTHER, COUNSEL?


  25        VERY WELL. WE'LL TAKE A TEN-MINUTE RECESS AND BRING



                                                      Unsigned           Page 52
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 53 of 112 Page ID
                                  #:112180




  1    THE JURY IN. I'LL GIVE THEM THE PRELIMINARY INSTRUCTIONS, AND


  2    THEN WE'LL HAVE OPENING STATEMENTS.


  3        (WHEREUPON A BRIEF RECESS WAS HELD.)


  4        (WHEREUPON, THE CASE, HAVING BEEN PREVIOUSLY


  5        CALLED AND APPEARANCES GIVEN, PROCEEDED


  6        AS FOLLOWS:)


  7        THE COURT: GOOD MORNING, COUNSEL, AND GOOD MORNING,


  8    MEMBERS OF THE JURY.


  9        I APOLOGIZE FOR THE TARDY START THIS MORNING, BUT


  10   WE'LL CERTAINLY TRY TO GET STARTED RIGHT ON TIME GOING FORWARD.


  11       I'M GOING TO BEGIN WITH SOME VERY PRELIMINARY


  12   INSTRUCTIONS TO YOU THIS MORNING, AND THEN WE'RE GOING TO HEAR


  13   THE OPENING STATEMENTS BY COUNSEL.


  14             JURY INSTRUCTIONS


  15       THE COURT: LADIES AND GENTLEMEN, YOU ARE NOW THE


  16   JURY IN THIS CASE. IT IS MY DUTY TO INSTRUCT YOU ON THE LAW.


  17   THESE INSTRUCTIONS ARE PRELIMINARY INSTRUCTIONS TO HELP YOU


  18   UNDERSTAND THE PRINCIPLES THAT APPLY TO CIVIL TRIALS AND TO


  19   HELP YOU UNDERSTAND THE EVIDENCE AS YOU LISTEN TO IT. YOU WILL


  20   BE ALLOWED TO KEEP THIS SET THROUGHOUT THE TRIAL TO WHICH TO


  21   REFER. THIS SET OF INSTRUCTIONS IS NOT TO BE TAKEN HOME AND


  22   MUST REMAIN IN THE COURTROOM WHEN YOU LEAVE IN THE EVENINGS.


  23       YOU MUST NOT INFER FROM THESE INSTRUCTIONS OR FROM


  24   ANYTHING I MAY SAY OR DO AS INDICATING THAT I HAVE AN OPINION


  25   REGARDING THE EVIDENCE OR WHAT YOUR VERDICT SHOULD BE. IT IS



                                                   Unsigned              Page 53
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 54 of 112 Page ID
                                  #:112181




  1    YOUR DUTY TO FIND THE FACTS FROM ALL OF THE EVIDENCE IN THE


  2    CASE. TO THOSE FACTS YOU WILL APPLY THE LAW AS I GIVE IT TO


  3    YOU. YOU MUST FOLLOW THE LAW AS I GIVE IT TO YOU WHETHER YOU


  4    AGREE WITH IT OR NOT, AND YOU MUST NOT BE INFLUENCED BY ANY


  5    PERSONAL LIKES OR DISLIKES, OPINIONS, PREJUDICES, OR SYMPATHY.


  6    THAT MEANS THAT YOU MUST DECIDE THE CASE SOLELY ON THE EVIDENCE


  7    BEFORE YOU. YOU WILL RECALL THAT YOU TOOK AN OATH TO DO SO


  8    WHEN WE ASSEMBLED YOU LAST WEEK.


  9        IN FOLLOWING MY INSTRUCTIONS, YOU MUST FOLLOW ALL OF


  10   THEM AND NOT SINGLE OUT SOME AND IGNORE OTHERS. THEY ARE ALL


  11   IMPORTANT.


  12       THE EVIDENCE YOU ARE TO CONSIDER IN DECIDING THE


  13   FACTS OF THIS CASE CONSIST OF THE FOLLOWING: ONE, THE SWORN


  14   TESTIMONY OF ANY WITNESS; TWO, THE EXHIBITS WHICH ARE RECEIVED


  15   INTO EVIDENCE; AND, THREE, ANY FACTS TO WHICH THE LAWYERS HAVE


  16   AGREED.


  17       IN REACHING YOUR VERDICT, YOU MAY CONSIDER ONLY THE


  18   TESTIMONY AND EXHIBITS RECEIVED INTO EVIDENCE. CERTAIN THINGS


  19   ARE NOT EVIDENCE, AND YOU MAY NOT CONSIDER THEM IN DECIDING


  20   WHAT THE FACTS ARE. I WILL LIST THEM FOR YOU.


  21       ONE: ARGUMENTS AND STATEMENTS BY LAWYERS ARE NOT


  22   EVIDENCE.


  23       THE LAWYERS ARE NOT WITNESSES. WHAT THEY HAVE SAID


  24   IN THEIR OPENING -- WHAT THEY WILL BE SAYING IN THEIR OPENING


  25   STATEMENTS, WHAT THEY WILL BE SAYING IN THEIR CLOSING ARGUMENTS



                                                   Unsigned              Page 54
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 55 of 112 Page ID
                                  #:112182




  1    AND AT OTHER TIMES IS INTENDED TO HELP YOU INTERPRET THE


  2    EVIDENCE, BUT IT IS NOT EVIDENCE. IF THE FACTS AS YOU REMEMBER


  3    THEM DIFFER FROM THE WAY THE LAWYERS HAVE STATED THEM, YOUR


  4    MEMORY OF THEM CONTROLS.


  5        TWO: QUESTIONS AND OBJECTIONS BY LAWYERS ARE NOT


  6    EVIDENCE.


  7        ATTORNEYS HAVE A DUTY TO THEIR CLIENTS TO OBJECT WHEN


  8    THEY BELIEVE A QUESTION IS IMPROPER UNDER THE RULES OF


  9    EVIDENCE. YOU SHOULD NOT BE INFLUENCED BY THE OBJECTION OR BY


  10   THE COURT'S RULING ON THE OBJECTION.


  11       THREE: TESTIMONY THAT HAS BEEN EXCLUDED OR STRICKEN


  12   OR THAT YOU HAVE BEEN INSTRUCTED TO DISREGARD IS NOT EVIDENCE


  13   AND MUST NOT BE CONSIDERED. IN ADDITION, SOMETIMES TESTIMONY


  14   AND EXHIBITS ARE RECEIVED ONLY FOR A LIMITED PURPOSE. WHEN I


  15   GIVE A LIMITING INSTRUCTION, YOU MUST FOLLOW IT.


  16       AND FOUR: ANYTHING YOU MAY HAVE HEARD OR SEEN WHEN


  17   THE COURT WAS NOT IN SESSION IS NOT EVIDENCE. YOU ARE TO


  18   DECIDE THE CASE SOLELY ON THE EVIDENCE RECEIVED AT TRIAL.


  19       SOME EVIDENCE MAY BE ADMITTED FOR A LIMITED PURPOSE


  20   ONLY. WHEN I INSTRUCT YOU THAT AN ITEM OF EVIDENCE HAS BEEN


  21   ADMITTED FOR A LIMITED PURPOSE, YOU MUST CONSIDER IT ONLY FOR


  22   THAT LIMITED PURPOSE AND FOR NO OTHER.


  23       EVIDENCE MAY BE DIRECT OR CIRCUMSTANTIAL. DIRECT


  24   EVIDENCE IS DIRECT PROOF OF A FACT, SUCH AS TESTIMONY BY A


  25   WITNESS ABOUT WHAT THAT WITNESS PERSONALLY SAW OR HEARD OR DID.



                                                   Unsigned              Page 55
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 56 of 112 Page ID
                                  #:112183




  1    CIRCUMSTANTIAL EVIDENCE IS PROOF OF ONE OR MORE FACTS FROM


  2    WHICH YOU CAN FIND ANOTHER FACT. YOU SHOULD CONSIDER BOTH


  3    KINDS OF EVIDENCE. THE LAW MAKES NO DISTINCTION BETWEEN THE


  4    WEIGHT TO BE GIVEN TO EITHER DIRECT OR CIRCUMSTANTIAL EVIDENCE.


  5    IT IS FOR YOU TO DECIDE HOW MUCH WEIGHT TO GIVE TO ANY


  6    EVIDENCE.


  7        THERE ARE RULES OF EVIDENCE THAT CONTROL WHAT CAN BE


  8    RECEIVED INTO EVIDENCE. WHEN A LAWYER ASKS A QUESTION OR


  9    OFFERS AN EXHIBIT INTO EVIDENCE AND A LAWYER ON THE OTHER SIDE


  10   THINKS THAT IT IS NOT PERMITTED BY THE RULES OF EVIDENCE, THAT


  11   LAWYER MAY OBJECT. IF I OVERRULE THE OBJECTION, THE QUESTION


  12   MAY BE ANSWERED OR THE EXHIBIT RECEIVED. IF I SUSTAIN THE


  13   OBJECTION, THE QUESTION CANNOT BE ANSWERED AND THE EXHIBIT


  14   CANNOT BE RECEIVED. WHENEVER I SUSTAIN AN OBJECTION TO A


  15   QUESTION, YOU MUST IGNORE THE QUESTION AND YOU MUST NOT GUESS


  16   WHAT THE ANSWER MIGHT HAVE BEEN.


  17       SOMETIMES I MAY ORDER THAT EVIDENCE BE STRICKEN FROM


  18   THE RECORD AND THAT YOU DISREGARD OR IGNORE THE EVIDENCE. THAT


  19   MEANS THAT WHEN YOU ARE DECIDING THE CASE, YOU MUST NOT


  20   CONSIDER THE EVIDENCE THAT I TOLD YOU TO DISREGARD.


  21       IN DECIDING THE FACTS IN THIS CASE, YOU MAY HAVE TO


  22   DECIDE WHICH TESTIMONY TO BELIEVE AND WHICH TESTIMONY NOT TO


  23   BELIEVE. YOU MAY BELIEVE EVERYTHING A WITNESS SAYS OR PART OF


  24   IT OR NONE OF IT. PROOF OF A FACT DOES NOT NECESSARILY DEPEND


  25   ON THE NUMBER OF WITNESSES WHO TESTIFY ABOUT IT.



                                                  Unsigned               Page 56
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 57 of 112 Page ID
                                  #:112184




  1        IN CONSIDERING THE TESTIMONY OF ANY WITNESS, YOU MAY


  2    TAKE INTO ACCOUNT THE FOLLOWING: ONE, THE OPPORTUNITY AND


  3    ABILITY OF THE WITNESS TO SEE OR HEAR OR KNOW THE THINGS


  4    TESTIFIED TO; TWO, THE WITNESS'S MEMORY; THREE, THE WITNESS'S


  5    MANNER WHILE TESTIFYING; FOUR, THE WITNESS'S INTEREST IN THE


  6    OUTCOME OF THE CASE AND ANY BIAS OR PREJUDICE; FIVE, WHETHER


  7    OTHER EVIDENCE CONTRADICTED THE WITNESS'S TESTIMONY; SIX, THE


  8    REASONABLENESS OF THE WITNESS'S TESTIMONY IN LIGHT OF ALL OF


  9    THE EVIDENCE; AND SEVEN, ANY OTHER FACTORS THAT BEAR ON


  10   BELIEVABILITY. THE WEIGHT OF THE EVIDENCE AS TO A FACT DOES


  11   NOT NECESSARILY DEPEND ON THE NUMBER OF WITNESSES WHO TESTIFY


  12   ABOUT IT.


  13       NOW I'LL REPEAT THE WORDS THAT I GAVE YOU LAST WEEK


  14   ABOUT YOUR CONDUCT AS JURORS. AND THIS IS VERY IMPORTANT.


  15       FIRST: YOU ARE NOT TO DISCUSS THIS CASE WITH ANYONE,


  16   INCLUDING MEMBERS OF YOUR FAMILY, PEOPLE INVOLVED IN THE TRIAL,


  17   OR ANYONE ELSE. THIS INCLUDES DISCUSSING THE CASE IN INTERNET


  18   CHAT ROOMS OR THROUGH INTERNET BLOGS, INTERNET BULLETIN BOARDS,


  19   OR E-MAILS, NOR ARE YOU ALLOWED TO PERMIT OTHERS TO DISCUSS THE


  20   CASE WITH YOU. IF ANYONE APPROACHES YOU AND TRIES TO TALK TO


  21   YOU ABOUT THE CASE, PLEASE LET ME KNOW ABOUT IT IMMEDIATELY.


  22       SECOND: DO NOT READ OR LISTEN TO ANY NEWS STORIES,


  23   ARTICLES, RADIO, TELEVISION, OR ON-LINE REPORTS ABOUT THE CASE


  24   OR ABOUT ANYONE WHO HAS ANYTHING TO DO WITH THE CASE.


  25       THIRD: DO NOT DO ANY RESEARCH, SUCH AS CONSULTING



                                                 Unsigned                Page 57
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 58 of 112 Page ID
                                  #:112185




  1    DICTIONARIES, SEARCHING THE INTERNET, OR USING OTHER REFERENCE


  2    MATERIALS; AND DO NOT MAKE ANY INVESTIGATION ABOUT THE CASE ON


  3    YOUR OWN.


  4         FOURTH: IF YOU NEED TO COMMUNICATE WITH ME, SIMPLY


  5    GIVE A SIGNED NOTE TO THE COURTROOM DEPUTY TO GIVE TO ME.


  6         AND FIFTH: DO NOT MAKE UP YOUR MIND ABOUT WHAT THE


  7    VERDICT SHOULD BE UNTIL AFTER YOU HAVE GONE TO THE JURY ROOM TO


  8    DECIDE THE CASE AND YOU AND YOUR FELLOW JURORS HAVE DISCUSSED


  9    THE EVIDENCE. KEEP AN OPEN MIND UNTIL THEN.


  10        UNTIL THIS CASE IS GIVEN TO YOU FOR YOUR DELIBERATION


  11   AND VERDICT, YOU ARE NOT TO DISCUSS THE CASE WITH YOUR FELLOW


  12   JURORS.


  13        NOW, DURING DELIBERATIONS, YOU WILL HAVE TO MAKE YOUR


  14   DECISION BASED ON WHAT YOU RECALL OF THE EVIDENCE. AND AS YOU


  15   KNOW, THIS IS GOING TO BE A LONGER TRIAL THAN NORMAL. YOU WILL


  16   NOT HAVE A TRANSCRIPT OF THE TRIAL. I URGE YOU TO PAY CLOSE


  17   ATTENTION TO THE TESTIMONY AS IT IS GIVEN. IF AT ANY TIME YOU


  18   CANNOT HEAR OR SEE THE TESTIMONY, EVIDENCE, QUESTIONS, OR


  19   ARGUMENTS, LET ME KNOW SO THAT I CAN CORRECT THE PROBLEM.


  20        IF ANY OTHER PROBLEM COMES UP THAT YOU WANT TO ALERT


  21   ME TO, IF IT'S TOO COLD OR TOO HOT, ANYTHING AT ALL, AND WE'RE


  22   IN COURT LIKE THIS, JUST RAISE YOUR HAND; OR, IF YOU'RE BACK IN


  23   THE JURY ROOM, SEND A NOTE TO THE COURTROOM DEPUTY.


  24        NOW, IF YOU WISH, YOU MAY TAKE NOTES TO HELP YOU


  25   REMEMBER THE EVIDENCE. IF YOU DO TAKE NOTES, PLEASE KEEP THEM



                                                    Unsigned             Page 58
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 59 of 112 Page ID
                                  #:112186




  1    TO YOURSELF UNTIL YOU AND YOUR FELLOW JURORS GO TO THE JURY


  2    ROOM TO DECIDE THE CASE. DO NOT LET NOTE-TAKING DISTRACT YOU.


  3        WHEN YOU LEAVE, YOUR NOTES SHOULD BE LEFT IN THE


  4    COURTROOM ON YOUR SEAT. NO ONE WILL READ YOUR NOTES. THEY


  5    WILL BE DESTROYED AT THE CONCLUSION OF THE CASE.


  6        WHETHER OR NOT YOU TAKE NOTES, YOU SHOULD RELY ON


  7    YOUR OWN MEMORY OF THE EVIDENCE. NOTES ARE ONLY TO ASSIST YOUR


  8    MEMORY. YOU SHOULD NOT BE OVERLY INFLUENCED BY YOUR NOTES OR


  9    THOSE OF YOUR FELLOW JURORS.


  10       FROM TIME TO TIME DURING THE TRIAL, IT MAY BECOME


  11   NECESSARY FOR ME TO TALK WITH THE ATTORNEYS OUT OF THE HEARING


  12   OF THE JURY, EITHER BY HAVING A CONFERENCE AT THE BENCH WHEN


  13   THE JURY IS PRESENT IN THE COURTROOM OR BY CALLING A RECESS.


  14   PLEASE UNDERSTAND THAT WHILE YOU ARE WAITING, WE ARE WORKING.


  15   THE PURPOSE OF THESE CONFERENCES IS NOT TO KEEP RELEVANT


  16   INFORMATION FROM YOU, BUT TO DECIDE HOW CERTAIN EVIDENCE IS TO


  17   BE TREATED UNDER THE RULES OF EVIDENCE, AND TO AVOID CONFUSION


  18   AND ERROR. OF COURSE, WE WILL DO WHAT WE CAN TO KEEP THE


  19   NUMBER AND LENGTH OF THESE CONFERENCES TO A MINIMUM.


  20       I MAY NOT ALWAYS GRANT AN ATTORNEY'S REQUEST FOR A


  21   CONFERENCE. DO NOT CONSIDER MY GRANTING OR DENYING THE REQUEST


  22   FOR A CONFERENCE AS ANY INDICATION OF MY OPINION OF THE CASE OR


  23   OF WHAT YOUR VERDICT SHOULD BE.


  24       TRIALS PROCEED IN THE FOLLOWING WAY:


  25       FIRST, EACH SIDE MAY MAKE AN OPENING STATEMENT. AN



                                                  Unsigned               Page 59
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 60 of 112 Page ID
                                  #:112187




  1    OPENING STATEMENT IS NOT EVIDENCE. IT IS SIMPLY AN OUTLINE TO


  2    HELP YOU UNDERSTAND WHAT THAT PARTY EXPECTS THE EVIDENCE WILL


  3    SHOW.


  4        A PARTY IS NOT REQUIRED TO MAKE AN OPENING STATEMENT.


  5        THE PLAINTIFF WILL THEN PRESENT EVIDENCE AND COUNSEL


  6    FOR THE DEFENDANT MAY CROSS-EXAMINE. THEN THE DEFENDANT MAY


  7    PRESENT EVIDENCE AND COUNSEL FOR THE PLAINTIFF MAY


  8    CROSS-EXAMINE.


  9        AFTER THE EVIDENCE HAS BEEN PRESENTED, I WILL


  10   INSTRUCT YOU ON THE LAW THAT APPLIES TO THE CASE, AND THE


  11   ATTORNEYS WILL MAKE CLOSING ARGUMENTS.


  12       AFTER THAT, YOU WILL GO TO THE JURY ROOM TO


  13   DELIBERATE ON YOUR VERDICT.


  14       NOW, THERE'S ONE SPECIAL INSTRUCTION THAT I'M GOING


  15   TO GIVE AT THIS TIME CONCERNING THE PARTIES IN THIS CASE.


  16   CARTER BRYANT, AN INDIVIDUAL, WAS PREVIOUSLY A PARTY IN THIS


  17   CASE. CARTER BRYANT FILED SUIT AGAINST MATTEL IN THIS COURT,


  18   AND MATTEL FILED SUIT AGAINST CARTER BRYANT IN THIS COURT.


  19   CARTER BRYANT IS NO LONGER A PARTY TO THIS CASE.


  20       YOU SHOULD NOT INFER ANY ADMISSION OF WRONGDOING OR


  21   LIABILITY FROM THE FACT THAT CARTER BRYANT AND MATTEL HAVE


  22   RESOLVED THEIR CLAIMS, NOR ARE YOU TO SPECULATE AS TO THE TERMS


  23   AND CONDITIONS OF THAT RESOLUTION.


  24       WE'RE NOW GOING TO BEGIN WITH OPENING STATEMENTS.


  25   AFTER MATTEL AND MR. QUINN GIVE THEIR OPENING STATEMENT, WE'LL



                                                  Unsigned               Page 60
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 61 of 112 Page ID
                                  #:112188




  1    BREAK FOR LUNCH, AND THEN WE'LL HEAR FROM MR. NOLAN AND MGA.


  2        AT THIS TIME, COUNSEL, I INVITE YOU TO MAKE YOUR


  3    OPENING STATEMENT.


  4        MR. QUINN: THANK YOU, YOUR HONOR.


  5            OPENING STATEMENT - PLAINTIFF


  6        MR. QUINN: GOOD MORNING, LADIES AND GENTLEMEN. WE


  7    MET LAST WEEK. MY NAME IS JOHN QUINN. YOU ALSO MET


  8    LILY MARTINEZ FROM MATTEL LAST WEEK. ONE PERSON YOU DIDN'T


  9    MEET, BECAUSE HE WASN'T HERE LAST WEEK, IS MY LAW PARTNER,


  10   BILL PRICE, WHO'S GOING TO BE TRYING THIS CASE WITH ME.


  11       ALSO I'D LIKE TO INTRODUCE, IN THE AUDIENCE HERE


  12   TODAY, BOB ECKERT.


  13       BOB, WOULD YOU STAND.


  14       BOB IS THE CHIEF EXECUTIVE OFFICER AND CHAIRMAN OF


  15   THE BOARD OF DIRECTORS OF MATTEL.


  16       I'D BE REMISS IF I DIDN'T ALSO MENTION MY WIFE AND


  17   ONE OF MY FIVE DAUGHTERS, WHO HAVE COME TODAY.


  18       FOLKS, THIS IS A CASE ABOUT TWO TOY COMPANIES. IT'S


  19   ABOUT MATTEL ON THE ONE HAND AND MGA AND ISAAC LARIAN ON THE


  20   OTHER HAND.


  21       THE QUESTION FOR YOU IS GOING TO BE, WHO OWNS CERTAIN


  22   DRAWINGS TO A DOLL?


  23       BEFORE BRATZ, MGA DIDN'T HAVE ANY FASHION DOLLS.


  24   THEY HAD NEVER DONE ONE. IT DIDN'T HAVE A FASHION DOLL DESIGN


  25   DEPARTMENT. IT DIDN'T HAVE ANY FASHION DOLL DESIGNERS IN-HOUSE



                                                   Unsigned              Page 61
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 62 of 112 Page ID
                                  #:112189




  1    AT MGA. AT MGA, THEY THOUGHT THAT THE BEST WAY TO GET A


  2    FASHION DESIGN WAS TO GO OUT AND TAKE ONE. AND THERE WAS A


  3    PERSON AT MGA BY THE NAME OF PAULA GARCIA, WHO WAS HEAD OF


  4    THEIR GIRLS' TOYS DIVISION, WHO USED HER CONTACTS -- SHE WAS A


  5    FORMER MATTEL EMPLOYEE -- AND SHE USED HER CONTACTS TO FIND


  6    SOMEBODY AT MATTEL WHO HAD A FASHION DOLL DESIGN THAT HE WAS


  7    WILLING TO SELL. NOT A FORMER MATTEL DESIGNER, NOT A FORMER


  8    MATTEL DESIGNER, A CURRENT MATTEL DESIGNER.


  9         FOR NEARLY A YEAR, THIS MATTEL FASHION DOLL DESIGNER


  10   HAD BEEN WORKING ON A DESIGN FOR A FASHION DOLL WHICH HE CALLED


  11   "BRATZ."


  12        BUT MGA DID NOT HIRE HIM RIGHT AWAY. THEY WERE


  13   INTERESTED; THEY WANTED HIS DESIGN, BUT THEY DIDN'T HIRE HIM


  14   RIGHT AWAY. THEY WORKED WITH HIM TO POLISH THOSE DESIGNS, ALL


  15   WHILE HE WAS STILL WORKING AT MATTEL. AND THEY USED MATTEL


  16   RESOURCES, AND THEY USED MATTEL EMPLOYEES, WHO UNFORTUNATELY


  17   DIDN'T KNOW, HADN'T BEEN TOLD, THAT THEY WERE HELPING A


  18   COMPETITOR TO POLISH THESE FASHION DOLL DESIGNS.


  19        WHEN THE DESIGNS WERE READY FOR MGA, WHEN THEY WERE


  20   NEARLY DONE, MGA SIGNED A CONTRACT WITH THIS MATTEL FASHION


  21   DOLL DESIGNER, TO PURCHASE HIS RIGHTS TO THIS DESIGN.


  22        NOW, YOU'RE GOING TO HEAR -- AND THE EVIDENCE ON


  23   THIS, REALLY, I DON'T EXPECT TO BE DISPUTED; I DON'T EXPECT IT


  24   TO BE DISPUTED AT ALL, THAT IN THE TOY BUSINESS, IT'S EVERY


  25   COMPANY'S PRACTICE, ESSENTIALLY, TO HAVE WHAT'S CALLED AN



                                                     Unsigned            Page 62
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 63 of 112 Page ID
                                  #:112190




  1    "INVENTIONS AGREEMENT," WHICH PROVIDES THAT IF YOU'RE WORKING


  2    FOR THAT COMPANY AND YOUR JOB IS TO CREATE SOMETHING, THAT


  3    WHILE YOU'RE WORKING FOR THAT COMPANY AND GETTING A PAYCHECK,


  4    ANYTHING THAT YOU CREATE IN THAT COMPANY'S LINE OF BUSINESS IS


  5    OWNED BY THE COMPANY. AND THE REASONS FOR THIS ARE OBVIOUS, I


  6    THINK. OTHERWISE, THE COMPANY WOULDN'T GET THE BENEFIT OF WHAT


  7    THEY WERE PAYING THEIR EMPLOYEES TO DEVELOP.


  8        MGA KNEW, WHEN THEY WERE TALKING TO THIS MATTEL


  9    FASHION DOLL DESIGNER ABOUT ACQUIRING THESE DRAWINGS -- THEY


  10   KNEW THEY WERE DEALING WITH A MATTEL FASHION DOLL DESIGNER;


  11   THEY KNEW THAT HE HAD A CONTRACT; AND THEY WERE CAREFUL, AS YOU


  12   WILL HEAR, THEY WERE CAREFUL TO HIDE THEIR DEALINGS WITH HIM


  13   AND THAT THEY HAD ACQUIRED THESE RIGHTS FROM HIM. BECAUSE THEY


  14   KNEW THAT IF MATTEL EVER LEARNED, IF MATTEL KNEW, THAT THEY HAD


  15   TAKEN THIS FROM A MATTEL FASHION DOLL DESIGNER WHILE HE WAS


  16   WORKING FOR MATTEL, THAT MATTEL WOULD OWN THE RIGHTS TO THOSE


  17   DRAWINGS. SO THEY COVERED IT UP.


  18       NOW, THAT MATTEL FASHION DOLL DESIGNER, AS YOU'VE


  19   HEARD, CARTER BRYANT, IS NO LONGER A PARTY TO THIS CASE, AND HE


  20   NO LONGER HAS ANY RIGHTS TO THOSE DESIGNS. HE SIGNED THEM


  21   AWAY. THE QUESTION FOR YOU ALL IS GOING TO BE, DID HE SIGN


  22   THEM AWAY IN CONNECTION WITH THIS SECRET CONTRACT THAT HE


  23   ENTERED INTO WITH MGA WHILE HE WAS A MATTEL EMPLOYEE, OR HAD HE


  24   AGREED THAT THEY WERE MATTEL'S, IN ACCORDANCE WITH THE


  25   INVENTIONS AGREEMENT THAT HE SIGNED IN HIS MATTEL EMPLOYMENT?



                                                  Unsigned               Page 63
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 64 of 112 Page ID
                                  #:112191




  1        THE BRATZ DOLL CAME OUT. IT WAS AN INCREDIBLE


  2    SUCCESS, AS YOU'LL HEAR. AND FOR NEARLY THREE YEARS, MGA HID


  3    FROM THE WORLD THE IDEA OF WHERE THIS CAME FROM. THEY HID


  4    THEIR INVOLVEMENT WITH CARTER BRYANT.


  5        AT THE END, WORD LEAKED OUT, AND THEY WERE FORCED TO


  6    ADMIT THAT CARTER BRYANT WAS THE AUTHOR OF THESE DRAWINGS.


  7        BUT THEY CAME UP WITH AN EXCUSE THAT YOU'RE GOING TO


  8    HEAR, IT'S THEIR LATEST AND GREATEST EXPLANATION, AND THAT IS,


  9    MR. BRYANT HAD WORKED FOR MATTEL OVER A PERIOD OF SEVERAL


  10   YEARS, AS I'LL SHOW YOU, AND DURING THAT PERIOD OF EMPLOYMENT,


  11   HE HAD A GAP OF EIGHT OR NINE MONTHS WHERE HE DIDN'T WORK FOR


  12   MATTEL. AND HE ACTUALLY LEFT TOWN, WENT BACK TO A SMALL TOWN


  13   IN WESTERN MISSOURI, LIVED WITH HIS PARENTS.


  14       AND THEIR LATEST AND GREATEST EXCUSE NOW IS, THEY'LL


  15   SAY, THE TIME HE WASN'T AT MATTEL, THAT LITTLE WINDOW, THAT'S


  16   WHEN HE CREATED THESE DRAWINGS. THAT'S WHAT THEY SAY, THAT HE


  17   CREATED THEM THEN; DIDN'T DO ANYTHING WITH THEM; PUT THEM IN


  18   THE DRAWER; AND IT WASN'T UNTIL HE WENT BACK TO WORK AT MATTEL


  19   THAT HE TOOK THEM OUT AND DECIDED TO DO SOMETHING WITH THEM.


  20       I WILL PROVE TO YOU, WE WILL PROVE TO YOU, DURING THE


  21   COURSE OF THIS TRIAL, THAT THAT'S NOT TRUE. WE WILL PROVE TO


  22   YOU THAT THESE DRAWINGS WERE CREATED BY CARTER BRYANT WHILE HE


  23   WAS WORKING AT MATTEL, WHILE HE WAS UNDER AN INVENTIONS


  24   AGREEMENT, AND THAT PURSUANT TO THAT AGREEMENT, THOSE DRAWINGS


  25   WERE OWNED BY MATTEL, AND MOREOVER, THAT MGA KNEW THIS AND TOOK



                                                  Unsigned               Page 64
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 65 of 112 Page ID
                                  #:112192




  1    GREAT STEPS TO COVER THAT UP.


  2        MGA NEVER HAD ANY RIGHTS TO THESE DRAWINGS. THEY


  3    SPENT YEARS HIDING THE ORIGINS OF THE BRATZ DRAWINGS. AND BY


  4    THE END OF THE TRIAL, I THINK IT WILL BE CLEAR TO YOU THAT THEY


  5    NEVER HAD ANY RIGHTS, THAT THEY WERE ALWAYS MATTEL'S.


  6        YOU'RE GOING TO HEAR, I THINK, ABOUT THE AMERICAN


  7    DREAM. MR. LARIAN IS AN IMMIGRANT TO THIS COUNTRY. I SUBMIT,


  8    THE AMERICAN DREAM HAS NOTHING TO DO WITH THIS TYPE OF


  9    MISREPRESENTATION, INAPPROPRIATE CONDUCT, AND CONCEALMENT.


  10       SO THAT, IN AN OVERVIEW, IS WHAT WE WILL PROVE TO


  11   YOU, LADIES AND GENTLEMEN.


  12       NOW LET ME GO INTO THE EVIDENCE THAT YOU'LL HEAR IN A


  13   LITTLE MORE DETAIL. LET ME TELL YOU A LITTLE BIT ABOUT THE TWO


  14   COMPANIES INVOLVED IN THIS LAWSUIT.


  15       IN JURY SELECTION, I THINK JUST ABOUT EVERYBODY HAD


  16   HEARD OF MATTEL. MATTEL WAS FOUNDED BY RUTH AND ELLIOTT


  17   HANDLER AND AN ELLIOTT MATSON. BY THE WAY, THAT'S WHERE THE


  18   NAME COMES FROM, MATSON ELLIOTT, MATTEL. IT WAS FOUNDED BACK


  19   IN 1945, AND AFTER THE SECOND WORLD WAR, THE COMPANY FLOURISHED


  20   AND BECAME RENOWNED AROUND THE WORLD FOR ITS INNOVATIVE TOY


  21   DESIGNS. SOME OF THE MOST FAMOUS TOY BRANDS IN THE WORLD:


  22   BARBIE, OF COURSE; HOT WHEELS; FISHER PRICE; MATCH BOX TOYS.


  23   SOME OF THE BEST KNOWN TOY BRANDS IN THE WORLD ARE MATTEL


  24   BRAND.


  25       OF COURSE, BARBIE IS PERHAPS THE BEST KNOWN. AND



                                                   Unsigned              Page 65
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 66 of 112 Page ID
                                  #:112193




  1    YOU'RE GOING TO HEAR THIS TERM "FASHION DOLL." BARBIE WAS THE


  2    FIRST FASHION DOLL. THAT'S WHAT IT'S CALLED IN THE TOY


  3    INDUSTRY, THE IDEA OF A FASHION DOLL. AND WHAT A FASHION DOLL


  4    IS, IT'S A DOLL WHERE CHILDREN CAN -- IT'S GOT AN EMPHASIS ON A


  5    KIND OF PLAY, WITH HAIR AND CLOTHES. AND BARBIE WAS THE FIRST


  6    FASHION DOLL. AND IT HAS BEEN A WONDERFUL SUCCESS, THE LEADING


  7    FASHION DOLL, FOR DECADES.


  8         NOW, MATTEL'S SUCCESS, IT JUST DOESN'T HAPPEN. IT


  9    REQUIRES CONSTANT INNOVATION. MATTEL INTRODUCES THOUSANDS OF


  10   NEW TOYS EVERY YEAR. OVER HALF OF THE TOYS THAT MATTEL SELLS


  11   ARE NEW EVERY YEAR. THESE TOYS ARE THE RESULT OF MILLIONS OF


  12   DOLLARS THAT ARE SPENT IN DEVELOPMENT, IN DEVELOPING THE TOYS.


  13   THEY ARE DREAMED UP BY HIGHLY TALENTED, SKILLED ARTISTS, LIKE


  14   LILY MARTINEZ, THAT WORK IN A DESIGN CENTER THAT'S IN


  15   EL SEGUNDO, CALIFORNIA, OUT NEAR L.A.X. IT'S A 180,000-SQUARE


  16   FOOT FACILITY. THERE ARE HUNDREDS OF DESIGNERS WHO WORK THERE,


  17   AND THEY WORK TOGETHER IN A COLLABORATIVE FASHION. THEY HAVE


  18   TO. THEY HAVE DIFFERENT SKILLS AND TALENTS. THEY CAN'T HIDE


  19   THINGS FROM EACH OTHER. THEY CAN'T HIDE IDEAS FROM EACH OTHER.


  20   DO YOU SEE? THEY HAVE TO WORK TOGETHER. THEY WORK IN TEAMS,


  21   AS LILY MARTINEZ WILL TELL YOU, BECAUSE THE PROCESS OF


  22   DEVELOPING NEW TOYS ISN'T SIMPLE. IT REQUIRES DIFFERENT


  23   DISCIPLINES.


  24        BUT IT ALL BEGINS WITH A DRAWING, AN IDEA, THAT


  25   SOMEBODY HAS THAT THEY PUT DOWN ON PAPER. AND DECISIONS ARE



                                                    Unsigned             Page 66
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 67 of 112 Page ID
                                  #:112194




  1    MADE THEN BASED ON THAT DRAWING. THE DRAWING ILLUSTRATES THE


  2    AESTHETIC OF THE DOLL, WHAT THE IDEA OF IT IS, WHAT THE DYNAMIC


  3    WITH THE CHILD MIGHT BE. AND THESE FOLKS IN THE DESIGN CENTER


  4    WORK TOGETHER TO DEVELOP THESE IDEAS. AND IT'S A


  5    COLLABORATIVE, AS I SAID, IT'S A COLLABORATIVE EFFORT, THAT


  6    REQUIRES TRUST.


  7        INNOVATION, THESE TYPES OF DESIGNS, WHICH ARE


  8    SOMETIMES CALLED "INTELLECTUAL PROPERTY," IS THE LIFEBLOOD OF


  9    MATTEL'S BUSINESS. MATTEL COULDN'T BE WHERE IT IS, PRODUCING


  10   THOUSANDS OF NEW TOYS EVERY YEAR, WITHOUT THE HEART AND


  11   DETERMINATION OF ITS DESIGNERS, AND WITHOUT THEIR ABILITY TO


  12   WORK TOGETHER AND TO COLLABORATE AND TO TRUST EACH OTHER.


  13       NOW, OBVIOUSLY, IT WOULDN'T MAKE SENSE FOR A TOY


  14   COMPANY TO EMPLOY PEOPLE AND HAVE THIS KIND OF MULTI-MILLION


  15   DOLLAR INVESTMENT WITHOUT HAVING SOME AGREEMENT WITH THE


  16   EMPLOYEES WHICH MADE SURE THAT WHATEVER WAS CREATED, THE


  17   COMPANY OWNS. AND THAT'S WHY WE HAVE THESE INVENTIONS


  18   AGREEMENTS.


  19       AND MR. BRYANT SIGNED ONE OF THOSE INVENTIONS


  20   AGREEMENTS IN JANUARY 1999. WE'LL COME TO A TIMELINE LATER ON,


  21   BUT THAT'S WHEN HE CAME BACK TO WORK. ACTUALLY, THERE WERE TWO


  22   STINTS AT MATTEL, WITH A FEW MONTHS GAP IN-BETWEEN. HE SIGNED


  23   ONE AT THE BEGINNING OF THE FIRST STINT, AND HE SIGNED ONE AT


  24   THE BEGINNING OF THE SECOND STINT. STANDARD IN THE INDUSTRY.


  25   MGA HAS THOSE KINDS OF INVENTIONS AGREEMENTS ALSO THAT THEIR



                                                   Unsigned              Page 67
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 68 of 112 Page ID
                                  #:112195




  1    EMPLOYEES SIGN, AS I WILL SHOW YOU.


  2        SO THAT'S MATTEL.


  3        WHAT IS MGA?


  4        MGA IS ALSO A TOY COMPANY. HISTORICALLY, FRANKLY,


  5    THEY HAD NOT BEEN VERY SUCCESSFUL IN DEVELOPING NEW PRODUCTS.


  6    THE COMPANY WAS FOUNDED BY ISAAC LARIAN AND HIS BROTHER


  7    FARHAD LARIAN. AND THERE'S ACTUALLY KIND OF A DISAGREEMENT


  8    BETWEEN THE TWO OF THEM, THE BROTHERS, AS TO WHERE THE MONEY


  9    CAME FROM TO START THE COMPANY. MR. ISAAC LARIAN SAYS HE CAME


  10   TO THIS COUNTRY FROM IRAN; HE ONLY HAD $750 IN HIS POCKET AND


  11   THAT REALLY HE CAME UP WITH THE SEED MONEY TO START THE


  12   COMPANY. FARHAD LARIAN SAID THAT THEIR WEALTHY PARENTS OVER IN


  13   IRAN PROVIDED THEM WITH THE MONEY TO START THE COMPANY; SO WE


  14   HAVE TWO DIFFERENT ACCOUNTS.


  15       BEFORE 2001, MGA WAS PRIMARILY KNOWN FOR PRODUCING


  16   INEXPENSIVE, SHALL WE SAY, ELECTRONIC TOYS THAT WERE MADE IN


  17   THE FAR EAST. AND THEY HAD HAD SOME PROBLEMS. IN 1997, THEY


  18   HAD GONE THROUGH A BANKRUPTCY AT MGA, WHICH SOMETIMES HAPPENS


  19   TO COMPANIES. BUT IN 2000, THE TIME PERIOD WE'RE TALKING


  20   ABOUT, MGA DID NOT HAVE ANY TYPE OF FASHION DOLL DESIGN CENTER;


  21   IT DID NOT HAVE FASHION DOLL DESIGNERS TO SPEAK OF IN-HOUSE,


  22   AND IT DID NOT HAVE ANY FASHION DOLL PRODUCT. IN FACT, MGA HAD


  23   NEVER SOLD, OR HAD NEVER DEVELOPED AND SOLD, A FASHION DOLL


  24   PRODUCT.


  25       BUT IN 2001, MGA WENT FROM BEING A SELLER OF



                                                  Unsigned               Page 68
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 69 of 112 Page ID
                                  #:112196




  1    INEXPENSIVE ELECTRONIC TOYS FROM THE FAR EAST, OVERNIGHT, TO


  2    BEING ONE OF THE MOST SUCCESSFUL INNOVATIVE TOY COMPANIES IN


  3    THE WORLD BECAUSE THEY INTRODUCED THIS BRATZ FASHION DOLL,


  4    WHICH WAS AN INSTANT HUGE SUCCESS.


  5        THEY SHOWED THIS DOLL FOR THE FIRST TIME AT THE


  6    HONG KONG TOY FAIR. LET ME TELL YOU WHAT A TOY FAIR IS. TOY


  7    FAIRS HAPPEN AROUND THE WORLD IN DIFFERENCE PLACES. AND THAT'S


  8    WHERE TOY MANUFACTURERS CAN COME AND SHOW THEIR NEW TOYS FOR


  9    THE NEXT SEASON, AND BUYERS CAN COME -- I IMAGINE WAL-MART OR


  10   TOYS-R-US OR OTHERS -- PEOPLE CAN COME AND SEE WHAT THE


  11   OFFERINGS ARE, WHAT THE NEW TOYS ARE GOING TO BE.


  12       AND IN JANUARY OF 2001, IN THE HONG KONG TOY FAIR,


  13   MGA INTRODUCED AND SHOWED FOR THE FIRST TIME THIS BRATZ DOLL.


  14   IT WAS A MULTI-ETHNIC DOLL, WITH OVERSIZED FEET, OVERSIZED


  15   HEAD, OVERSIZED EYES, LARGE LIPS. THIS WAS A DIFFERENT LOOK TO


  16   THE DOLL. A MONTH LATER, THEY SHOWED THE SAME DOLL IN


  17   NEW YORK, AT THE NEW YORK TOY FAIR. AND IN JUNE OF 2001, SIX


  18   MONTHS AFTER IT HAD FIRST BEEN SHOWN IN THE TOY FAIR IN


  19   HONG KONG, THEY SOLD IT FOR THE FIRST TIME. THEY INTRODUCED


  20   IT, ACTUALLY, IN THE MARKETPLACE IN EUROPE.


  21       AND AS I SAID, IT WAS AN EXTRAORDINARY SUCCESS,


  22   OVERNIGHT.


  23       HOW? HOW DID THIS HAPPEN? HOW DID A COMPANY THAT


  24   HAD SORT OF MIXED RESULTS IN THE MARKETPLACE WITH OTHER TOY


  25   PRODUCTS SUDDENLY OVERNIGHT BECOME ONE OF THE MOST INNOVATIVE



                                                     Unsigned            Page 69
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 70 of 112 Page ID
                                  #:112197




  1    TOY COMPANIES IN THE WORLD? SUDDENLY, THEY'VE GOT A FASHION


  2    DOLL THAT'S SUCH A HUGE, SENSATIONAL HIT. HOW DID THIS HAPPEN?


  3         SIMPLE. THEY TOOK THE DESIGN, THEY TOOK THE


  4    DRAWINGS, FROM A MATTEL DESIGNER. THAT'S WHAT THE EVIDENCE


  5    WILL BE IN THIS CASE.


  6         NOW, GETTING TO THAT POINT, GETTING TO THE TRUTH IN


  7    THIS CASE, IS LIKE PEELING AN ONION. YOU PEEL IT BACK AND GET


  8    FURTHER AND FURTHER, THE DIFFERENT STORIES AND ACCOUNTS. AND


  9    FOR THE REST OF MY OPENING STATEMENT HERE TO YOU TODAY, WHEN I


  10   DESCRIBE WHAT THE EVIDENCE IS GOING TO BE, I'M GOING TO START


  11   ON THE OUTSIDE, THE SKIN OF THE ONION, AND PEEL IT AWAY ONE AT


  12   A TIME. SO I'M GOING TO SHARE WITH YOU NOW THE DIFFERENT


  13   ACCOUNTS OF WHAT YOU'RE GOING TO HEAR ABOUT WHERE THE BRATZ


  14   DRAWINGS CAME FROM.


  15        BUT IT'S VERY, VERY IMPORTANT -- THERE'S ONE DATE I


  16   WOULD HOPE THAT YOU COULD REMEMBER, AND THAT'S OCTOBER 19,


  17   2000. UNTIL THAT DATE, OCTOBER 19, 2000, CARTER BRYANT WAS A


  18   MATTEL EMPLOYEE, WORKING AT ITS DESIGN CENTER IN EL SEGUNDO,


  19   WORKING UNDER AN INVENTIONS AGREEMENT. OCTOBER 19, 2000.


  20        AND I'M GOING TO BE TALKING TO YOU ABOUT EVERYTHING


  21   THAT HE DID AND EVERYTHING THAT MGA DID WITH THESE DRAWINGS AND


  22   TO CREATE THESE DRAWINGS PRIOR TO THAT DATE, WHILE MR. BRYANT


  23   IS STILL A MATTEL EMPLOYEE.


  24        LET'S BEGIN WITH THE LAYER OF THE ONION, MR. BRYANT'S


  25   STORY, HIS ACCOUNT. AND WE KNOW WHAT MR. BRYANT'S ACCOUNT IS,



                                                    Unsigned             Page 70
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 71 of 112 Page ID
                                  #:112198




  1    BECAUSE BEFORE TRIAL, THERE'S SOMETHING -- I'M SURE MANY OF YOU


  2    KNOW WHAT'S CALLED A "DEPOSITION," WHERE OUR EMPLOYEES GET


  3    DEPOSED, MGA'S EMPLOYEES GET DEPOSED, AND YOU HAVE A CHANCE TO


  4    ASK QUESTIONS UNDER OATH OF WITNESSES. AND THAT WAS DONE WITH


  5    MR. BRYANT.


  6        AND ACCORDING TO MR. BRYANT, HERE'S HIS ACCOUNT, HIS


  7    LAYER OF THE ONION: HE ACKNOWLEDGES IT WAS WHILE HE WAS STILL


  8    A MATTEL DOLL DESIGNER WITH A CONTRACT. HE HAD SOME DRAWINGS


  9    OF A DOLL WHICH HE CALLED "BRATZ" THAT HE WANTED TO SELL. SO


  10   HE APPROACHED A WOMAN BY THE NAME OF VERONICA MARLOW, ANOTHER


  11   NAME YOU'RE GOING TO HEAR OF A LOT.


  12       NOW, VERONICA MARLOW WAS A FORMER MATTEL EMPLOYEE WHO


  13   WAS DOING SOME WORK NOW, AT THAT TIME, WITH MGA. MR. BRYANT


  14   SAYS HE APPROACHED VERONICA MARLOW IN JULY OF 2000, SHOWED HER


  15   THE DRAWINGS. AND MS. MARLOW, ACCORDING TO HIM, SAID, 'WELL,


  16   MGA MIGHT BE INTERESTED IN THIS. LET'S SET UP A MEETING.'


  17   THEY SET UP A MEETING AT MGA, WHERE MR. BRYANT, ACCORDING TO


  18   HIM, MET WITH A WOMAN BY THE NAME OF PAULA GARCIA, ANOTHER


  19   FORMER MATTEL EMPLOYEE, NOW WORKING FOR MGA. SHE WAS AN MGA


  20   PRODUCT MANAGER AT THE TIME. VERONICA MARLOW SET UP A MEETING


  21   AT MGA WITH PAULA GARCIA AND VICTORIA O'CONNOR, WHO WAS MGA'S


  22   DIRECTOR OF LICENSING. THIS IS IN LATE AUGUST OF 2000,


  23   ACCORDING TO MR. BRYANT.


  24       AND AT THAT MEETING, HE SAYS HE SHOWED THEM HIS BRATZ


  25   DRAWINGS; HE SHOWED THEM THE BRATZ DRAWINGS. AND ACCORDING TO



                                                   Unsigned              Page 71
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 72 of 112 Page ID
                                  #:112199




  1    HIM, THAT WAS FOLLOWED BY A SECOND MEETING WITH ESSENTIALLY THE


  2    SAME PEOPLE, BUT MR. LARIAN, ISAAC LARIAN, ALSO ATTENDED THAT


  3    MEETING. AND THAT'S WHEN MR. LARIAN CLAIMS TO HAVE FIRST SEEN


  4    THE DRAWINGS FOR THE BRATZ DOLL.


  5        NOW, FOLKS, WE DON'T KNOW WHEN MR. BRYANT FIRST


  6    CONTACTED MGA. WE DO KNOW THAT HIS BROTHER, MR. LARIAN'S


  7    BROTHER, FARHAD LARIAN, IN A LAWSUIT THAT HE HAD --


  8    FARHAD LARIAN HAD A LAWSUIT WITH ISAAC LARIAN -- AND


  9    FARHAD LARIAN, IN THAT LAWSUIT, SAID THAT THE BRATZ DEVELOPMENT


  10   BEGAN BY EARLY 2000.


  11       I'M PUTTING UP ON THE SCREEN A STATEMENT UNDER OATH


  12   FROM THAT LAWSUIT THAT FARHAD LARIAN FILED AGAINST


  13   ISAAC LARIAN, WHERE HE SAID, "IN AND ABOUT 2000, ISAAC CALLED A


  14   MEETING TO DISCUSS THE NEW BRATZ PRODUCT LINE WITH SELECTED


  15   INDIVIDUALS AT THE COMPANY."


  16       ANOTHER MGA EMPLOYEE, A JENNIFER MAURUS -- YOU'RE


  17   GOING TO HEAR HER TESTIMONY -- SHE SAYS THAT AS EARLY AS JUNE


  18   2000, THEY FIRST SAW THE BRATZ DRAWINGS, OR WERE WORKING ON THE


  19   BRATZ DRAWINGS.


  20       IN A WAY, WHETHER IT'S JANUARY OR WHETHER IT'S JUNE,


  21   IT DOESN'T REALLY MATTER, BECAUSE IT'S UNDISPUTED THAT AT THE


  22   TIME MR. BRYANT IS GOING OVER THERE, HE'S STILL A MATTEL


  23   EMPLOYEE, HE STILL HAS ONE OF THESE INVENTIONS AGREEMENTS, AND


  24   MGA KNEW THAT.


  25       LET ME TURN TO THAT POINT NOW.



                                                   Unsigned              Page 72
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 73 of 112 Page ID
                                  #:112200




  1        MGA KNEW, WHEN IT WAS DEALING WITH A MATTEL DOLL


  2    DESIGNER, IT KNEW IT WAS DEALING WITH SOMEBODY WHO HAD A


  3    CONTRACT THAT SAID DESIGNS HE CREATES IN HIS EMPLOYMENT ARE


  4    OWNED BY MATTEL.


  5        BOTH MR. BRYANT AND MR. ISAAC LARIAN TESTIFIED THAT


  6    MGA KNEW THAT CARTER BRYANT WORKED FOR MATTEL WHEN HE CAME AND


  7    BROUGHT THE DRAWINGS; MGA KNEW THAT MR. BRYANT HAD AN


  8    AGREEMENT. HOW DO WE KNOW THIS? MGA AGREES, THIS IS STANDARD


  9    INDUSTRY PRACTICE; ALL TOY COMPANIES HAVE IT.


  10       LET'S TAKE A LOOK AT MR. BRYANT'S AGREEMENT, HIS


  11   INVENTIONS AGREEMENT, WITH MATTEL, WHICH I'VE BEEN TELLING YOU


  12   ABOUT. IT'S UP ON THE SCREEN NOW, ITS "OWNERSHIP OF


  13   INVENTIONS."


  14       THE AGREEMENT SAYS, "I AGREE TO COMMUNICATE TO THE


  15   COMPANY, AS PROMPTLY AND FULLY AS PRACTICAL, ALL INVENTIONS, AS


  16   DEFINED, CONCEIVED OR REDUCED TO PRACTICE BY ME ALONE OR


  17   JOINTLY BY OTHERS AT ANY TIME DURING MY EMPLOYMENT. I HEREBY


  18   ASSIGN TO THE COMPANY" -- THAT'S MATTEL -- "OR ITS NOMINEES,


  19   ALL OF MY RIGHT, TITLE, AND INTEREST IN SUCH INVENTIONS, AND


  20   ALL OF MY RIGHT, TITLE, AND INTEREST IN ANY PATENTS,


  21   COPYRIGHTS, PATENT APPLICATIONS, OR COPYRIGHT APPLICATIONS


  22   BASED THEREON."


  23       AND THEN THERE'S A DEFINITION OF WHAT'S AN INVENTION


  24   FOR THIS PURPOSE. YOU CAN SEE IT'S VERY BROAD. "INVENTIONS


  25   INCLUDE BUT IS NOT LIMITED TO ALL DISCOVERIES, IMPROVEMENTS,



                                                   Unsigned              Page 73
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 74 of 112 Page ID
                                  #:112201




  1    PROCESSES, DEVELOPMENTS, DESIGNS, KNOW-HOW, DATA, COMPUTER


  2    PROGRAMS, AND FORMULAE."


  3        CLEARLY BROAD ENOUGH TO INCLUDE THE DRAWINGS.


  4        I DON'T THINK MGA IS GOING TO DISPUTE THAT, THAT THE


  5    DRAWINGS WERE COVERED BY THIS INVENTIONS AGREEMENT. AND THEN,


  6    I WON'T BOTHER TO READ IT, BUT THERE'S ALSO A CONFLICTS OF


  7    INTEREST PROVISION, PURSUANT TO WHICH HE AGREES TO AVOID


  8    CONFLICTS OF INTEREST. AND ELSEWHERE, HE AGREES THAT IF HE


  9    DEVELOPS ANY CONFLICTS, HE'LL INFORM THE COMPANY.


  10       BUT, FOLKS, IT'S REALLY PRETTY SIMPLE. HE AGREES,


  11   ANYTHING HE COMES UP WITH, IN MATTEL'S LINE OF WORK, THE


  12   COMPANY OWNS IT.


  13       NOW, LET'S TAKE A LOOK AT MGA'S AGREEMENT. I TOLD


  14   YOU, MGA ALSO -- THEY DO THE SAME THING WITH THEIR EMPLOYEES.


  15   AND WHAT I PUT UP ON THE SCREEN NOW IS THE LANGUAGE FROM THE


  16   MGA AGREEMENT, THE AGREEMENT THAT MGA HAD IN EFFECT IN


  17   AUGUST 2000, WHICH IS THE TIME PERIOD WHEN, ACCORDING TO


  18   MR. BRYANT, HE FIRST WENT TO MGA.


  19       AND YOU CAN SEE, THE LANGUAGE IS NOT VERY DIFFERENT.


  20   IT SAYS, "EMPLOYEE AGREES TO ASSIGN, AND DOES HEREBY ASSIGN TO


  21   THE COMPANY, ALL INTERESTS WHICH THE EMPLOYEE MAY HAVE IN ALL


  22   PATENTABLE AND/OR NONPATENTABLE IDEAS OR INVENTIONS, MADE OR


  23   CONCEIVED BY EMPLOYEES, SOLELY OR JOINTLY WITH OTHERS, DURING


  24   THE EMPLOYEE'S EMPLOYMENT WITH THE COMPANY." IT SAYS IT


  25   DOESN'T COVER THINGS THAT ARE JUST PURELY ON YOUR OWN TIME AND



                                                  Unsigned               Page 74
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 75 of 112 Page ID
                                  #:112202




  1    EQUIPMENT, UNLESS THE INVENTION OR IDEA RELATES TO THE BUSINESS


  2    OF THE COMPANY, UNLESS IT'S A TOY, IN THE CASE OF MGA, OR IT


  3    RESULTS FROM ANY WORK PERFORMED BY THE EMPLOYEE OF THE COMPANY.


  4        AND THEY SIMILARLY HAVE A DISCLOSURE PROVISION, JUST


  5    LIKE MATTEL, THAT YOU'VE GOT TO DISCLOSE INVENTIONS DEVELOPED


  6    SOLELY OR JOINTLY; SO VERY SIMILAR, MGA AND MATTEL, IN THESE


  7    AGREEMENTS.


  8        SO MGA KNEW AT THE TIME THEY WERE TALKING WITH


  9    MR. BRYANT THAT HE HAD A CONTRACT WHICH ENTITLED MATTEL TO HIS


  10   DESIGNS. BUT WE'RE NOT JUST TALKING ABOUT A HANDFUL OF


  11   DRAWINGS. THERE WERE MANY DRAWINGS. AND ACTUALLY, IT TOOK


  12   SOME STEPS BEYOND DRAWINGS. WHILE CARTER BRYANT WAS WORKING


  13   FOR MATTEL, THE DEVELOPMENT WENT BEYOND DRAWINGS. AS EARLY AS


  14   JUNE OF 2000, MR. BRYANT, WORKING INSIDE MATTEL, BEGAN,


  15   ACTUALLY, TO TAKE STEPS TO START PREPARING TO MAKE A DOLL.


  16       THERE'S A WOMAN BY THE NAME OF ANNA RHEE, AND SHE WAS


  17   A VENDOR, A MATTEL VENDOR, AT MATTEL'S DESIGN CENTER. AND SHE


  18   HAS TESTIFIED THAT IN JUNE 2000, MR. BRYANT HIRED HER TO


  19   ACTUALLY DO FACE PAINTING ON BRATZ DOLLS, JUNE OF 2000 -- THIS


  20   IS MONTHS BEFORE HE LEFT HIS EMPLOYMENT AT MATTEL -- AND THAT


  21   HE HAD HER USE THE CODE NAME "ANGEL" RATHER THAN "BRATZ."


  22       THIS IS A JUNE 12, 2000 INVOICE, FROM MS. RHEE TO


  23   MGA, AND YOU CAN SEE THE NAME "ANGEL" THERE.


  24       NOW, MGA AND ANNA RHEE ACTUALLY ENTERED INTO A


  25   WRITTEN AGREEMENT REGARDING HER WORK ON THE BRATZ DOLLS. THAT



                                                    Unsigned             Page 75
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 76 of 112 Page ID
                                  #:112203




  1    AGREEMENT RECITES THAT THE PARTIES ORIGINALLY ENTERED INTO


  2    THEIR AGREEMENT ON DECEMBER 1, 1999, ALMOST A YEAR BEFORE


  3    BRYANT LEFT MATTEL. HERE'S THE AGREEMENT, AND IT'S DATED


  4    DECEMBER 1, 1999, BETWEEN MGA AND ANNA RHEE. AND YOU CAN SEE


  5    THERE, IT SAYS, "WHEREAS MGA HAS RETAINED, AND CONTINUES TO


  6    RETAIN, ANNA RHEE TO PERFORM SERVICES ON ONE OR MORE PROJECTS


  7    RELATING TO THE BRATZ PROPERTY FOR MGA," REFERENCING CLEAR BACK


  8    IN DECEMBER 1999.


  9        BUT THAT'S NOT ALL.


  10       PAULA GARCIA, WHO BECAME MGA'S PROJECT MANAGER ON


  11   BRATZ, INFORMED MGA'S TRADEMARK COUNSEL IN DECEMBER 2000 THAT


  12   MGA WAS USING THE NAME "BRATZ" AT LEAST AS EARLY AS JUNE 15,


  13   2000. THIS IS A MEMORANDUM FROM MGA'S TRADEMARK COUNSEL TO


  14   MS. GARCIA. AND THEY'VE PREPARED THE TRADEMARK APPLICATIONS


  15   AND INDICATE THIS RELATES TO THE NAME "BRATZ." AND IT SAYS THE


  16   APPLICATIONS HAVE A DATE OF FIRST USE OF JUNE 15, 2000.


  17       YOU CAN ACTUALLY GO TO THE DOCKET IN THE PATENT AND


  18   TRADEMARK OFFICE IN WASHINGTON, D.C., AND YOU CAN SEE THAT MGA


  19   THERE FILED A TRADEMARK FOR BRATZ. IT SAYS DATES OF FIRST USE,


  20   JUNE 15, 2000; LONG BEFORE, LONG BEFORE MR. BRYANT HAS LEFT


  21   MATTEL.


  22       THERE'S MORE EVIDENCE.


  23       THERE'S EVIDENCE THAT MR. BRYANT ASKED SOME OF HIS


  24   MATTEL CO-WORKERS TO DO HIM FAVORS -- HE CALLED THEM 'FAVORS,'


  25   'DO ME A FAVOR' -- AND HE ASKED THEM TO WORK ON A PROJECT,



                                                   Unsigned              Page 76
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 77 of 112 Page ID
                                  #:112204




  1    WHICH HE DIDN'T TELL THEM WHAT IT WAS. HE DIDN'T TELL THEM


  2    THAT HE WAS ACTUALLY GETTING THEIR HELP AS A FAVOR TO WORK ON A


  3    PROJECT FOR A COMPETITOR.


  4        YOU'LL HEAR FROM ANOTHER FACE PAINTER BY THE NAME OF


  5    SHEILA KYAW AND A HAIR DESIGNER NAMED CARMEN MONTEAGUDO, WHO,


  6    WITHOUT THEIR KNOWLEDGE, HE ENLISTED THEIR HELP ON THIS


  7    PROJECT, SAYING IT WAS JUST A FAVOR. YOU'LL HEAR THEIR


  8    TESTIMONY.


  9        HERE'S A CHECK THAT MR. BRYANT WROTE TO SHEILA KYAW,


  10   MATTEL EMPLOYEE, ON AUGUST 25, 2000, FOR WORK THAT HE ASKED HER


  11   TO DO. IT WAS ON BRATZ. SHE DIDN'T KNOW IT.


  12       AFTER THE TRUTH CAME OUT, AS YOU'RE GOING TO HEAR,


  13   MATTEL FOUND OUT ACTUALLY THAT THERE WERE MANY, MANY TELEPHONE


  14   CALLS AND FAXES THAT MR. BRYANT SENT FROM THE DESIGN CENTER


  15   OVER TO MGA BEFORE HE EVER LEFT MATTEL.


  16       HE CONTACTED A MATTEL HAIR VENDOR, GETTING HAIR


  17   TOGETHER FOR THE DOLL, IN SEPTEMBER OF 2000, AND CONTACTED THIS


  18   VENDOR AND SAID HE WAS ALREADY WITH MGA. SEPTEMBER 18, 2000,


  19   HE'S ORDERING A SUPPLY OF HAIR. HE SAYS, 'THE COMPANY I'M


  20   WORKING WITH IS CALLED MGA ENTERTAINMENT.' AT THIS TIME, HE'S


  21   STILL EMPLOYED BY MATTEL; HE'S STILL UNDER A MATTEL INVENTIONS


  22   AGREEMENT.


  23       ONE MGA VENDOR SUBMITTED BILLS TO MGA FOR 169 HOURS


  24   OF WORK ON BRATZ WHILE MR. BRYANT WAS STILL EMPLOYED BY MATTEL.


  25       OH, AND THE PEOPLE DOING THAT WORK, LADIES AND



                                                     Unsigned            Page 77
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 78 of 112 Page ID
                                  #:112205




  1    GENTLEMEN, AT LEAST ONE OF THEM WAS ANOTHER MATTEL EMPLOYEE,


  2    WHO WAS WORKING ON BRATZ. THAT WAS KEPT HIDDEN. THAT WAS KEPT


  3    SECRET.


  4        HERE'S THE BILLS, WORK DONE BY MGA VENDORS. THOSE


  5    HOURS, A LOT OF THOSE HOURS, BILLED BY ANOTHER MATTEL EMPLOYEE.


  6        IN SHORT, WHAT HAPPENED HERE? FOR ALL INTENTS AND


  7    PURPOSES, MR. BRYANT HAD CO-OPTED MATTEL'S DESIGN CENTER. HE


  8    WAS PULLING TOGETHER ALL OF THESE DIFFERENT KINDS OF SKILLS,


  9    TALENTS, FROM THESE ARTISTS IN THE DESIGN CENTER. MGA'S DESIGN


  10   CENTER WAS MATTEL'S DESIGN CENTER. THEY WERE CREATING THESE


  11   DRAWINGS AND TAKING STEPS TO CREATE A DOLL WHILE MR. BRYANT WAS


  12   STILL EMPLOYED AT MATTEL.


  13       THIS EXPLAINS, THIS EXPLAINS, FOLKS, HOW A SMALL


  14   COMPANY THAT HAD NEVER DONE A FASHION DOLL BEFORE, HAD NEVER


  15   DEVELOPED A FASHION DOLL, WHICH HAD NO FASHION DOLL DESIGN


  16   CENTER, HAD NO FASHION DOLL DESIGNERS, WAS ABLE, IN A VERY


  17   SHORT PERIOD OF TIME, TO COME UP WITH A DOLL WHICH BECAME A


  18   GLOBAL HIT.


  19       FINALLY, ON OCTOBER 4, 2000, AFTER THE DRAWINGS WERE


  20   DONE AND THIS EFFORT WAS WELL UNDERWAY, MR. BRYANT GAVE NOTICE,


  21   GAVE TWO-WEEKS NOTICE, AND QUIT MATTEL. HE TOLD FOLKS, WHEN


  22   ASKED, AS OFTEN HAPPENS WHEN YOU LEAVE AN EMPLOYER, 'WHAT ARE


  23   YOU GOING TO DO; ARE YOU GOING TO GO WORK FOR A COMPETITOR' --


  24   HE TOLD PEOPLE HE WASN'T GOING TO GO WORK FOR A COMPETITOR. HE


  25   KEPT THAT TO HIMSELF.



                                                  Unsigned               Page 78
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 79 of 112 Page ID
                                  #:112206




  1        NOW, AS I'VE SAID, WHEN BRATZ WAS INTRODUCED IN THE


  2    MARKETPLACE, IT BECAME AN ASTONISHING SUCCESS. AND REPORTERS


  3    COVERING THE TOY INDUSTRY, MANY OF WHOM ARE HERE, BEGAN ASKING


  4    THESE QUESTIONS -- 'THIS IS AMAZING. THIS COMPANY THAT'S NEVER


  5    DONE A FASHION DOLL SUDDENLY COMES OUT WITH SOMETHING THAT'S A


  6    SENSATIONAL HIT AROUND THE WORLD.' REPORTERS BEGAN ASKING,


  7    'WHERE DID THIS COME FROM; WHERE DID THESE DRAWINGS COME FROM;


  8    WHERE DID THIS IDEA FOR A DOLL LOOKING LIKE THIS COME FROM?'


  9        IN INTERVIEW AFTER INTERVIEW, LADIES AND GENTLEMEN,


  10   ISAAC LARIAN CONCEALED CARTER BRYANT'S ROLE, CONCEALED THAT


  11   CARTER BRYANT HAD ANYTHING TO DO WITH IT. IN INTERVIEW AFTER


  12   INTERVIEW, MR. LARIAN CLAIMED THAT HE WAS THE CREATOR OF THE


  13   BRATZ IDEA. HE NEVER ONCE MADE ANY -- FOR A LONG, LONG TIME,


  14   UNTIL IT LEAKED OUT, NEVER ONCE MADE ANY DISCLOSURE OR


  15   REFERENCE TO CARTER BRYANT.


  16       IN A BUSINESSWEEK ARTICLE IN 2003, HE'S INTERVIEWED.


  17   I MEAN, THIS IS A HUGE SUCCESS. HE'S INTERVIEWED BY THE


  18   BUSINESSWEEK REPORTER, AND HE'S ASKED THE QUESTION, 'WHERE DID


  19   THIS COME FROM?' AND HE SAID, "WELL, LIKE THEY SAY IN BUSINESS


  20   SCHOOL, 'NO RISK, NO REWARD,' SAYS ISAAC LARIAN, CEO OF


  21   PRIVATELY-HELD MGA. HE SHOULD KNOW. HE GOT THE IDEA FOR BRATZ


  22   AFTER SEEING HIS OWN KIDS RUN AROUND IN NAVAL-BEARING TOPS AND


  23   HIPHUGGERS."


  24       NO MENTION OF CARTER BRYANT. HE GOT THE IDEA AFTER


  25   WATCHING HIS KIDS.



                                                   Unsigned              Page 79
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 80 of 112 Page ID
                                  #:112207




  1         IN DECEMBER OF 2003, ON A NATIONAL PUBLIC RADIO SHOW


  2    CALLED "ALL THINGS CONSIDERED," MR. LARIAN GAVE A DIFFERENT


  3    ACCOUNT AND SAID, 'I, ISAAC LARIAN, GOT THE IDEA FOR BRATZ WHEN


  4    MY OWN DAUGHTER OUTGREW BARBIE.'


  5         AGAIN, NO REFERENCE TO CARTER BRYANT.


  6         IN ANOTHER INTERVIEW IN THE SAN FERNANDO BUSINESS


  7    JOURNAL, HE SAID IT WAS HIS SON JASON WHO CAME UP WITH IT. HE


  8    SAID, "MY OLDEST SON, 17-YEAR-OLD JASON, IS VERY CREATIVE AND A


  9    MUSIC WRITER. HE'S COME UP WITH SOME OF OUR POPULAR TOYS.'


  10   LARIAN SAID HE CAME UP WITH COMMANDOBOT, A ROBOT THAT WAS THE


  11   FIRST EVER ROBOT TOY TO WORK ON VOICE RECOGNITION. IT WAS A


  12   FANTASTIC SELLER THAT WAS FEATURED IN WIRED MAGAZINE. 'IT WAS


  13   JASON'S IDEA FOR BRATZ.'


  14        WE HEAR ALL OF THESE DIFFERENT ACCOUNTS.


  15        IN A SWORN STATEMENT UNDER OATH IN ANOTHER LAWSUIT,


  16   IN A SUIT THAT MGA BROUGHT -- MGA BRINGS LAWSUITS OVER THESE


  17   DRAWINGS, ACCUSING OTHER PEOPLE OF COPYING THE DRAWINGS, WHICH


  18   IT CLAIMS IT OWNS IN BRATZ -- IN A SWORN STATEMENT IN ANOTHER


  19   LAWSUIT THAT MGA BROUGHT, MR. ISAAC LARIAN CLAIMED THAT HE WAS


  20   THE INSPIRATION BEHIND BRATZ. HE SAYS, 'I ESTABLISHED THE


  21   CLAIMANT.' THE CLAIMANT THERE WAS MGA. HE SAYS, 'I


  22   ESTABLISHED IT AND I WAS THE INSPIRATION BEHIND THE BRATZ


  23   DOLLS.'


  24        HE TOLD THE CHICAGO SUN TIMES THAT MGA'S CREATIVE


  25   TEAM HAD INVENTED THE NAME "BRATZ," THAT THEY CAME UP WITH IT.



                                                   Unsigned              Page 80
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 81 of 112 Page ID
                                  #:112208




  1    THIS IS THE CHICAGO SUN TIMES.


  2        AND WHAT HE TOLD THEM WAS THAT HIS 'CREATIVE TEAM


  3    DECIDED THE NAME SHOULD BE CATCHY AND NOT HAVE MORE THAN SIX


  4    LETTERS. WHEN LOOKING AT SKETCHES AND PITCHING IDEAS, SOMEONE


  5    SAID THE DOLLS LOOKED LIKE LITTLE BRATS. KEEPING WITH TODAY'S


  6    TREND OF MAKING NAMES MORE COOL BY CHANGING THE SPELLING, MGA


  7    EXECUTIVES DECIDED TO REPLACE THE S WITH A Z.'


  8        NOW, WE'RE GOING TO SEE THAT THE NAME "BRATZ" WAS


  9    ALSO TAKEN FROM MATTEL. AND I'M GOING TO PROVE THAT TO YOU AS


  10   WELL.


  11       FOR YEARS AFTER 2001, WHEN THE BRATZ DOLL HIT THE


  12   MARKET, FOR YEARS THE WORLD BELIEVED WHAT ISAAC LARIAN HAD TOLD


  13   THEM, THAT HE OR ONE OF HIS FAMILY MEMBERS WAS THE PERSON WHO


  14   CAME UP WITH THE IDEA FOR BRATZ. THERE WAS NO PUBLIC


  15   ACKNOWLEDGMENT, NONE AT ALL, LADIES AND GENTLEMEN, OF


  16   CARTER BRYANT'S ROLE. THERE WAS NO PUBLIC EVIDENCE THAT BRYANT


  17   HAD CREATED BRATZ WHILE HE WAS WORKING FOR MATTEL.


  18       MGA WAS VERY GOOD AT HIDING THE TRUTH. BUT IN THE


  19   END, THE TRUTH CAME OUT. BECAUSE OF THIS HISTORY, AS YOU MIGHT


  20   IMAGINE, MGA'S WITNESSES HAVE TOLD INCONSISTENT STORIES OVER


  21   TIME ABOUT THE ORIGIN OF BRATZ, BECAUSE, YOU KNOW, AS MOST


  22   PEOPLE LEARN, ONCE YOU START GOING DOWN A PATH OF TELLING


  23   SOMETHING THAT'S NOT TRUE, IT'S EASY TO GET TRIPPED UP, AND IT


  24   CAN BECOME IMPOSSIBLE TO KEEP YOUR STORIES STRAIGHT, ESPECIALLY


  25   IF YOU'RE DEALING WITH MULTIPLE PEOPLE.



                                                   Unsigned              Page 81
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 82 of 112 Page ID
                                  #:112209




  1        IN MY OPENING STATEMENT TO YOU HERE TODAY, I JUST


  2    SIMPLY CAN'T TELL YOU ALL OF THE UNTRUTHS. DURING THE COURSE


  3    OF THE TRIAL, THEY'LL COME OUT. BUT LET ME GIVE YOU A COUPLE


  4    OF EXAMPLES.


  5        FIRST, WHEN MR. BRYANT PITCHED HIS BRATZ DESIGNS TO


  6    MGA, MGA KNEW THAT HE WAS EMPLOYED BY MATTEL. AS I'VE SAID,


  7    MGA HAS NOW ADMITTED THIS. BUT PAULA GARCIA, WHO I'VE REFERRED


  8    TO, THE PROJECT MANAGER, WHO, ACCORDING TO MR. BRYANT, WAS THE


  9    FIRST PERSON HE DEALT WITH WHEN HE WENT OVER TO MGA, SHE DENIED


  10   THAT SHE EVEN KNEW THAT HE WAS WORKING FOR MATTEL. SHE CLAIMS


  11   SHE DIDN'T LEARN THAT UNTIL YEARS LATER, AFTER THE LAWSUIT WAS


  12   FILED; THAT WAS HER TESTIMONY.


  13       THIS CONTRADICTS MR. BRYANT'S TESTIMONY. THIS IS THE


  14   PROBLEM OF KEEPING STORIES STRAIGHT. HE SAYS THAT HE TOLD BOTH


  15   MS. GARCIA AND MR. LARIAN THAT HE WAS EMPLOYED BY MATTEL WHEN


  16   HE MET THEM.


  17       SECOND, MGA'S EMPLOYEES CAN'T KEEP THE MOST BASIC


  18   FACTS STRAIGHT ABOUT HOW MR. BRYANT FIRST PITCHED THE BRATZ


  19   IDEA TO MGA.


  20       IF WE COULD GO TO 25-1.


  21       YOU'RE GOING TO HEAR COMPLETELY DIFFERENT ACCOUNTS


  22   ABOUT WHO WAS THERE WHEN IT WAS PITCHED, HOW IT HAPPENED, WHEN


  23   IT HAPPENED. MS. GARCIA TESTIFIED THAT SHE ONLY ATTENDED ONE


  24   PITCH MEETING WITH MR. BRYANT AND THAT MR. LARIAN WAS THERE.


  25   SHE SAYS THAT'S THE FIRST TIME THAT SHE MET HIM. BUT THERE'S A



                                                  Unsigned               Page 82
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 83 of 112 Page ID
                                  #:112210




  1    FORMER MGA EMPLOYEE, WHO YOU'LL HEAR FROM, ANDREAS KOCH, WHO


  2    SAID THAT HE AND GARCIA, HE AND GARCIA, WERE THE FIRST TWO


  3    PEOPLE THAT MR. BRYANT PITCHED. AND THERE'S A JENNIFER MAURUS,


  4    ANOTHER MGA EMPLOYEE, WHO HAS SAID THAT MGA HAD MET WITH


  5    MR. BRYANT BY THE EARLY SUMMER OF 2000.


  6         YOU KNOW, THERE'S SIMILAR INCONSISTENCIES IN THE


  7    STORIES ABOUT WHERE THE NAME "BRATZ" COMES FROM. YOU'RE GOING


  8    TO HEAR SIMILAR INCONSISTENCIES.


  9         MR. BRYANT HAS TESTIFIED THAT HE CAME UP WITH THE


  10   NAME IN 1998, WHEN HE CAME UP WITH THE IDEA FOR THE BRATZ DOLL.


  11        MS. GARCIA TESTIFIED THAT WHEN HE CAME TO PITCH THE


  12   DOLL, HE ALREADY HAD THE NAME "BRATZ" WHEN HE PITCHED IT TO


  13   THEM IN 2000.


  14        BUT RACHEL HARRIS, A FORMER MGA EMPLOYEE, AND


  15   MARGARET LEAHY, AN MGA VENDOR, BOTH SAY THE DOLLS, WHEN HE CAME


  16   TO PITCH THEM, THEY DIDN'T HAVE NAMES AT THAT POINT; THAT HE


  17   DIDN'T SAY ANYTHING ABOUT BRATZ.


  18        OF COURSE, AS WE'VE SEEN, MR. LARIAN TOLD REPORTERS


  19   THAT MGA'S CREATIVE TEAM CAME UP WITH THE NAME "BRATZ."


  20        SO THERE ARE REAL PROBLEMS HERE, YOU'RE GOING TO SEE,


  21   KEEPING THE STORIES STRAIGHT.


  22        BUT THERE IS ONE THING THAT WE DO KNOW, LADIES AND


  23   GENTLEMEN. AND THAT IS THAT IN-HOUSE AT MATTEL, THEY ALREADY


  24   HAD IDENTIFIED THE NAME "BRATZ"; THAT MATTEL -- AND THIS WAS


  25   TRUE WHILE MS. GARCIA WAS STILL AT MATTEL -- THAT MATTEL HAD



                                                  Unsigned               Page 83
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 84 of 112 Page ID
                                  #:112211




  1    IDENTIFIED "BRATZ" AS A NAME FOR A POTENTIAL DOLL. MATTEL


  2    CONSIDERED THE NAME "BRATS" WITH AN S, NOT A Z, FOR A DOLL


  3    WHICH ULTIMATELY BECAME NAMED "DIVA STARZ," S-T-A-R-Z.


  4         BUT HERE ARE SOME INTERNAL MATTEL DOCUMENTS.


  5    "BRATZ." "MALL BRATZ." MGA COMES OUT WITH A PRODUCT ALSO


  6    CALLED "MALL BRATZ." THESE ARE INTERNAL MATTEL DOCUMENTS. THE


  7    NAME "BRATZ," "MALL BRATZ," IS ALREADY BEING CONSIDERED. YOU


  8    CAN SEE "BRATZ" -- THIS IS ANOTHER INTERNAL MATTEL DOCUMENT.


  9    THIS IS ALL BACK WHEN MS. GARCIA WAS AT MATTEL.


  10        NEXT DOCUMENT, PLEASE.


  11        "BRATZ," INTERNAL TO MATTEL.


  12        BUT, PERHAPS, THE MOST TELLING EVIDENCE OF ALL ARE


  13   THE STEPS THAT MR. LARIAN TOOK TO KEEP MR. BRYANT AND HIS ROLE


  14   UNDER WRAPS. AS I'VE SAID, IN HIS PUBLIC ACCOUNTS, WHEN HE'S


  15   INTERVIEWED, HE CONSISTENTLY AVOIDED MENTIONING CARTER BRYANT.


  16   IN THE STORY THAT HE TOLD, IT WAS ALWAYS HIM OR HIS CHILDREN.


  17   MR. BRYANT HAD NO ROLE IN IT AT ALL. HE DIDN'T EXIST.


  18        WITHIN MGA, MR. LARIAN TOOK STEPS TO COVER UP


  19   MR. BRYANT'S INVOLVEMENT, AND HE ISSUED AN EDICT THAT NOBODY


  20   WITHIN MGA -- BECAUSE THERE'S PEOPLE WHO KNEW ABOUT


  21   MR. BRYANT'S INVOLVEMENT -- HE ISSUED AN EDICT THAT NOBODY


  22   SHOULD MENTION CARTER BRYANT.


  23        HERE'S AN INTERNAL MGA DOCUMENT FROM 2002. AND WHAT


  24   HAD HAPPENED HERE IS, A VENDOR, AN MGA VENDOR, BY THE NAME OF


  25   DAVID DEES WROTE THE E-MAIL IN THE LOWER RIGHT. HE SAID, "I



                                                    Unsigned             Page 84
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 85 of 112 Page ID
                                  #:112212




  1    CAN'T TAKE CREDIT FOR THE BRATZ DOLLS OR EVEN THE FIRST BRATZ


  2    ILLUSTRATIONS, FOR THAT HONOR WOULD GO TO A FELLOW NAMED


  3    CARTER BRYANT." THE VENDOR IS SPILLING THE BEANS IN AN E-MAIL.


  4    AND HE COPIES, MR. DEES COPIES, MR. BRYANT ON THIS E-MAIL.


  5        MR. LARIAN'S RESPONSE TO THAT E-MAIL, I THINK, IS


  6    VERY TELLING, AT THE TOP: "THERE MUST BE NO MENTION ABOUT


  7    MATTEL OR ANY OF THEIR PROPERTIES; CARTER, ANY MGA, BRATZ,


  8    ARTS, ET CETERA. DON'T MENTION IT. KEEP IT UNDER WRAPS.


  9        NOW, MGA MAY SAY, 'WELL, WE DIDN'T WANT TO MENTION IT


  10   BECAUSE WE WERE AFRAID WE'D GET SUED.'


  11       AS MY KIDS USED TO SAY, 'DUH. YEAH.'


  12       WHEN MR. BRYANT SENT MR. LARIAN HIS NEW SIGNED MGA


  13   CONTRACT, WHILE HE'S STILL EMPLOYED -- REMEMBER, HE SIGNED A


  14   CONTRACT WHILE HE'S STILL EMPLOYED BY MATTEL -- HE SENT THAT


  15   OVER, HE FAXED IT, FROM MATTEL'S DESIGN CENTER. HE'S THERE; HE


  16   SIGNS THE CONTRACT WITH MGA. HE PUTS IT OVER A MATTEL FAX.


  17       NOW, FAX MACHINES, AS YOU KNOW, WHEN THEY COME OUT,


  18   THEY HAVE A LITTLE HEADER THAT APPEARS ON THE TOP OF THEM THAT


  19   TELLS YOU WHERE THE FAX IS COMING FROM; IT IDENTIFIES THE FAX.


  20   AND THIS ONE WOULD HAVE SAID "BARBIE COLLECTIBLES," BECAUSE


  21   THAT'S WHERE HE FAXED IT FROM.


  22       MR. LARIAN DIRECTED HIS HEAD OF LICENSING,


  23   VICTORIA O'CONNOR, TO WHITE OUT THE "BARBIE COLLECTIBLES"


  24   FAX HEADER FROM MR. BRYANT'S SIGNATURE PAGE. YOU CAN SEE IT'S


  25   UP ON THE RIGHT. IT'S BLANK. THERE'S NO FAX HEADER THERE.



                                                    Unsigned             Page 85
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 86 of 112 Page ID
                                  #:112213




  1    ALSO HAD TO WHITE OUT THE DATE THERE. YOU SEE, IT SAYS, "DATED


  2    AS OF SEPTEMBER 18, 2000." HE'S STILL EMPLOYED BY MATTEL AT


  3    THAT TIME. MR. BRYANT SAID, 'WHITE THAT OUT, WHITE OUT THAT


  4    DATE, WHITE OUT THE FAX HEADER BARBIE COLLECTIBLES,' BEFORE,


  5    INTERESTINGLY, SENDING IT TO MGA'S LAWYER. HE WAS KEEPING IT


  6    FROM A WOMAN BY THE NAME OF PATRICIA GLASER, HIS OWN LAWYER.


  7    THERE USED TO BE A DATE THERE, A DATE WHICH WOULD HAVE SHOWN HE


  8    WAS STILL WORKING AT MATTEL.


  9        MGA CONTINUED TO CONCEAL MR. BRYANT'S ROLE. BOTH


  10   MR. LARIAN AND MS. GARCIA -- YOU MAY ALSO HEAR HER REFERRED TO


  11   AS PAULA TREANTAFELLES; HER NAME CHANGED DURING THESE EVENTS;


  12   SHE GOT MARRIED -- THEY GAVE STRICT INSTRUCTIONS THAT NO ONE


  13   WAS TO MENTION MR. BRYANT'S INVOLVEMENT. AND THE WITNESS WILL


  14   TELL YOU ABOUT THAT. SHE'S A WOMAN BY THE NAME OF


  15   RACHEL HARRIS.


  16       THE MGA EMPLOYEES UNDERSTOOD THIS, THAT YOU WEREN'T


  17   SUPPOSED TO MENTION "CARTER BRYANT." THAT WAS VERBOTEN. YOU


  18   DON'T MENTION THAT.


  19       ONE OF THE IDEAS THAT ONE OF THE EMPLOYEES HAD WAS


  20   FOR A SIGNATURE DOLL, A REALLY FANCY DOLL, THAT WOULD BE SIGNED


  21   BY THE DESIGNER, THAT YOU COULD MAYBE CHARGE A PREMIUM FOR.


  22   AND THERE'S THIS EMPLOYEE, DEEDEE VALENCIA, WHO HAD THIS IDEA,


  23   YOU KNOW, 'LET'S HAVE A SIGNATURE BRATZ DOLL.' BUT SHE FACED A


  24   QUANDARY, 'HOW ARE WE GOING TO DO THIS SIGNED BY... I KNOW WE


  25   WANT TO KEEP CARTER UNDER WRAPS.'



                                                   Unsigned              Page 86
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 87 of 112 Page ID
                                  #:112214




  1         KIND OF TOUGH TO DO A CARTER BRYANT SIGNATURE DOLL


  2    AND PUT IT OUT TO THE WORLD AND NOT DISCLOSE THAT


  3    CARTER BRYANT'S INVOLVED.


  4         ANOTHER EXAMPLE, EXHIBIT 1932, IF WE CAN PULL THAT


  5    UP. THERE CAME A POINT WHERE, WITHIN MGA, THEY'RE PREPARING A


  6    LIST OF THEIR EMPLOYEES THAT HAVE THE DATES THAT THEY STARTED


  7    WORKING AND WHETHER THEY'RE STILL EMPLOYED, AND IF THEY'VE


  8    LEFT, WHAT THEIR DATES ARE AND THE DATES THEY WORKED AT MATTEL.


  9    AND FOR CARTER BRYANT, IT SAYS, MATTEL DATES, WHAT WERE THE


  10   DATES THAT MR. BRYANT WAS WORKING FOR MATTEL?


  11        "DON'T ASK."


  12        AND WHEN DID HE START?


  13        QUESTION, QUESTION, QUESTION MARK, "TO THE PRESENT."


  14        ANOTHER INDICATION OF HOW THEY WERE KEEPING IT UNDER


  15   WRAPS.


  16        MR. ISAAC LARIAN AND MGA HAVE EVEN MISREPRESENTED


  17   THINGS TO THE UNITED STATES GOVERNMENT. IN TRYING TO HIDE


  18   MR. BRYANT'S INVOLVEMENT, MR. LARIAN FALSELY REPRESENTED TO THE


  19   UNITED STATES PATENT AND TRADEMARK OFFICE THAT HE PERSONALLY


  20   CAME UP WITH THE IDEA FOR BRATZ. REMOVABLE FEET WAS A FEATURE


  21   OF THE DOLL. MR. BRYANT'S -- THIS IS THE APPLICATION: "DOLL


  22   WITH AESTHETIC CHANGEABLE FOOTWEAR. INVENTOR: ISAAC LARIAN."


  23   THAT'S WHAT THEY FILED.


  24        THAT IDEA WAS CLEARLY IN MR. BRYANT'S ORIGINAL PITCH.


  25        WE'RE LOOKING AT A PAGE NOW FROM MR. BRYANT'S



                                                    Unsigned             Page 87
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 88 of 112 Page ID
                                  #:112215




  1    ORIGINAL PITCH. HE TALKS ABOUT POPPING OFF THE HAIRSTYLE AND


  2    THE SHOES.


  3         AND IF WE CAN LOOK AT THE NEXT SLIDE, YOU CAN SEE


  4    DOWN THERE AT THE BOTTOM, THE IDEA WAS THAT THEY WERE


  5    REMOVABLE, THAT THE FEET COULD BE DISCONNECTED.


  6         IT WAS IN MR. BRYANT'S ORIGINAL PITCH.


  7         WHAT DOES MR. LARIAN -- HE CAN'T BRING HIMSELF TO PUT


  8    IN A PUBLIC FILING IN THE UNITED STATES PATENT AND TRADEMARK


  9    OFFICE THAT THIS COMES FROM CARTER BRYANT. HE CLAIMS THAT HE'S


  10   THE INVENTOR.


  11        YOU'RE GOING TO HEAR OTHER EVIDENCE -- LADIES AND


  12   GENTLEMEN, THAT'S AS FAR AS I'M GOING TO GO NOW -- YOU'RE GOING


  13   TO HEAR OTHER EVIDENCE ABOUT STEPS THAT MGA TOOK TO HIDE THE


  14   EVIDENCE OF ITS WRONGDOING.


  15        BUT MGA COULD NOT KEEP IT A SECRET FOREVER. IT WAS


  16   TOO BIG. TOO MANY PEOPLE KNEW. TOO MANY REPORTERS WERE ASKING


  17   ABOUT IT AND INVESTIGATING IT. WORD LEAKED OUT. AND ON


  18   JULY 18, 2003, A WALL STREET JOURNAL ARTICLE IDENTIFIED


  19   CARTER BRYANT AS THE DESIGNER OF BRATZ. "THE HISTORY OF THE


  20   BRATZ IS INTERTWINED WITH MATTEL. MGA SAYS THE BRATZ WERE


  21   DESIGNED BY CARTER BRYANT, A FORMER MEMBER OF THE BARBIE TEAM."


  22   AND IT GOES ON. "HE SAYS HE CHOSE MR. BRYANT'S IDEA FOR THE


  23   BRATZ OVER SEVERAL OTHERS AFTER HOLDING A FASHION DOLL DESIGN


  24   CONTEST IN LATE 1999."


  25        THIS WAS AN ASTONISHING DISCLOSURE FOR A COUPLE OF



                                                     Unsigned            Page 88
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 89 of 112 Page ID
                                  #:112216




  1    REASONS.


  2            WHY?


  3            ONE, FOR THE FIRST TIME, FOR THE FIRST TIME, MGA


  4    IDENTIFIED SOMEBODY OTHER THAN ISAAC LARIAN OR ONE OF HIS


  5    FAMILY MEMBERS AS THE CREATOR OF THE BRATZ IDEA. FOR THE FIRST


  6    TIME.


  7            AND WHO DID THEY IDENTIFY?


  8            THEY IDENTIFIED SOMEBODY WHO, AT SOME POINT, HAD BEEN


  9    A MATTEL DOLL DESIGNER.


  10           SECOND, HE DATED IT TO A TIME PERIOD, 1999. NOW HE'S


  11   SAYING IT'S A FASHION DOLL DESIGN CONTEST.


  12           HAVEN'T HEARD THAT BEFORE.


  13           BUT HE DATED IT TO, HE SAYS, A DESIGN CONTEST IN


  14   1999, WHEN MR. BRYANT IS STILL EMPLOYED BY MATTEL.


  15           STARTLING DEVELOPMENT SUDDENLY.


  16           'IT'S CARTER BRYANT, FORMER MATTEL EMPLOYEE, FASHION


  17   DOLL DESIGN CONTEST.' NEVER HEARD THAT BEFORE. BUT IN 1999,


  18   WHEN HE'S STILL EMPLOYED BY MATTEL.


  19           AND THEN THERE IS A HUGE BREAKTHROUGH.


  20           THE BREAKTHROUGH IS THIS: TWO MONTHS LATER, TWO


  21   MONTHS AFTER THIS WALL STREET JOURNAL ARTICLE, IN SEPTEMBER OF


  22   2003, MATTEL IS CONTACTED BY SOME LAWYERS IN HONG KONG WHO ARE


  23   DEFENDING A CASE THAT'S BROUGHT BY MGA AGAINST THEIR CLIENTS.


  24   MGA HAD SUED IN HONG KONG, ALLEGING INFRINGEMENT OF THEIR


  25   RIGHTS AND WHAT THEY CLAIM WERE THEIR BRATZ DRAWINGS. AND



                                                      Unsigned           Page 89
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 90 of 112 Page ID
                                  #:112217




  1    THESE HONG KONG LAWYERS SAID THEY HAD SOME INFORMATION THAT


  2    THEY THOUGHT MIGHT BE OF INTEREST TO MATTEL, AND A MEETING WAS


  3    ARRANGED BETWEEN MATTEL REPRESENTATIVES AND THESE HONG KONG


  4    LAWYERS.


  5        THE HONG KONG LAWYERS WHO ARE DEFENDING THIS CASE


  6    THAT MGA HAS BROUGHT GAVE THE MATTEL FOLKS TWO DOCUMENTS. ONE,


  7    THEY GAVE THEM A CONTRACT BETWEEN MGA AND MR. BRYANT, DATED AS


  8    OF SEPTEMBER 18, 2000, THAT HE HAD ENTERED INTO WHILE HE WAS


  9    STILL -- TALKING ABOUT PEELING THE ONION; NOW WE'RE GETTING


  10   DOWN TO THE SURFACE NOW -- HONG KONG LAWYERS GIVE THEM A


  11   CONTRACT THAT MR. BRYANT HAD SIGNED WHILE HE WAS STILL EMPLOYED


  12   BY MATTEL.


  13       AND THEY ALSO GAVE THE DRAWINGS, THE ORIGINAL BRATZ


  14   DRAWINGS, WHICH NOBODY AT MATTEL HAD EVER SEEN.


  15       UNDER THAT CONTRACT, YOU CAN SEE, THAT MR. BRYANT


  16   SIGNED WHILE HE WAS STILL WORKING FOR MATTEL, HE AGREES TO WORK


  17   ON THIS BRATZ, AND IT SAYS THAT HE'LL PROVIDE HIS SERVICES ON A


  18   TOP PRIORITY BASIS.


  19       FOR THE VERY FIRST TIME, MATTEL HAD PROOF, CONCRETE


  20   PROOF, THAT MR. BRYANT, NOT ISAAC LARIAN, WAS THE ORIGINATOR OF


  21   THE BRATZ DOLL DESIGNS. EVEN MORE SHOCKINGLY, THE DOCUMENT


  22   CONFIRMED THAT HE HAD DONE THIS WHILE HE WAS STILL EMPLOYED BY


  23   MATTEL, THAT HE WAS WORKING ON WHILE HE STILL HAD A CONTRACT,


  24   AN INVENTIONS AGREEMENT.


  25       WHAT DID THAT MEAN, FOLKS?



                                                   Unsigned              Page 90
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 91 of 112 Page ID
                                  #:112218




  1        THAT MEANT MATTEL OWNED THOSE BRATZ DRAWINGS.


  2        SO MATTEL BEGAN AN INVESTIGATION, AND ON APRIL 27,


  3    2004, MATTEL BROUGHT THIS LAWSUIT.


  4        NOW, MGA HAS KNOWN FROM THE BEGINNING THAT IF THEY


  5    WERE EVER CAUGHT, IT WOULD MEAN THAT MATTEL WOULD OWN THESE


  6    DRAWINGS.


  7        AND, IN FACT, THERE ARE MANY DRAWINGS, MANY BRATZ


  8    DRAWINGS, TO WHICH THERE'S NO DISPUTE THEY WERE CREATED BY


  9    MR. BRYANT WHILE HE WAS EMPLOYED BY MATTEL. THEY WON'T DISPUTE


  10   THIS AS TO SOME OF THESE DRAWINGS.


  11       IF WE COULD LOOK AT 75-1.


  12       THERE'S NO DISPUTE THAT MR. BRYANT WAS DOING DESIGN


  13   WORK ON BRATZ WHILE EMPLOYED BY MATTEL. MR. BRYANT WILL


  14   TESTIFY, FOR EXAMPLE, THAT THESE PARTICULAR DRAWINGS -- I KNOW


  15   HE WILL, BECAUSE WE ASKED HIM IN DEPOSITION AND HE CONFIRMED


  16   IT -- THAT HE DID THESE PARTICULAR BRATZ DRAWINGS WHILE HE


  17   WAS -- HE CREATED THOSE WHILE HE WAS AT MATTEL.


  18       THERE'S OTHER BRATZ DRAWINGS; IF WE COULD LOOK AT


  19   73-1; HE HAS SIMILARLY ACKNOWLEDGED HE DID THESE WHILE HE WAS


  20   EMPLOYED BY MATTEL. AND 73-2, AS TO ALL OF THESE, THERE'S


  21   REALLY NO DISPUTE THAT HE DID THESE. HE TESTIFIED TO THAT: 'I


  22   DID THESE WHILE I WAS EMPLOYED BY MATTEL.'


  23       SO WHAT DO THEY SAY, THOUGH?


  24       THEY HAVE TO SAY, 'WELL, THEY'RE JUST LIKE DRAWINGS I


  25   DID EARLIER. THESE AREN'T THE ORIGINALS. THE ORIGINALS ARE



                                                    Unsigned             Page 91
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 92 of 112 Page ID
                                  #:112219




  1    ONES THAT I DID EARLIER. THEY JUST HAPPEN TO LOOK LIKE THE


  2    ONES I DID EARLIER.'


  3         AND THAT GETS TO THEIR LATEST AND GREATEST EXCUSE AND


  4    EXPLANATION, WHEN THIS ALL CAME OUT, THAT, REALLY, THERE WAS A


  5    TIME, THIS GAP IN TIME, WHEN MR. BRYANT WASN'T EMPLOYED BY


  6    MATTEL, AND THAT'S WHEN HE CREATED THE ORIGINAL BRATZ DRAWINGS.


  7         HERE'S THE TIME PERIOD, MR. BRYANT'S EMPLOYMENT


  8    HISTORY WITH MATTEL: HE BEGINS WORKING IN SEPTEMBER OF 1995.


  9    HE LEAVES APRIL 29, 1998. DURING THAT PERIOD OF EIGHT OR NINE


  10   MONTHS, HE LEAVES THE LOS ANGELES AREA. HE GOES TO A SMALL


  11   TOWN IN WESTERN MISSOURI; LIVES WITH HIS PARENTS; RETURNS TO


  12   MATTEL; SIGNS THE AGREEMENT AGAIN ON JANUARY 4, 1999. AND


  13   LO AND BEHOLD, GUESS WHAT? WHEN IS THE TIME PERIOD THAT MGA


  14   SAYS THE ORIGINAL BRATZ DRAWINGS WERE CREATED?


  15        WELL, YOU'LL HAVE A CHANCE TO HEAR THE EVIDENCE ON


  16   THAT, AND YOU'LL HAVE TO MAKE JUDGMENTS ABOUT THE CREDIBILITY


  17   OF THAT.


  18        BUT FOR NOW, I'D JUST LIKE YOU TO CONSIDER ONE THING:


  19   UNDER THEIR ACCOUNT, HE DREW THESE DRAWINGS DURING THAT PERIOD


  20   WHEN HE WASN'T WORKING AT MATTEL AND HE DID NOTHING WITH THEM.


  21        THEY HAVE TO SAY THAT BECAUSE HE DIDN'T COME TO MGA


  22   UNTIL, BY THEIR ACCOUNT, AUGUST OF 2000. SO THEY SAY HE DREW


  23   THEM; HE LOVED THEM; HE WAS EXCITED ABOUT THEM; HE PUT THEM IN


  24   A DRAWER AND DID NOTHING WITH THEM, AND DIDN'T PULL THEM OUT


  25   UNTIL SOMETIME LATER.



                                                   Unsigned              Page 92
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 93 of 112 Page ID
                                  #:112220




  1         LET'S PEEL THE ONION NOW ANOTHER LAYER, AND LET'S


  2    TALK ABOUT MGA'S STORY, MGA'S CREATION STORY, OF WHERE BRATZ


  3    CAME FROM.


  4         AS YOU'VE SEEN FROM THE TIMELINE, THEY SAY, 'WELL, HE


  5    WORKED AT MATTEL SEPTEMBER 1995 TO APRIL 1998; THEN HE LEFT,


  6    WENT TO THE SMALL TOWN OF KIMBERLING CITY, MISSOURI, IN WESTERN


  7    MISSOURI.'


  8         THERE HE WAS WORKING AT A STORE CALLED OLD NAVY; HE'S


  9    WORKING AT AN OLD NAVY STORE. ONE DAY HE'S DRIVING HOME FROM


  10   WORK, RETURNING TO HIS PARENT'S HOUSE WHERE HE'S LIVING, AND HE


  11   HAPPENS TO DRIVE BY THE KICKAPOO HIGH SCHOOL. I KID YOU NOT;


  12   THAT'S THE NAME OF THE HIGH SCHOOL. AND HE SAYS THAT THERE AT


  13   THE KICKAPOO HIGH SCHOOL, AS HE'S DRIVING BY, HE SEES THESE


  14   KIND OF URBAN-LOOKING, ETHNIC, HIPHOP KIDS WITH ATTITUDES,


  15   HANGING AROUND THE SCHOOL. AND HE SAYS HIS ACCOUNT WAS, 'WOW.'


  16   HE WAS INSPIRED BY THAT. HE WENT RIGHT HOME AND THAT DAY, DREW


  17   THE DRAWINGS. THAT'S THEIR ACCOUNT.


  18        NOW, BY THE WAY, LET'S TAKE A LOOK AT THE ROUTE THAT


  19   YOU WOULD NEED TO DRIVE FROM OLD NAVY TO HIS FOLKS' HOME. OLD


  20   NAVY IS IN THE BATTLEFIELD MALL UP THERE. HIS FOLKS' HOME IS


  21   DOWN HERE. SO MAYBE THERE WERE SOME ROAD CLOSURES OR


  22   SOMETHING, BUT IT RAISES AN ISSUE ABOUT THE ACCOUNT.


  23        AND THEN HE SAYS HE WAS INSPIRED BY THESE KIDS, THAT


  24   THEY'RE HIPHOP, URBAN, MULTI-ETHNIC WITH ATTITUDE. WELL, WE'RE


  25   GOING TO SHOW YOU SOME OF THOSE HIPHOP, URBAN-ATTITUDE KIDS IN



                                                   Unsigned              Page 93
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 94 of 112 Page ID
                                  #:112221




  1    WESTERN MISSOURI, BECAUSE WE GOT THE YEARBOOK, THE HIGH SCHOOL


  2    YEARBOOK FOR THAT YEAR. IT'S GOING TO COME INTO EVIDENCE, AND


  3    YOU'RE GOING TO SEE THEM, AND YOU'RE GOING TO HAVE A CHANCE TO


  4    JUDGE THE CREDIBILITY OF THAT STORY, THAT THESE KIDS IN THAT


  5    SCHOOL WOULD HAVE INSPIRED WHAT HE DESCRIBES AS HIPHOP,


  6    URBAN-ATTITUDE, MULTI-ETHNIC KIDS.


  7           AND, AGAIN, THIS IS GOING TO BE FOR YOU FOLKS TO


  8    ASSESS THE CREDIBILITY. I'M JUST PRESENTING THE EVIDENCE TO


  9    YOU.


  10          NOW, THERE ARE SOME OTHER PROBLEMS WITH THIS ACCOUNT.


  11   MR. BRYANT SAYS THAT THESE DRAWINGS THAT HE DID, THESE ORIGINAL


  12   ONES THAT HE DID, ARE BLACK AND WHITE DRAWINGS, JUST BLACK AND


  13   WHITE DRAWINGS. THAT'S WHAT MR. BRYANT NOW SAYS. AND HE SAYS


  14   THAT ALTHOUGH HE'S VERY EXCITED ABOUT THEM, HE THOUGHT THEY


  15   WERE GREAT, HE DIDN'T DO ANYTHING WITH THEM.


  16          A COUPLE OF MONTHS LATER, HE APPLIES FOR A JOB TO


  17   RETURN TO MATTEL, IN THE FALL OF 1998, AND HE STARTS UP AT


  18   MATTEL ON JANUARY 4, 1999.


  19          NOW, MGA IS GOING TO BRING TO YOU SOME WITNESSES WHO


  20   WILL SAY THAT THIS STORY THAT HE CREATED THEM DURING THIS TIME


  21   PERIOD IS TRUE. HE'S GOING TO BRING YOU SOME PEOPLE WHO WILL


  22   SAY, 'I SAW THE DRAWINGS IN THAT TIME PERIOD.'


  23          WHO DO YOU THINK THEY ARE?


  24          HIS MOM, HIS DAD, HIS COMPANION, A FAMILY FRIEND.


  25          WITHOUT MAKING TOO MUCH OF IT, THESE PEOPLE ALL



                                                      Unsigned           Page 94
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 95 of 112 Page ID
                                  #:112222




  1    UNDERSTAND THAT MR. BRYANT HAS A FINANCIAL INTEREST IN BRATZ.


  2    I MEAN, HE'S RECEIVED MILLIONS OF DOLLARS OF ROYALTIES. UNDER


  3    HIS CONTRACT, HE'S GOT AN AGREEMENT THAT HE CAN GET ROYALTIES


  4    GOING INTO THE FUTURE. I SUPPOSE IT'S NATURAL THAT PEOPLE


  5    WOULD WANT THE BEST FOR THEIR FAMILY, BUT THESE FOLKS, I


  6    SUBMIT, ARE HARDLY UNBIASED WITNESSES. AND I'M SAYING THAT YOU


  7    REALLY CAN'T NECESSARILY RELY ON THEIR MEMORIES VERSUS THE


  8    ACTUAL EMPIRICAL EVIDENCE THAT WE'RE GOING TO SHOW YOU.


  9        SO ACCORDING TO MR. BRYANT, HE PUT THESE DRAWINGS


  10   AWAY AND HE GOES BACK TO WORK AT MATTEL IN JANUARY OF 1999;


  11   SOMETIME IN THE MIDDLE OF 1999, HE PULLS OUT HIS BRATZ DRAWINGS


  12   AND DOES SOME ADDITIONAL WORK ON THEM. HE ADDS SOME COLOR, HE


  13   SAYS, AND HE REFINES THE DESIGNS, AND HE SAYS THAT THOSE


  14   DRAWINGS, WHICH HE THEN REFINES AND COLORS, ARE THE ONES THAT


  15   HE TOOK OVER TO MGA, VERONICA MARLOW, IN MID 2000.


  16       AGAIN, THESE DRAWINGS, THEY'RE MULTI-ETHNIC,


  17   HIPHOP-LOOKING, LARGE HEAD, LARGE FEET, LARGE LIPS, LARGE EYES,


  18   REMOVABLE FEET.


  19       AND IN SEPTEMBER OF 2000, MGA ENTERS INTO THAT


  20   CONTRACT, WHERE THEY PURCHASE THE RIGHTS TO THE DRAWINGS, AND


  21   MGA SETS OUT WORK AFTER THAT ACTUALLY CREATING THE DOLLS.


  22       WHAT'S MGA GOING TO TELL YOU ABOUT THIS?


  23       MGA IS GOING TO KIND OF HEDGE ITS BETS HERE. THEY'RE


  24   GOING TO TELL YOU ALL THIS IS TRUE, THAT IT WAS CREATED IN


  25   1998, ET CETERA. BUT THEY'RE ALSO GOING TO TELL YOU SOMETHING



                                                   Unsigned              Page 95
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 96 of 112 Page ID
                                  #:112223




  1    ELSE. MGA IS GOING TO TELL YOU THAT, 'LOOK, IF THIS TURNS OUT


  2    TO BE NOT TRUE, WHAT MR. BRYANT SAID, IT'S NOT OUR FAULT.


  3    THAT'S WHAT HE TOLD US. HE MISREPRESENTED IT TO US. WE WERE


  4    DUPED TOO.' THAT'S WHAT MGA IS GOING TO SAY.


  5        NOW, OF COURSE, PEOPLE ACTING IN GOOD FAITH DON'T


  6    ORDINARILY NEED TO TAMPER WITH EVIDENCE, WHITE OUT THINGS,


  7    CONCEAL THINGS, TELL DIFFERENT STORIES TO NEWSPAPERS,


  8    MISREPRESENT THINGS TO THE FEDERAL GOVERNMENT, OR MISREPRESENT


  9    THINGS TO THEIR OWN LAWYERS. IT STILL RAISES THE QUESTION


  10   ABOUT WHY YOU WOULD DO ALL OF THOSE THINGS.


  11       BUT THE TRUTH IS, AND THE EVIDENCE WILL BE, THAT


  12   ALTHOUGH MR. LARIAN KNEW THAT HE WAS DEALING WITH A MATTEL DOLL


  13   DESIGNER, HE AND MGA PERFORMED ESSENTIALLY NO INVESTIGATION, NO


  14   INVESTIGATION, TO DETERMINE WHETHER THESE DRAWINGS WERE OWNED


  15   BY MATTEL.


  16       REMEMBER, MGA KNEW THAT MR. BRYANT, LIKE ALL MATTEL


  17   DESIGNER EMPLOYEES, HAD ONE OF THESE INVENTIONS AGREEMENTS.


  18   THEY KNEW THAT. PAULA GARCIA, A FORMER MATTEL EMPLOYEE, SHE


  19   USED TO HAVE ONE OF THESE AGREEMENTS WHEN SHE WAS AT MATTEL.


  20       AND ALTHOUGH MGA'S EMPLOYEES TELL DIFFERENT STORIES


  21   ABOUT WHEN THEY FIRST MET WITH MR. BRYANT -- YOU SAW SOME OF


  22   THAT; MIGHT HAVE BEEN JUNE, MIGHT HAVE BEEN SEPTEMBER -- ALL OF


  23   THEM AGREE THAT HE WAS A MATTEL EMPLOYEE AT THE TIME. THEY DID


  24   ESSENTIALLY NOTHING TO FIND OUT WHETHER THESE DRAWINGS WERE


  25   OWNED BY MATTEL.



                                                   Unsigned              Page 96
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 97 of 112 Page ID
                                  #:112224




  1        THEY SAY THEY DID TWO THINGS. ISAAC LARIAN SAID HE


  2    DID TWO THINGS TO CONFIRM THIS. FIRST, HE ASKED HIS LICENSING


  3    PERSON, VICTORIA O'CONNOR, TO CONDUCT AN INVESTIGATION AND


  4    CONFIRM THAT THESE DRAWINGS ARE ACTUALLY MR. BRYANT'S PROPERTY


  5    AND THAT THEY DON'T BELONG TO MATTEL. VICTORIA O'CONNOR SAYS,


  6    'IT NEVER HAPPENED. HE DIDN'T ASK ME TO DO THAT.' SHE'LL COME


  7    HERE AND TESTIFY, AND SHE WILL TELL YOU THAT NEVER HAPPENED.


  8        THE SECOND THING THAT THEY SAY THEY DID TO TRY TO


  9    CONFIRM THIS WAS THAT THEY HAD MGA'S LAWYER WHO WAS DEALING


  10   WITH THIS AT THE TIME, A DAVID ROSENBAUM, DO AN INVESTIGATION.


  11       WELL, WHAT WAS HIS INVESTIGATION?


  12       IF WE COULD LOOK AT 70-1.


  13       MR. LARIAN ASKED MR. ROSENBAUM, MGA'S LAWYER, IF


  14   BRYANT HAS THE RIGHTS. MR. ROSENBAUM SAID, 'I ASKED MS. WANG


  15   IF BRYANT HAS THE RIGHTS.' MS. WANG SAYS, 'I ASKED MR. BRYANT.


  16   HE SAID HE HAS THE RIGHTS.'


  17       THAT'S IT.


  18       THAT'S THE FULL EXTENT OF THE INVESTIGATION. IT'S


  19   COMPLETELY CIRCULAR. 'JUST TELL US THAT YOU HAVE THE RIGHTS.'


  20   THEY PUT ON A SHOW, FOLKS. THIS WASN'T AN INVESTIGATION.


  21       AND IN THIS CLAIMED INVESTIGATION, ONE THING THAT


  22   NEVER TURNED UP WAS THAT THESE WERE SUPPOSEDLY CREATED BACK IN


  23   MISSOURI IN 1998. THAT STORY DIDN'T SURFACE. THAT'S MORE


  24   RECENT.


  25       SO THE SUM TOTAL OF THE INVESTIGATION THEY DID IS



                                                   Unsigned              Page 97
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 98 of 112 Page ID
                                  #:112225




  1    THAT MGA'S LAWYER ASKED MR. BRYANT'S LAWYER IF HE'S TELLING THE


  2    TRUTH. THEY SAY 'YES.' PERIOD. END OF STOP. 'THAT'S ALL I


  3    WANT TO HEAR.'


  4            THERE WILL BE NO EVIDENCE THAT AT ANY TIME WAS


  5    ANYBODY AT MATTEL EVER ASKED. SIMPLE THING TO DO. AT NO TIME


  6    WAS ANYBODY AT MATTEL EVER ASKED WHETHER MATTEL OWNED THESE OR


  7    WHETHER THESE WERE LEGITIMATELY MR. BRYANT'S PROPERTY.


  8            SO NOW WE'RE GETTING DOWN NEAR THE CENTER OF THE


  9    ONION. AND I WANT TO TELL YOU NOW THE REAL CREATION STORY, AS


  10   WE'VE BEEN ABLE TO PUT IT TOGETHER AS A RESULT OF THE


  11   INVESTIGATION THAT WE'VE DONE IN THIS CASE. THE REAL STORY,


  12   WHAT ACTUALLY HAPPENED. WHAT ACTUALLY HAPPENED IS THAT THESE


  13   DRAWINGS, THE BRATZ DRAWINGS, WERE CREATED BY MR. BRYANT WHILE


  14   HE WAS WORKING FOR MATTEL, USING MATTEL RESOURCES, AND WHILE HE


  15   WAS UNDER CONTRACT TO MATTEL. AND BY VIRTUE OF THAT, THESE


  16   DRAWINGS ARE OWNED BY MATTEL.


  17           HOW DO WE KNOW THIS?


  18           THE REAL STORY BEHIND THE CREATION OF BRATZ DRAWINGS


  19   BEGINS IN MID 1999. AT THAT TIME, MR. BRYANT WAS WORKING IN A


  20   DESIGN CENTER. AMONG OTHER THINGS, HE WAS DOING DESIGNS FOR


  21   BARBIE. AND HERE ARE SOME OF HIS DRAWINGS FROM AROUND THAT


  22   TIME.


  23           IN 1999, HE'D COME BACK TO MATTEL. AND HERE ARE SOME


  24   EXAMPLES OF SOME OF HIS DRAWINGS.


  25           AS YOU CAN SEE, MR. BRYANT -- THIS IS HIS STYLE.



                                                        Unsigned         Page 98
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 99 of 112 Page ID
                                  #:112226




  1    HE'S GOT A CERTAIN STYLE. THE FIGURES ARE WILLOWY. YOU CAN


  2    SEE THE ELEGANCE. CLEARLY SUITED FOR THE KINDS OF THINGS THAT


  3    HE WAS DOING FOR BARBIE.


  4        IN THE SPRING OF 1998, THERE WAS A TERRIFIC STUDENT


  5    AT THE FASHION INSTITUTE OF DESIGN IN LOS ANGELES BY THE NAME


  6    OF LILY MARTINEZ, WHO SOME FOLKS FROM MATTEL RECRUITED WHEN


  7    THEY CAME BY TO SEE SOME WORK SHE HAD DONE AND THE STUDENTS HAD


  8    DONE. THEY RECRUITED HER. AND THEY BROUGHT HER IN ON A BASIS


  9    OF AN INTERNSHIP. AND AFTER SHE HAD DONE GREAT WORK AND AFTER


  10   HER INTERNSHIP WAS DONE, THEY BROUGHT HER ON ON A PERMANENT


  11   BASIS. AND MS. MARTINEZ HAS BEEN AT MATTEL EVER SINCE.


  12       ONE OF HER EARLY ASSIGNMENTS WAS TO CREATE A


  13   DECORATIVE DECAL THAT WOULD GO ON A BARBIE DOLL CALLED


  14   "COOL-SKATING BARBIE." AND SHE WAS ASKED TO -- ONE OF THE VERY


  15   FIRST THINGS THAT SHE DID WAS TO DESIGN -- THERE'S


  16   "COOL-SKATING BARBIE" IN THE BOX ON THE LEFT-HAND SIDE. IT'S A


  17   MULTI-ETHNIC BARBIE DOLL. THERE ARE DIFFERENT VERSIONS OF IT.


  18   AND SHE WAS ASKED TO CREATE THAT IMAGE THAT YOU SEE THERE ON


  19   THE DECAL THERE.


  20       HER BOSS WAS SO IMPRESSED WITH THIS DECAL, THE IMAGE


  21   THAT SHE DREW, THAT HER BOSS ASKED HER, 'WHY DON'T YOU SEE IF


  22   YOU CAN TURN THAT INTO A DOLL. SEE WHAT YOU CAN DO WITH IT' --


  23   THE BOSS REALLY LIKED IT -- WHICH SHE DID; SHE WENT TO WORK ON


  24   IT. SHE WAS VERY EXCITED ABOUT THIS. SHE WAS RELATIVELY NEW


  25   TO THE COMPANY, AND HERE SOMEBODY WAS GIVING HER THE GO-AHEAD



                                                   Unsigned              Page 99
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 100 of 112 Page ID
                                  #:112227




   1   TO DESIGN A DOLL BASED ON THIS DECAL IMAGE THAT SHE CAME UP


   2   WITH.


   3       SHE DID DESIGN A DOLL, WHICH SHE CALLED "TOON TEENS."


   4   THE TOON TEENS DOLLS WERE MULTI-ETHNIC; HAD LARGE FEET, LARGE


   5   HEADS, LARGE EYES. THERE'S ONE OF THEM, LOOKING RIGHT THERE ON


   6   THE SCREEN NOW, ONE OF HER DRAWINGS FOR THE TOON TEENS DOLL.


   7       DO YOU SEE THE ARM POSE THERE? THE ARM POSE THAT YOU


   8   SEE IN THAT TOON TEENS DRAWING CAME FROM THE FACT THAT


   9   ORIGINALLY -- REMEMBER, THE DECAL WAS ON SKATES. REMEMBER YOU


  10   SAW THAT FIGURE; IT WAS ON ROLLER-SKATING BARBIE. AND THE


  11   DECAL WAS ON SKATES, AND THE HANDS WERE OUT ON THE DECAL, LIKE


  12   A CHILD MIGHT BALANCE ITSELF ON SKATES. AND SHE CARRIED THIS


  13   OVER WHEN SHE STARTED TO DO HER DRAWING FOR TOON TEENS.


  14       THESE ARE SOME OF THE DRAWINGS THAT SHE DID. THIS


  15   ONE IS ACTUALLY A DRAWING FROM THE DECAL, I BELIEVE, THAT WE'RE


  16   LOOKING AT NOW. AGAIN, THE HANDS OUT. AND SHE WAS VERY PROUD


  17   OF THESE TOON TEENS DRAWINGS THAT SHE DID. SO SHE POSTED THEM


  18   ON HER CUBICLE. AND YOU'RE GOING TO SEE, SHE WORKED IN THAT


  19   DESIGN CENTER I TOLD YOU ABOUT WITH ALL OF THESE DIFFERENT


  20   DESIGNERS. THE DESIGNERS WORK IN CUBICLES. IT'S A VERY OPEN


  21   SPACE. IT'S NOT LIKE YOU'RE BEHIND CLOSED DOORS. PEOPLE CAN


  22   WALK BY AND SEE WHAT PEOPLE ARE WORKING ON. THIS IS PART OF


  23   THE SHARING AND THE COLLABORATION THAT I TOLD YOU ABOUT.


  24       NOW, MR. BRYANT SWEARS -- WE ASKED HIM -- HE SWEARS


  25   THAT HE NEVER SAW THE TOON TEENS DRAWINGS. BUT HIS ROOMMATE,



                                                  Unsigned               Page 100
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 101 of 112 Page ID
                                  #:112228




   1   AND HIS CLOSE FRIEND, A WOMAN BY THE NAME OF ELISE CLOONAN, SAT


   2   IN A CUBICLE THAT WAS JUST TWO CUBICLES AWAY FROM LILY. AND


   3   MR. BRYANT -- YOU'LL HEAR TESTIMONY -- HE WAS BY A LOT,


   4   VISITING LILY. AND MR. BRYANT DOESN'T DENY THAT HE SAW THE


   5   ACTUAL THREE-DIMENSIONAL TOON TEENS DOLLS. HE SAYS, 'I NEVER


   6   SAW THE DRAWINGS WHICH LILY HAD POSTED IN HER CUBICLE,' BUT HE


   7   ADMITS THAT HE DID SEE THE DOLLS THEMSELVES WHEN LILY CREATED


   8   THEM.


   9       ELISE BROUGHT THEM BY TO SHOW HIM THE DOLLS. THEY


  10   WERE IN AN OPEN WORK AREA, WHERE LILY HAD SET THEM OUT. AND


  11   THERE WILL BE TESTIMONY THAT MR. BRYANT MADE A COMMENT, 'MATTEL


  12   WOULD BE CRAZY IF THEY DON'T DO THESE DOLLS. THIS IS


  13   FANTASTIC.' THAT'S THE TESTIMONY THAT YOU'RE GOING TO HEAR.


  14       MR. BRYANT WAS, IN FACT, SO STRUCK BY THESE


  15   TOON TEENS DRAWINGS THAT HE MADE SOME DRAWINGS OF HIS OWN THAT


  16   WERE CLEARLY INFLUENCED BY MS. MARTINEZ'S TOON TEENS DRAWINGS.


  17       IF YOU LOOK AT THE RIGHT-HAND SIDE, THAT'S A DRAWING


  18   THAT MR. BRYANT DID. AND I'D ASK YOU TO COMPARE IT THERE TO


  19   MS. MARTINEZ'S TOON TEENS DRAWINGS. YOU CAN SEE, MR. BRYANT'S


  20   DRAWING, IT'S NOT THE WILLOWY KIND OF THING THAT WE LOOKED AT


  21   BEFORE, BUT HE'S CLEARLY BEEN INFLUENCED BY WHAT HE SAW IN


  22   MS. MARTINEZ'S DRAWING. BUT IT LACKED THE UNIQUENESS. HIS


  23   DRAWING THERE ON THE RIGHT, IT LACKED THE UNIQUENESS OF THE


  24   TOON TEENS DRAWINGS; AND HE APPARENTLY RECOGNIZED IT. THE HEAD


  25   IS STILL PROPORTIONAL; THE FEET AREN'T NEARLY AS LARGE; THE



                                                   Unsigned              Page 101
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 102 of 112 Page ID
                                  #:112229




   1   ARMS HAD A CLASSIC FASHION DOLL POSE. IT'S KIND OF A MODIFIED


   2   BARBIE, IF YOU WILL, WHICH IS HARDLY A SURPRISE, SINCE THAT'S


   3   THE KIND OF WORK THAT MR. BRYANT HAD BEEN DOING, DOING A LOT OF


   4   WORK REGARDING BARBIE.


   5       BUT MR. BRYANT DIDN'T GIVE UP. HE CONTINUED TO


   6   EXPERIMENT. AND IN HIS FINAL BRATZ DRAWINGS, YOU CAN SEE HE


   7   CLEARLY BORROWED MORE OF LILY'S WORK. THIS IS ONE OF THE FINAL


   8   BRATZ DRAWINGS THAT THIS CASE IS ABOUT, FOLKS. THE HEAD IS


   9   LARGER, AS LARGE AS THE ENTIRE TORSO. THERE ARE CHANGES TO THE


  10   FEET, TO THE EYES. AND, PERHAPS, IN THE MOST TELLING CHANGE,


  11   YOU CAN SEE HE MIMICKED THE HANDS THAT LILY HAD DONE ON THE


  12   TOON TEENS DOLL. REMEMBER, THAT CAME BACK FROM THE


  13   ROLLER-SKATING BARBIE DECAL. HE MIMICKED IT. EVEN THOUGH IT'S


  14   NOT ON SKATES, HE'S KEPT THAT. HE'S KEPT THAT POSE.


  15       IF WE COULD GO TO 68-2. THIS IS SIDE-BY-SIDE. YOU


  16   CAN SEE HOW HE'S MIMICKED THAT, HOW HE'S BEEN INFLUENCED.


  17       AND 78-2. HERE, THESE ARE THE FOUR ORIGINAL BRATZ


  18   DOLLS, THE ORIGINAL DRAWINGS. THIS IS WHAT YOU FOLKS ARE GOING


  19   TO HAVE TO DECIDE, WHO OWNS THEM, AMONG OTHERS. YOU CAN SEE IN


  20   EACH ONE OF THEM THAT POSE, THE HANDS; AND IT GOES BACK TO THE


  21   DECAL, THE ROLLER-SKATING BARBIE.


  22       NOW, THERE'S NO QUESTION THAT MR. BRYANT BROUGHT HIS


  23   OWN STYLE TO THIS. I'M NOT DENYING THAT. HE HAD HIS OWN


  24   STYLE. BUT THERE'S ALSO NO DOUBT THAT HE'S BORROWED HEAVILY


  25   FROM LILY'S DRAWINGS.



                                                    Unsigned             Page 102
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 103 of 112 Page ID
                                  #:112230




   1        JUST TO BE CLEAR HERE, WE'RE NOT HERE IN COURT TODAY


   2   SAYING THAT MR. BRYANT COPIED TOON TEENS AND THAT'S WHAT THIS


   3   LAWSUIT IS ABOUT. WE'RE NOT ASSERTING THE CLAIM BECAUSE OF


   4   SOME INFRINGEMENT IN RIGHTS TO TOON TEENS BECAUSE OF COPYING


   5   TOON TEENS. I AM SHOWING YOU THE TOON TEENS BECAUSE IT HELPS


   6   YOU, IT HELPS US ALL, UNDERSTAND WHEN IT WAS THAT MR. BRYANT


   7   HAD TO HAVE CREATED THESE DRAWINGS.


   8        IT SHOWS THAT HE COULD NOT HAVE CREATED THEM IN 1998


   9   WHEN HE WAS IN MISSOURI, BECAUSE TOON TEENS DIDN'T EXIST THEN.


  10   HE LEFT IN APRIL OF 1998 TO GO TO MISSOURI. IT WAS IN APRIL OF


  11   1998 THAT MS. MARTINEZ JOINS MATTEL. IT'S NOT LONG AFTER THAT


  12   THAT SHE DOES THE DECAL. AND IT'S THE FOLLOWING YEAR, IN THE


  13   MIDDLE OF THE YEAR, IN 1999, THAT SHE DOES THE TOON TEENS


  14   DRAWINGS. MR. BRYANT COMES BACK IN JANUARY OF 1999.


  15        THE FACT THAT HE WAS INFLUENCED BY TOON TEENS, WHAT


  16   THAT PROVES IS, HE COULDN'T HAVE DONE IT, BECAUSE WHEN HE WAS


  17   BACK IN MISSOURI, BECAUSE AT THE TIME HE LEFT, NEITHER THE


  18   DECAL NOR THE TOON TEENS DRAWINGS -- THEY DIDN'T EXIST YET.


  19        SO TO GO BACK TO THE STORY, THE TRUE CREATION STORY,


  20   MR. BRYANT CREATED THESE DRAWINGS IN 1999, AFTER HE'S


  21   INFLUENCED BY TOON TEENS. AND AFTER HE CREATED THEM, HE


  22   THOUGHT THEY HAD SOME COMMERCIAL VALUE, AND HE WANTED TO SEE IF


  23   HE COULD COMMERCIALIZE THEM SOMEHOW.


  24        THERE'S AN ARTIST REPRESENTATIVE COMPANY WITH THE


  25   INTERESTING NAME OF "ALASKA MAMA." AND HE SENT HIS DRAWINGS TO



                                                    Unsigned             Page 103
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 104 of 112 Page ID
                                  #:112231




   1   ALASKA MAMA TO SEE IF THEY COULD MARKET THEM, IF THERE'S


   2   ANYTHING THAT THEY COULD DO WITH THEM. BUT BEFORE HE SENT


   3   THEM, HE DID AN INTERESTING THING. HE WENT TO A NOTARY, A


   4   JACQUELINE RAMONA PRINCE, WHO IS A NOTARY AT MATTEL, AND HAD


   5   THESE DRAWINGS NOTARIZED BEFORE HE SENT THEM OFF.


   6       NOW, THE NOTARY BOOK ENTRY REFLECTS THAT THE DRAWINGS


   7   WERE NOTARIZED ON AUGUST 26, 1999. AND WHAT HE MUST HAVE BEEN


   8   THINKING, APPARENTLY, IS, IF SOMEBODY AT ALASKA MAMA HAD TRIED


   9   TO STEAL THEM, AT LEAST HE WOULD HAVE A RECORD THAT THEY


  10   EXISTED, THAT SOME NOTARY HAD PUT A SEAL ON THEM, INDICATING


  11   THAT THEY EXISTED AS OF THAT DATE.


  12       BUT ALASKA MAMA DIDN'T DO ANYTHING WITH THE DRAWINGS,


  13   AND AFTER ALASKA MAMA PASSED ON THE DRAWINGS, HE CONTINUED


  14   LOOKING FOR SOMEONE WHO WOULD BUY THEM. AND HE WENT TO


  15   VERONICA MARLOW, THE EX-MATTEL EMPLOYEE, WHO WAS NOW WORKING


  16   WITH MGA. SHE SAID MGA MIGHT BE INTERESTED. THEY SET UP A


  17   MEETING. BUT INTERESTINGLY, AT SOME POINT ALONG THE WAY


  18   HERE -- AND WE CAN'T TELL YOU WHEN OR HOW -- THERE WAS A CHANGE


  19   TO THAT NOTARY BOOK.


  20       I'D LIKE TO SHOW THAT TO YOU, 51-1. REMEMBER, HE GOT


  21   THESE NOTARIZED BEFORE HE SENT THEM. AND YOU CAN'T SEE IT VERY


  22   WELL, BUT THIS IS THE NOTARY BOOK ENTRY. RIGHT UNDER THERE,


  23   "FROM 1998, MISSOURI." CAN YOU SEE THAT? IT SAYS, "ORIGINAL


  24   SKETCHES OF DOLLS." IT GIVES THE NAME OF THE CHARACTERS.


  25   "FROM 1998, MISSOURI." DO YOU SEE HOW THAT'S KIND OF SQUEEZED



                                                   Unsigned              Page 104
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 105 of 112 Page ID
                                  #:112232




   1   IN THERE?


   2        AND EVERYONE KNOWS, I THINK, YOU'RE NOT SUPPOSED TO


   3   MAKE CHANGES TO A NOTARY BOOK; THAT'S NOT SUPPOSED TO HAPPEN.


   4   BUT JUST LOOKING AT IT, I THINK YOU CAN -- IT RAISES A


   5   QUESTION.


   6        SO WE HAD AN INK EXPERT COME AND LOOK AT THIS, AND


   7   THE INK EXPERT FOUND THAT THE ADDITIONAL LANGUAGE THERE, "FROM


   8   MISSOURI, 1998" -- REMEMBER, THAT'S THE STORY THEY WANT TO TELL


   9   YOU DURING THE GAP OF HIS EMPLOYMENT -- THAT THAT'S IN


  10   DIFFERENT INK THAN THE REST THERE.


  11        NOW, THAT'S INTERESTING, BECAUSE HERE HE IS IN -- IT


  12   SEEMS THAT IN 1999, SOMETHING IS BEING ADDED TO SORT OF TRY TO


  13   PROVE THAT HE CREATED SOMETHING BACK IN 1998. WHICH IS


  14   INTERESTING, BECAUSE MR. BRYANT WAS VERY, VERY SAVVY ABOUT HOW


  15   YOU PROVE WHEN YOU CREATE SOMETHING. HE WASN'T A BABE IN THE


  16   WOODS ABOUT THIS.


  17        YOU ARE GOING TO HEAR TESTIMONY THAT HE TOLD HIS


  18   FATHER -- BACK WHEN HE WAS IN DESIGN SCHOOL, MR. BRYANT TOLD


  19   HIS FATHER SOMETHING -- WHAT HE CALLED "A POOR MAN'S


  20   COPYRIGHT," THAT TO PROVE SOMETHING EXISTED AS OF A CERTAIN


  21   DATE, WHAT YOU DO IS, YOU PUT IT IN A LETTER, PUT A STAMP ON


  22   IT, ADDRESS IT TO YOURSELF, AND MAIL IT TO YOURSELF. THEN YOU


  23   HAVE A POSTMARK, INDICATING THAT IT EXISTED AS OF THAT DATE.


  24   HE CALLED IT "A POOR MAN'S COPYRIGHT."


  25        AND, IN FACT, HE HAS COPYRIGHTED, MR. BRYANT HAS



                                                      Unsigned           Page 105
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 106 of 112 Page ID
                                  #:112233




   1   COPYRIGHTED, SOMETHING LIKE 12 OR 13 SONGS HIMSELF.


   2       AND THE PITCH BOOK THAT HE TOOK TO MGA, HE SAYS IN


   3   AUGUST -- THE PITCH BOOK HE TOOK, IF WE COULD LOOK AT 69-2, HE


   4   PUT A COPYRIGHT NOTICE ON THE PITCH BOOK. IF THE POINT IS TO


   5   PROVE WHEN YOU CREATED SOMETHING, THIS IS A RELATIVELY SAVVY


   6   GUY. HE KNOWS HOW TO DO THAT. BUT THERE WILL BE NO EVIDENCE


   7   THAT HE EVER TOOK ANY STEPS TO CREATE PROOF THAT HE CREATED


   8   THESE BRATZ DRAWINGS BEFORE HE RETURNED TO MATTEL.


   9       THAT WASN'T MR. BRYANT'S ONLY ATTEMPT TO DOCTOR


  10   DOCUMENTS, TO TRY TO SUPPORT MGA'S STORY THAT HE MADE THESE


  11   DRAWINGS IN 1998.


  12       MR. BRYANT HAS ADMITTED THAT HE WROTE A DATE, AUGUST


  13   1998, ON THE 1999 COLOR BRATZ DRAWINGS THAT WE LOOKED AT. HE


  14   WROTE THAT DATE, 8-98. HE ADMITTED THAT HE DID THAT IN 1999


  15   DURING HIS EMPLOYMENT.


  16       THINK ABOUT THAT FOR A MINUTE. HE ACKNOWLEDGES THAT


  17   DURING HIS MATTEL EMPLOYMENT, HE WENT BACK AND DATED THESE


  18   DRAWINGS IN 1998.


  19       WE ASKED HIM, 'WHY DID YOU ADD THAT DATE? WHY DID


  20   YOU ADD THOSE DATES THEN?'


  21       HE HAD NO EXPLANATION. HE COULD GIVE US NO


  22   EXPLANATION.


  23       'WHY CHANGES TO A NOTARY BOOK? WHY ADDING DATES


  24   WITHOUT EXPLANATION?'


  25       BECAUSE IF THE BRATZ DRAWINGS WERE CREATED WHILE



                                                   Unsigned              Page 106
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 107 of 112 Page ID
                                  #:112234




   1   MR. BRYANT WAS EMPLOYED BY MATTEL, THEN MATTEL OWNS THEM.


   2   THAT'S WHY. THAT'S WHY ALL OF THIS EFFORT.


   3        MGA NEEDED A CREATION DATE THAT WAS EARLIER, AND


   4   THAT'S WHY THESE CHANGES WERE MADE.


   5        SO THEY CONCOCTED A STORY. IN AUGUST OF 1998, HE WAS


   6   ALLEGEDLY INSPIRED -- THIS IS THE STORY -- TO CREATE BRATZ


   7   AFTER DRIVING BY THE HIGH SCHOOL. HE COMES BACK TO MATTEL IN


   8   JANUARY 1999. TOON TEENS DRAWINGS DATED JUNE OF 1999.


   9   MR. BRYANT SEES THE TOON TEENS DOLLS. HE SAYS HE NEVER SAW THE


  10   DRAWINGS. THERE WILL BE OTHER TESTIMONY ON THAT. HE NOTARIZES


  11   HIS DRAWINGS; COMES UP NOW WITH THE FINAL BRATZ DRAWINGS, WHICH


  12   HE NOTARIZES AUGUST 26, 1999; SENDS THEM OFF TO THE ARTIST


  13   REPRESENTATIVE COMPANY ALASKA MAMA, FALL OF 1999.


  14        MGA'S STORY HERE IS CONTRADICTED BY EVIDENCE, COMMON


  15   SENSE, AND THE SCIENTIFIC PROOF AS WELL. THESE DRAWINGS WERE


  16   MADE IN 1999.


  17        HOW DO WE KNOW THAT? WHAT'S SOME OF THE SCIENTIFIC


  18   PROOF?


  19        MGA CLAIMS THAT MR. BRYANT'S FIRST DRAWINGS, WHICH


  20   THEY SAY WERE MADE IN 1998 -- REMEMBER, I TOLD YOU THAT THEY


  21   ARE THESE BLACK AND WHITE DRAWINGS -- THEY SAY THAT THESE WERE


  22   MADE, THESE BLACK AND WHITE DRAWINGS WERE MADE, BACK IN 1998.


  23   THE PROBLEM WITH THIS IS TWO-FOLD.


  24        THIS DRAWING, WE WILL SHOW YOU, WAS MADE FROM PAPER


  25   TORN FROM THE MIDDLE OF A NOTEBOOK THAT MR. BRYANT WAS USING,



                                                    Unsigned             Page 107
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 108 of 112 Page ID
                                  #:112235




   1   WORKING ON MATTEL PROJECTS IN 1999 TO 2000. THAT WILL BE THE


   2   SCIENTIFIC EVIDENCE THAT YOU WILL HEAR.


   3       MOREOVER, ANOTHER OF THE 1998 DRAWINGS, SEVERAL OF


   4   THEM THAT HE CLAIMS WERE CREATED BACK IN 1998 -- IF WE COULD


   5   LOOK AT 57-1 -- HE SAYS THAT THESE CAME FIRST, THESE BLACK AND


   6   WHITE DRAWINGS WERE THE ORIGINAL ONES CREATED IN 1998, AND THEN


   7   IN 1999, HE JUST COLORED THEM IN. BUT THE EVIDENCE ON THAT


   8   WILL BE THAT THE COLOR ONES CAME FIRST AND THAT THE BLACK AND


   9   WHITE DRAWINGS WERE TRACED OVER THOSE. THEY CAME SECOND.


  10       YOU'RE GOING TO HEAR TESTIMONY FROM EXPERT -- AS YOU


  11   CAN IMAGINE, IF YOU DRAW IT FREEHAND, YOUR LINE LOOKS A CERTAIN


  12   WAY. YOU'RE FREER; IT'S UNHESITATING. IF YOU'RE TRACING, YOUR


  13   HAND MOVES A LITTLE BIT. AND YOU'RE GOING TO HEAR FROM AN


  14   EXPERT THAT THESE BLACK AND WHITE DRAWINGS SHOW THOSE LITTLE


  15   MOVEMENTS THAT ARE INCONSISTENT WITH A FREEHAND DRAWING. THEY


  16   WERE TRACED.


  17       IN OTHER WORDS, THE BLACK AND WHITE DRAWINGS WEREN'T


  18   FIRST, AS THEY CLAIM. THE BLACK AND WHITE DRAWINGS WERE


  19   SECOND. THEY WERE TRACED AFTER THE COLOR DRAWINGS, WHICH MGA


  20   ADMITS WERE CREATED IN 1999.


  21       THIS LEADS TO ONE CONCLUSION, THAT ALL OF THESE


  22   DRAWINGS, THE BLACK AND WHITE DRAWINGS, THE COLOR DRAWINGS,


  23   WERE ALL CREATED IN 1999, WHEN MR. BRYANT WAS EMPLOYED BY


  24   MATTEL.


  25       IN ANOTHER LAWSUIT, IN ANOTHER LAWSUIT THAT MGA



                                                  Unsigned               Page 108
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 109 of 112 Page ID
                                  #:112236




   1   BROUGHT TO ENFORCE WHAT IT CLAIMED WERE ITS RIGHTS TO THESE


   2   DRAWINGS, MGA ADMITTED THAT MR. BRYANT DIDN'T DESIGN BRATZ WHEN


   3   THEY NOW CLAIM THEY DID. IN THAT CASE, THEY WERE SUING ANOTHER


   4   DOLL COMPANY. AND MR. LARIAN -- THE LAWYERS FOR MGA


   5   REPRESENTED IN THAT OTHER LITIGATION THAT THEY BROUGHT THAT THE


   6   DESIGNS OF THE BRATZ DOLLS WERE ORIGINALLY CREATED BY


   7   MR. CARTER BRYANT IN 1999 AND SUBSEQUENTLY AMENDED; COPIES OF


   8   THE DRAWINGS ARE ATTACHED.


   9        THIS IS FROM THAT HONG KONG CASE. AND THERE, THE


  10   DOCKET IS SECRET, UNLIKE HERE, IN THE COURTHOUSE HERE, ANY


  11   MEMBER OF THE PUBLIC CAN GO DOWN AND SEE WHAT THE COURT RECORD


  12   SHOWS. THAT'S NOT TRUE IN HONG KONG. IT WAS ONLY IN


  13   CONNECTION WITH THIS CASE THAT WE WERE ABLE TO GET THIS KIND OF


  14   INFORMATION THAT THEY HAD TOLD THAT COURT IN A SECRET FILING,


  15   NOT OPEN TO THE PUBLIC. THEY ACKNOWLEDGED THAT THE ORIGINAL


  16   DRAWINGS WERE CREATED IN 1999.


  17        MGA WILL TELL YOU THAT ALL OF THIS IS ALL UNTRUE.


  18   THEY WILL TELL YOU THAT MR. BRYANT JUST DID A FEW THINGS.


  19   THEY'LL TRY TO TRIVIALIZE IT. THEY'LL SAY HE JUST DID A FEW


  20   THINGS WHILE HE WAS ON HIS WAY OUT THE DOOR, NOT A REALLY BIG


  21   DEAL; HE ONLY DID A MINIMAL AMOUNT OF WORK.


  22        MOSTLY, I SUBMIT, WHEN YOU LISTEN TO MR. NOLAN,


  23   MOSTLY, THEY TRY TO CHANGE THE SUBJECT. THEY CAN'T DENY THAT


  24   BRATZ DRAWINGS WERE CREATED, AND THEY WON'T DENY THE BRATZ


  25   DRAWINGS WERE CREATED WHILE MR. BRYANT WAS WORKING FOR MATTEL.



                                                     Unsigned            Page 109
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 110 of 112 Page ID
                                  #:112237




   1   THEY'RE GOING TO TELL YOU THAT THERE'S A LOT OF DIFFERENT


   2   INFLUENCES ON MR. BRYANT.


   3       BUT ONE THING THAT THEY WON'T EVER ACKNOWLEDGE IS


   4   THAT MR. BRYANT WAS INFLUENCED BY ANYTHING AT MATTEL OR


   5   INFLUENCED BY TOON TEENS. AGAIN, THEY'RE GOING TO TRY TO


   6   CHANGE THE SUBJECT. THEY'RE GOING TO TRY TO SAY, 'THIS IS


   7   COMPETITION,' OR SOMETHING LIKE THAT.


   8       BUT THEY WON'T HAVE EVIDENCE TO CONTROVERT WHAT I'VE


   9   SHOWN YOU.


  10       SO I'M COMING TO THE END OF MY REMARKS HERE, FOLKS.


  11       BUT IN THE END, WHEN YOU HEAR ALL OF THE EVIDENCE,


  12   YOU WILL SEE THAT THIS IS A COMPANY THAT HAD NEVER DEVELOPED A


  13   FASHION DOLL. THEY HAD NEVER DONE IT BEFORE. AND THEY WERE


  14   ONLY ABLE TO COME OUT WITH THIS FASHION DOLL BECAUSE THEY STOLE


  15   DRAWINGS FROM MATTEL. THEY ENTERED INTO A CONTRACT WITH A


  16   MATTEL FASHION DOLL DESIGNER WHILE HE WAS EMPLOYED BY MATTEL,


  17   WHEN THEY KNEW HE WAS EMPLOYED BY MATTEL, AND WHEN THEY KNEW HE


  18   HAD AN INVENTIONS AGREEMENT THAT SAID THAT ANYTHING HE CREATED


  19   DURING HIS MATTEL EMPLOYMENT WAS OWNED BY MATTEL. THAT WILL BE


  20   THE EVIDENCE IN THIS CASE.


  21       AND THEN YOU'LL SEE HOW THERE WAS MISDIRECTION,


  22   MISREPRESENTATIONS, CONCEALMENT, POINTING EVERY WHICH WAY ABOUT


  23   THE ORIGIN OF BRATZ. BUT NO REFERENCE TO CARTER BRYANT, FOR


  24   THE VERY REASON THAT THEY KNEW, IF IT EVER CAME OUT, THOSE


  25   DRAWINGS WOULD BE OWNED BY MATTEL.



                                                  Unsigned               Page 110
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 111 of 112 Page ID
                                  #:112238




   1       THE ANSWER TO THE VERY SIMPLE QUESTION THAT YOU'VE


   2   ALL BEEN ASKED TO COME HERE AND DECIDE IS THAT THESE DRAWINGS


   3   WERE CREATED BY A MATTEL DOLL DESIGNER WHILE HE WAS EMPLOYED BY


   4   MATTEL; MGA KNEW IT; AND THE DRAWINGS BELONG TO MATTEL.


   5       THANK YOU VERY MUCH FOR YOUR ATTENTION.


   6       THE COURT: THANK YOU, COUNSEL.


   7       WE'RE GOING TO BREAK FOR LUNCH AT THIS TIME. I'M


   8   GOING TO ASK THE JURY TO BE BACK AND READY TO GO AT 1:15. THAT


   9   WILL GIVE YOU AN HOUR AND A HALF.


  10       AND, COUNSEL, I'LL ASK YOU TO BE BACK AT 1:00.


  11       (WHEREUPON, JURORS DEPART COURTROOM.)


  12       THE COURT: MR. NOLAN.


  13       MR. NOLAN: YOUR HONOR, THE COURT HAD PREVIOUSLY


  14   INDICATED THAT FOLLOWING MR. QUINN'S OPENING STATEMENT, WE


  15   WOULD HAVE A CHANCE TO REVIEW.


  16       THE COURT: THAT'S AT 1:00.


  17       MR. NOLAN: ALL RIGHT.


  18       I JUST WANT TO MAKE CERTAIN THAT -- WE CAN DO IT AT


  19   1:00, BECAUSE, YOUR HONOR, WE BELIEVE THAT THE DOOR NOW HAS


  20   BEEN OPENED TO SOME OF THE ISSUES THAT THE COURT HAD PREVIOUSLY


  21   RULED SHOULD BE GOING INTO 1-B. I DID NOT SHOW MR. QUINN THOSE


  22   TYPE OF GRAPHICS THAT WE WANTED TO USE IN THE EVENT THAT HE


  23   OPENED THE DOOR. I WILL DO THAT DURING THE LUNCH HOUR.


  24       THE COURT: EXACTLY.


  25       MR. NOLAN: THAT'S WHAT I WAS GOING TO ALERT YOU TO.



                                                    Unsigned             Page 111
Case 2:04-cv-09049-DOC-RNB Document 4371-2 Filed 10/20/08 Page 112 of 112 Page ID
                                  #:112239




   1        THE COURT: WHY DON'T YOU MEET WITH MR. QUINN AND YOU

   2   CAN DISCUSS THIS. IF YOU CAN AGREE TO IT, GREAT. IF NOT, I'LL

   3   TAKE IT UP AT 1:00.

   4        MR. NOLAN: EXCELLENT. THANK YOU.

   5        MR. QUINN: I DON'T AGREE WITH THAT. MY

   6   UNDERSTANDING IS THAT EVERYTHING IS TO BE SHOWN BEFORE.

   7        THE COURT: I WOULDN'T EXPECT YOU TO AGREE.

   8        WHY DON'T YOU MEET DURING THE BREAK, AND THEN AT

   9   1:00, WE'LL TAKE IT UP, AND THE COURT WILL MAKE ITS DECISION.

  10        WE'RE IN RECESS UNTIL 1:00.

  11        (WHEREUPON, A LUNCH RECESS WAS HELD.)

  12        (CONCLUSION OF MORNING SESSION.)

  13

  14

  15

  16

  17                 CERTIFICATE

  18

  19   I HEREBY CERTIFY THAT PURSUANT TO SECTION 753, TITLE 28, UNITED

       STATES CODE, THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF

  20   THE STENOGRAPHICALLY RECORDED PROCEEDINGS HELD IN THE ABOVE-

       ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE FORMAT IS IN

  21   CONFORMANCE WITH THE REGULATIONS OF THE JUDICIAL CONFERENCE OF

       THE UNITED STATES.

  22

  23   _____________________________      _________________

       THERESA A. LANZA, CSR, RPR             DATE

  24   FEDERAL OFFICIAL COURT REPORTER

  25



                                                     Unsigned            Page 112
